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THE UNIVERSITY OF TEXAS AT AUSTIN                                                                                                               Date    912016




                                           RECOMMENDATION                          FOR CHANGE                         IN ACADEMIC               RANKSTATUS



Name              Foster John       T        EID         j128456              Present    Rank            Assistant Professor




Years of Academic                 Service     Include         AY 201617          in    each      count


At   UT Austin since 912014                            monthdayyear              Total    Years        at   UT Austin          3




In   Present       Rank     since       912014 monthdayyear                        Total    Years        in   Present    Rank       3




Tenure track          only
Number of Years in Probationary                        Status        3




Additional information                   Accelerated




Primary Department                      Petroleum      and Geosvstems            Engineering



CollegeSchool               Engineering            Cockrell     School of



Joint   Department                NA

CollegeSchool               NA

Other Departments                       Aerospace       Engineering           and Engineering Mechanics




          Recommendation                  actions



              By Budget CouncilExecutive                        Committee                  o1rIje



              Votc2        for   promotion         9   Against           0 Abstain 0 Absent                   0 Ineligible     to   vote    1




              By Department               Chair        Proinot




              By CollegeSchool                 Advisory       Committee                Do Not Promote


              Vote2 for          promotion         1   Against           6 Abstain 0 Absent                   0 Ineligible to vote          0




Administrative             Action            Promote to Associate Professor


Date Action          Effective          September       12017
To be submitted              to the      Board     of Regents        as part    of the     annual        budget




By                                                                                                                    Date December 152016
                                        For the    President              c

ISae    Chart      of Recommended           Actions     for   eligible     recommended         actions      applicable   to   specific    conditions   and   administrative   levels

2Record     all    votes    for   and    against   promotion     abstentions
                                                                                  by   eligible    voting      members and         the   number   of absent   eligible   voting   members   the   number of

committee     members        ineligible to vote     should    also   be recorded       Enter    zero     where   it   would   otherwise     be blank




                                                                                                                                                                                            P's 149
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                                                             Deans Assessment
                                                                 John   T Foster
                                   Department of Petroleum and Geosystems                            Engineering
                                                      Cockrell      School of Engineering




Dr John Foster received              his BS and        MS in Mechanical                Engineering from Texas Tech University                     in

2002 and 2004 respectively                   and     his   PhD   in Aeronautics           and Astronautics from Purdue University
in    2009    Dr Foster was a member of the technical                         staff at Sandia        National    Laboratories for seven

years 200420111 Dr Foster also held an adjunct faculty position at the University of New
Mexico       for the    201011       academic        year


Dr Foster was appointed as an assistant professor in the Department of Mechanical Engineering at
the University of Texas at San Antonio UTSA in September 2011 In September 2014 he joined

the faculty      in   the Department of Petroleum and Geosystems                             Engineering at the University              of Texas

at Austin      UT as an assistant professor                      In January       2015     he received     a courtesy appointment                 in

the Department of Aerospace                   Engineering and Engineering Mechanics                         ASEEM He             is   also   an

affiliated     faculty    member in the Institute                for Computational           Engineering and Sciences            ICES

If    successfully     promoted       to associate         professor    in   September 2017 he will have accumulated                          three

years of probationary              service    at   UT and he will have served                in rank as     an assistant professor at

UTSA and UT for a total of 6 years While this case                                is   considered    to   be an early promotion          when

considering       Dr Fosters time at UT only his total time in rank is consistent with our normal
timeline



Fifteen external         review letters were requested                   Seven         letters   were received seven requests                were
declined and one person did not respond                             Of the letters received four reviewers were selected                           by
the budget       council      one was selected by the department chair and two were recommended by Dr
Foster       Of the declinations         two reviewers were selected                      by the budget      council two reviewers were

selected      by the department chair and three were recommended by Dr Foster


Five letter writers are faculty at US universities Minnesota Illinois                                     Penn State Oklahoma and
Texas      AM One         letter    writer    is   a distinguished      member of the technical               staff at Sandia         National

Laboratories           and one is a retired senior fellow from ConocoPhillips Two of the                                letter   writers are

members of the National Academy of Engineering                               NAE

Teaching
Dr Foster has taught two undergraduate courses                               at   UT PGE 334 Reservoir Geomechanics and PGE
323M Reservoir           Engineering               and one graduate           course       PGE 379383 Advanced Geomechanics
He has taught PGE 334 twice with class sizes of 81 and 25 students and                                          instructor   ratings     of 34

and 43 respectively                Dr Foster taught PGE 323M once with a class size of 65 students and an
instructor      rating    of 41      He taught PGE 379 twice with class sizes of 13 and 14 students and
instructor      ratings    of 43 and         49 respectively




1


     Dr Foster participated    in   the University         Part Time   Program while working at Sandia He worked halftime

throughout      his    PhD studies     He was in residence           at Purdue         during the   200708 academic year and returned
to    fulltime status at Sandia       after graduating         in   December       2009
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Average     instructor    ratings in PGE for assistant                 professors teaching               undergraduate and graduate

courses are 417 and 419 respectively                         Corresponding averages                    in the Cockrell      School of

Engineering are 417 and           434 respectively                Excluding       the    first    time he taught PGE 334                    Dr Fosters
instructor     ratings   in   the undergraduate courses                   are near the departmental average and his scores

for the   graduate      course are considerably above the departmental                                 average


A senior faculty conducted       a peer review of Dr Fosters class in April 2016 The evaluator
concluded      that   Dr Foster was a very good teacher and presented the technical information                                                in   a

systematic manner that was easy for the students to understand


Dr Foster is an innovator          in flipping      the classroom              He began          this approach          with a course on high

performance computing that he developed                         at   UTSA and has used this approach                        in all     three of his

courses at     UT     He displays Powerpoint             slides using a tablet            computer and he writes directly on the
tablet    as he lectures      He captures       his voice       and the annotations               in real time          After each class Dr

Foster divides the recording into four or more segments and posts the segments on Canvas andor

YouTube       for the   students to access          These recordings are also used by students outside of UT                                            For

example the YouTube            tutorials that       he developed            for high     performance computing have been
viewed     more than 230000 times corresponding                             to a total   of 800000          minutes of viewing                time


Research

Dr Fosters      research      focuses on computational                    and experimental mechanics                     His main

contributions       are in three areas          1   high strain rate material characterization                            and modeling

2    fundamental contributions             to   the theories and computational                         methods related to peridynamics
and nonlocal        modeling and     3 development                   of a new class of hydraulic fracture models                              At UT      Dr
Foster has articulated a vision of coupling geomechanics                            into traditional reservoir                   simulations to

efficiently    and safely bring unconventional resources                        into     production          This approach             is   challenging
because introducing           geomechanics        will       greatly      increase the complexity and computational                            expense
of these simulations Highlights of Dr Fosters research                             include



           Seven    archival   journal papers           in   rank at UT and 12 in rank at UTSA                         career total of 22               Dr
           Fosters postdocs are the             first    author on five of his seven papers                       in   rank at   UT         He wrote
           one paper at UT with          his   PhD student
           Ten of his papers      in rank at      UT and UTSA              appear in high impact journals including

           Computer Methods         in   Applied Mechanics and Engineering                         I F=3467 Communications in
           Nonlinear Science                       2834 Computational Mechanics 2639
                                  and Numerical Simulation

           Journal of Computational Physics 2556 Computational Material Science 2086 and
           international      Journal of Solids and Structures                 2081
           Dr Foster is one of four editors of The Handbook                         of Pen dynamic Modeling which will                           be

           published by CRC Press in November 2016
           An h index of 9 Google Scholar with 275 citations2


Dr Foster has been very successful                in    securing research           funding from external sources                           He has
been the sole PI on nine external grants and a co PI on two                                Total research funding                 in   rank    at UT
and UTSA       is   $103 million with his share being $24 million                            It   is   important to note that he is a co
PI   on a $75 million Multidisciplinary University Research                              Initiatives       MURI award from the Air


2
    While working       at Sandia   much of Dr Fosters research was sensitive                                in   nature and could             not be

published in the open literature                He did publish internal             technical           reports at Sandia but those
documents are by definition not considered                           in   standard citation            measures
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Force Office of Scientific           Research related to predicting                  material failures using peridynamics

modeling      The University of Arizona hosts this center and the other                                          universities         are Nebraska

Columbia and Arizona State


Before     moving to UT Dr Foster received a $16 million award with Mukul Sharma                                                            PGE from the
National Energy Technology                   Laboratory          He has also received research funding from Sandia the

Army Research         Laboratory         the   Army Research Office and GE Global Research

The external letters           and the internal            letter    from Tinsley Oden ICES                             highlight      the importance of

Dr Fosters      research      accomplishments and uniformly support                                his promotion




Emmanuel Detournay3                 Minnesota        NAE writes It is clear                     from the reading of these contributions

the five most significant papers                   that   Dr Foster has significantly                      contributed          to   the extension of the

original    peridynamics        paradigm After reading these papers                                I
                                                                                                       very much appreciate                    the rigor of

the approach        as well as the systematic effort of proving that the peridynamic                                             formulation          indeed

degenerates        gracefully       to the   appropriate         classical    local continuum model Detournay concludes
Dr Foster has developed               a vibrant research             program at Austin                 I   foresee a bright future for him

with continued        excellent       contributions         to   computational            mechanics He has my undeserved                                   sic
support for his promotion              to    the position of Associate             Professor at the University                         of Texas at

Austin


Derek Elsworth4 Penn State                   NAE states that had never met Dr Foster nor read his work before
writing    this letter     of reference        He discusses Dr Fosters                    future       promise as This                 is   probably the

strongest portion of his dossier                   working       at a relatively          sophisticated and advanced                          level   in   the

general    area of computational              mechanics and although some                        of his topical             choices         are no doubt

dictated    by his prior prePGE engagement                          and    interests       at Sandia            and otherwise               his potential        to

complete high quality and profession leading research                                is   high His strong mechanics                          background
makes     this a   straightforward           transition          no doubt     his ability        to    ask the important questions                         in   his


new discipline         will   evolve with his continuing engagement                             within his revised                   research     trajectory
Elsworth concludes            In summary the candidate                     has already made significant contributions                                  to       the

literature in his original           area of study computational                   mechanics               in   general       with an emphasis on

peridynamics        and mesh free methods and                       is   redefining his research                  direction          in closer alignment

with his current position and interests                     His success in this            is   apparent           in   his awards           AFOSR
funding which         is   significant       and    in   publication       in important journals                   in   his field      He is certainly

deserving of tenure and promotion                    in a   research       one institution                  which       I
                                                                                                                            support without
reservation



Armando Duartes Illinois                 began his letter with comments about a recent                                      presentation         I    recall

very well his excellent plenary lecture at Eighth                          International         Workshop Meshfree                          Methods    for

Partial Differential        Equations        held   in    Bonn Germany             last fall     He presented his work on multi

physics    models for hydraulic fracture simulation and also recent fundamental theoretical

advancement         of the peridynamic             theory of porous media fracture                          His peridynamic                 model was to

my knowledge          the   first    to simulate poroelasticity              and    fluid driven                fracture      propagation

Applications of his method include                   the simulation of hydraulic fracturing                              of   oil   and gas reservoirs




3
    Endowed Chair Department           of Civil Environmental             and CieoEngineering

    Professor Department      of Energy      and Mineral Engineering

                                         and Environmental
5
    Professor Department      of Civil                               Engineering
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Duarte     notes that         Dr Foster              is    very comparable               in   stature          and development to the top young

computational            mechanics            faculty at         leading           universities          in the     United       States He goes on to

compare Dr Foster favorably                          to recently             promoted         faculty at            Columbia University Vanderbilt and

UIUC


Ahmad Ghassemi6 Oklahoma                                  writes that he does not know                             Dr Foster       but he is familiar with his

work and        his reputation               in   the computational                  aspects of hydraulic fracturing familiar with his
work on developments                       in peridynamics                  to    model fracture propagation                      in porous       media and
aware that a number of investigations have used his open source codes                                                                 Further Ghassemi              notes

that    Dr Foster has established himself as a major player                                                   in   peridynamics       for hydraulic       fracturing
He is clearly well recognized                       for his contributions                    to   numerical methods and computational

mechanics        and     is   on track for further professional growth and leadership


Brad Boyce Sandia National Laboratories commented on Dr Fosters reputation within Sandia
In spite of Johns brief tenure at Sandia he had already established himself as the internal expert
on the application of peridynamics                               to   problems          in   fracture          While      Dr Stewart Silling invented
peridynamic         theory at Sandia                  it   was    clear that          Stewart deferred to John with regard to how best to

apply peridynamics to fracture of ductile                                    metals Moreover                        I   found    Johns dual expertise with
both computational               and experimental methods to be a rare and powerful combination                                                          He is

simultaneously quite practical yet steeped in rigorous theory                                                       When        John left Sandia several years

ago he left a vacuum of expertise that has been difficult                                               to    replicate          Boyce provides an interesting

perspective         on   Dr Fosters technical                     capabilities           What            is   particularly telling          is   that at least     two of

Johns major research                      projects come           as       a sub investigator on a much larger effort in those cases

top professors sought                     out Johns capability as a clear rising star They risked engaging                                                a new

professor at a mid tier university8 because they were convinced                                                         that John would make a substantial

technical       contribution



Lee Chin9 ConocoPhillips notes that                                   My expertise                is   in the      areas of geomechanics              coupled

geomechanics  and reservoir simulation development of computer models and numerical
simulators and numerical modeling    dont know Dr John Foster However I  have been following                                            I




his technical       publications over the past 4 years because of his innovative research work in using

peridynamics             Thus
                     am familiar with his research on applying peridynamics for solving
                                     I




challenging and important problems associated with solidfracture mechanics and fluid flow Chin
further states           In the area of computational mechanics with applications to geomechanics and
fracture     mechanics          believe Dr Foster is one of the best scholarsresearchers
                                 I
                                                                                         compared with
others     in   his cohort at             research intensive universities such as Stanford University Texas                                                AM
University Colorado School of Mines University                                           of Oklahoma and University                         of Calgary



Peter Valkoi8        Texas           AM comments on                          the technical             content of Dr Fosters papers It                    is   a

pleasure to read the various suggestions                                     in   Dr Fosters papers for instance                       regarding how fracture

propagation or Darcys law are handled                                       in   peridynamics             The publications show deep

understanding of solid and fluid mechanics                                        as well as abundant creativity                       Valko did note that only

five   of Dr Fosters publications                          had been          cited    15 or more times and commented                               This is a
reasonable        good        result       considering the authors                      age but the numbers are somewhat smaller than                                   I




6
    Endowed Chair School of Petroleum and Geological                                  Engineering

    Distinguished    Member              of the Technical        Staff

8   Dr Foster was an assistant professor                    at   UTSA        when both of the proposals described by Dr Boyce were submitted
9 Reservoir
                Engineer       Fellow retired
l Endowed Chair
                Department                        of Petroleum            Engineering
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anticipated                This observation does not appear to be a serious concern                             for Valko      as he has   no
doubt that Dr Foster would be promoted                                  to   the ranks of associate professor at any research

intensive         university



Tinsley Odenn also provided feedback                               to   regarding       Dr Fosters participation         in   ICES I have
followed his research                  closely heard him lecture on contemporary                       topics     in   computational

mechanics geomechanics   materials science hydraulic fracture and crack propagation

peridynamics and other subjects     have talked with him at length about deep topics at the
                                                              I




forefront of contemporary                       computational           science and engineering         I   am fully convinced        that   he is a

truly      exceptional         academic a top            intellect      and expert in his field a strong and innovative
researcher            a dedicated            teacher a trustworthy faculty colleague and a true loyal supporter of his

department and our university                            Oden further notes Foster is a person of extraordinary                            breadth
He is able to work                  at a very   high level        in   many different      areas of engineering         His quite innovative

work on modeling hydraulic                       fracture         must stand among the most innovative and important in this
area       It   demonstrates that he has successfully                         turned his attention      to important problems in

petroleum engineering



As discussed               in the   introductory       remarks seven people including two NAE members declined
requests         to   provide letters for Dr Foster                     Five of the potential      reviewers cited a lack of expertise in

Dr Fosters             primary area of research                   andor other commitments Two potential                        reviewers

questioned            if   Dr Foster belonged            in   a department of petroleum engineering



                Stephen       Holditchi2        Texas       AM NAE             notes    I know nothing about his specialty and                I   am
                not impressed with his publications for most of his career as                               I   do not see how they fit well in
                Petroleum Engineering

                Mohamed         Soliman13        Univ of Houston                writes that    Dr Foster is obviously a smart person
                with excellent publications                   however most of them do not even belong                     to   Petroleum

                Engineering field



Advising and Student                   Mentoring
Dr Foster graduated                   one PhD student from UTSA                    in   2014 The student moved            to   UT with Dr Foster
and served            as    a postdoc         before moving to the Army Research Laboratory                            One postdoc     at   UTSA
also       moved      to    UT with Dr Foster


Dr Foster is currently                  supervising seven PhD students                    two are co supervised Three                of these

students have passed their qualifying exams but none has graduated                                              Dr Foster graduated          five   MS
students at UTSA and                    is   currently      supervising two at UT



University            Service

Dr Foster serves on several                      departmental committees undergraduate                           studies graduate

admissions and department                         awards and the              Cockrell    School honors committee




I   l

        Endowed Chair and Director              Institute   for Computational       Engineering   and Sciences
12
        Endowed Chair and Head Department                   of Petroleum       Engineering
1 Endowed Chair and
                    Department                     Chair Department            of Petroleum   Engineering
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Professional Service

Dr Foster is very active             in    several     professional organizations            He helped organize three workshops

sponsored by the US Association                       for Computational         Mechanics      He also helped organized eight
different      symposia mostly associated                    with the Computational Mechanics               Committee within the
American Society of Mechanical                       Engineers


Other Evidence of Merit or Recognition

Dr Foster received            an Air Force Young Investigator Award                    in   2013 To recognize               his outstanding

and innovative contributions                    to   teaching     he received    the Petroleum Engineering Innovative

Teaching        Award from the Society of Petroleum Engineers                         in   2015


Overall Assessment

Dr Foster is a strong teacher and an innovative                          researcher        He has successfully             secured significant

research       funding      both as a sole PI and as part of multi institutional                    research grants                  He is currently

supervising a large research                    group His publication           record over the past five years                 is   strong but his
total       number of citations       is   adversely affected         by   his limited ability      to   publish      in   the open literature

while employed at Sandia National Laboratories



The members of the Promotion and Tenure Committee do not believe                                         that   Dr Foster meets
expectations        for promotion           to associate       professor with tenure          They have three primary concerns


      1       Dr Foster published three papers                    in journals    with modest impact factors                 since     he joined   UT
      2       He has not graduated              a    PhD student from UT         Although one of his PhD students graduated
              from UTSA they are concerned                    that the   standards are not the same at the two schools

      3       They were concerned      by the large number of potential referees who declined to write
              letters for   Dr Foster and in particular the comments provided by Holditch and Soliman


Each of these issues           is   discussed         below


Dr Foster did publish three papers during the past two years in the journals with modest impact
factors Physica E Low dimensional Systems and Nanostructures     1904 Physica A Statistical
Mechanics and its Applications                      1785 and ASME Journal ofApplied Mechanics 1357 However
during that same period he published four papers                            in   journals with much higher impact factors

There are        many reasons why an assistant professor may choose to publish in a particular                                             journal
and     I   am not particularly concerned He has selected a wide variety of journals to publish his work
and     I   am hopeful that with a little mentorin he will focus on the more prominent journals in the
future



Dr Foster has been in residence at UT for two years Unless a very senior graduate student moved
to UT with him it would not be possible for him to graduate a PhD student in this time period

While at UTSA         Dr Foster did work with graduate                     students and postdocs                at   UT joint project with
Mukul Sharma and at Northwestern as a result of the MURI competition                                            Wing Kam             Liu   and Ted

Belytschko        reached out to collaborate with              Dr Foster There is every indication that Dr Foster is
an outstanding        mentor and            I   do not believe that Dr Fosters promotion should be delayed for
several       years while he waits for a PhD student to graduate                      from     UT

Finally Holditch and Soliman expressed                          opinions   in   email correspondence             after     a cursory review of

Dr Fosters CV          I    do not believe           that   these opinions should be given the same weight as those of the

external reviewers           who provided              detailed   assessments These opinions are also                      in   direct conflict

with those of several the reviewers                     who found very close ties between Dr Fosters work and
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important topics        facing    petroleum engineers      today and   in   the future   As noted   by Jon Olson PGE

department chair one of the strengths of the Department of Petroleum and Geosystems
Engineering at UT         is   that   many of the faculty did not earn their degrees in petroleum engineering
By recruiting     faculty      with interests in petroleum engineering         but backgrounds      in   other areas the

department has a long history of developing                unique solutions to the problems facing the           oil   and gas

industry    The department has been extremely successful using                   this strategy for hiring faculty        and   I




believe   that   Dr Foster will continue        this tradition




In   conclusion    I
                       strongly disagree      with the members of the Promotion and Tenure               Committee
Dr Foster is a rising star in the areas of experimental and computational mechanics                        and   I   believe

that   he meets or exceeds expectations              for promotion   to associate   professor with tenure in all        areas

I   support his case without           reservation




Sharon    L Wood Dean
21 October       2016




                                                                 7
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                                                                          Chairs Statement

                                   John Foster Petroleum and Geosystems Engineering

                      Promotion               from Assistant to Associate                                    Professor with Tenure

Summary Statement


I
    fully   support the Budget Councils                         unanimous decision to promote Dr John Foster from Assistant

Professor to Associate Professor                          with      tenure       He    has met or exceeded                   expectations             in   teaching

research          and service        to the    Department             of Petroleum                and Geosystems Engineering                      PGE to the Cockrell
School       of     Engineering        to The       University        of   Texas       at   Austin and to the broader                      scientific        and professional

community              Dr       Foster received           a   PhD    in   Aeronautics            and Astronautics            from Purdue University                       in   2009

He has BS           2002 and MS 2004 degrees in Mechanical                                         Engineering         from Texas Tech                 University              He

started        as   an Assistant Professor                in   the   Mechanical             Engineering       department of The University                               of Texas        at


San Antonio           in    fall   2011 where he spent 3 years He has been                                   at    UT Austin         for 2 years            completing              5


years as         an assistant professor              in    August 2016           and        is   thus going       up   for promotion             at    the customary

time



Budget Council Discussion and Decision


The promotion process started                         with the solicitation                 in June      of external         letters        The candidate                submitted

his    statements           and supporting           materials over the                summer and these were made available                                   for        Budget

Council         review      a   week   prior to our            August 23 2016               meeting along with the external and internal

referee         letters      The    PGE Promotion                and Tenure Committee completed                              its   draft    statements         on teaching

research          and service        prior to the         August 23 meeting


The main point of Budget Council discussion was concerning                                                 Fosters timing for going up for promotion

as he has not yet used                 his   entire       probationary           period available            to    him at UT Austin                   It   was stated that

although          he has only been            at    UT Austin         for two        years he has been                 an assistant professor                 for 5 years


and     this     would      be the normal time to go up for promotion and tenure                                             Another         comment was that                       it




was clear that he has a strong record and there                                       is   no reason to hold him back                       In   particular         it   was

mentioned            that       his publication       numbers are high relative to other assistant professors and                                               his       teaching

and service           were both good               One member mentioned                           that   he deserves generous support from the

Budget Council                  The second         point      of discussion          was the negative responses to requests for reference

letters received                from Holditch        AM             and Soliman University                  of    Houston            No one thought              those

responses should be seriously considered                                   The main concern                voiced       in   the refusals         was that          Fosters

work doesnt necessarily belong                            in a   petroleum engineering                    department                this    opinion        was not shared

by any on the Budget Council                         It   was admitted that Foster is transitioning in the focus of his work since

leaving      a    mechanical engineering                      position     at   UT San Antonio              but    he has only been               at       UTPGE         for two


years The            Budget        Council    was happy             that   he   is   making good progress                    in    working       to apply      his skills           in


petroleum            related       problems



The     final     vote of the Budget Council was unanimous                                   in   support of Dr Fosters promotion                             with        6 votes


cast    by those       in       attendance     at the         meeting and 3 votes                  in   absentia       The date of the meeting was set two

weeks       in    advance          One absentee member had indicated he was                                       not available            after the        meeting        date
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was set but never participated                          in the    Doodle      Poll   determining the time                      The second                 absentee voter had

originally indicated                 that    he was available for the meeting but indicated                                a   conflict          the      week            before        The

third       never responded                in   reference       to availability so          was expected to attend but did not show


Chairmans Analysis                     of Teaching




The typical teaching                   load for     an assistant professor            in    PGE     is     3   courses per year             New            hires typically                 get

some teaching              relief      teaching       only     one course per semester                     2 per year for a year or two                                   Dr Foster

being       an experienced              assistant      professor was given              one year of reduced teaching                             1 and 1

One of the             things that         impressed       me the most about John                   Foster when           he interviewed                       was        his


innovative          and accomplished teaching                          He had put together                 an advanced          class      in    computational

methods           at    UT San Antonio              with   a    significant   component             of handson            coding       in   the           classroom and he

had pioneered              a    lecture      capture       methodology        that    had made him                 a   leader    in   views on YouTube                               His


lecture          capture method which he has implemented at UT Austin                                             and propagated                 to       at   least 3 others               on

our faculty            involves        using a tablet for free hand               writing      and powerpoint                  slides       The tablet                is    projected

onto the screen                in   the classroom and             is   recorded      along with            his voice      Immediately after class                               he

divides the            50 or 75 minute lecture recording                      into   4 to 7 conceptually                 coherent segments                          and posts

them        to   Canvas so that students can review the parts that for which they need                                                     further             help         He also

posts these lectures                  on    his   public   YouTube         account     and has thousands                  of followers using                       his     lectures         for


learning          for   his    High Performance                Computing      class he has 230000                      unique views and 800000                                  minutes

of viewing          time            Another       affirmation of the value of this teaching                         method       is   his 2015                 Society of

Petroleum              Engineers       SPE Innovative             Teaching      Award


The details of Dr Fosters teaching portfolio can be found                                          in his       statement        and       CV         I
                                                                                                                                                          mainly want to

comment on               his ability        to integrate        into   the petroleum          engineering              curriculum          and the quality of                        his



teaching          at UT Austin              Shortly    after    John    was hired       I   met    with         him to discuss        the need to get him

teaching          within the core required                  undergraduate            curriculum            of the      petroleum engineering                          program               He

could obviously                teach    our PGE 334 Reservoir Geomechanics course and he does but we already had 3

others       who could teach                that    with   whom         he must rotate         so      I   needed him to branch out                                We agreed that
a   great        opportunity for this would be the PGE 323M Reservoir Engineering                                                      Numerical                   Simulation


course           which involved derivation                  and application          of porous             media flow equations and their conversion

to    a finite     difference          numerical       method expression               with the goal              of students         writing their                 own

computer           code that can solve                practical        problems       His computational                 background               made him a good

candidate for this course                         John enthusiastically         engaged        in      this     task even though                 it   meant           delving         into       a



topic he had never taught                         before       This task   was made easier by the fact that he                              co taught                it    with      PGE

Associate Professor                   Matt       Balhoff the first      time each           had their own section but                       it    was          a   substantial


amount           of work       nonetheless            His first    time teaching the course last fall                      2015            was very successful                         and

he received good teaching evaluations                              from the students              41           for the instructor           and           40 for the course
I
    fully   anticipate         those to improve for this fall                 when John           is   teaching the course on                         his      own         His other


undergraduate              teaching             evaluations      show that he is an effective teacher                          that   is   willing to adapt                       His      first


time teaching the undergraduate                            PGE 334 Reservoir Geomechanics course garnered instructorcourse

ratings of         3432 but the second                     time that rose to          4341                 His graduate        teaching            shows similar
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effectiveness             and motivation            for       improvement                           For       PGE 379383 Advanced Geomechanics                                                       it       is   a


combined          undergraduategraduate                             course               but       was predominantly taken by graduate                                                       students                  he

received       instructorcourse                  ratings of            4340 the first time the course was offered fall                                                                       2015             for some


reason the course evaluations                           are solely                listed       for PGE 379 when they should include PGE 383 as well


while    the    second          time in fall       2015           he improved to                         4946                  Given           these CIS scores                       and the general

student     feedback we have heard through                                         our undergraduate                                 coordinator                 and our graduate                     advisor Dr

Fosters teaching                is   well    received         by the students                            As far as being a versatile                                       and effective            member of

the   PGE faculty who can teach                         courses that                     help       address our teaching load                                          I    am very happy as a chair

and know that              I
                               can count on John to perform well                                             in   the teaching                   tasks          to    which he is assigned

Consequently               my assessment                is   that      Dr Foster exceeds                                expectations                     in this           category for promotion to

associate professor                  with    tenure



Chairmans Analysis                    of    Research



Dr Fosters research                   focuses       on mechanics and computational                                                       methods                 He         is   a   world    leader          in   the      new

theory of peridynamics which                            is    a   promising way to solve                                   geomechanics problems                                        in   heterogeneous

media with pervasive fractures                               As he mentions                         in       his   own statement                           it   is    quite          remarkable           that         he co

authored        a   paper       with    the      late    Professor                 Ted Belytschko Northwestern                                                  University             professor              National


Academy         of Engineering               and National Academy of Sciences                                                   member                     Belytschko                 is   known     for


developing           new computational                       methods such                      as the             element            free Galerkin                    Method and               the    eXtended

Finite   Element Methods                     XFEM and                  it    says        much about both                             that there                 was         a    collaboration            between                a


famous     full      professor         at Northwestern                       University                 and        a   young assistant professor then                                         at   UT San

Antonio         Just as        Belytschkos XFEM                     quickly progressed from being a                                                   new            relatively            unknown

computational              method           to   rivaling         standard              finite          element methods                              FEM techniques                          when treating

fracture    problems peridynamics                             has the potential                          to       shake the foundation                                of computational                    mechanics

at   least with       regard to fracture                 modeling                  which            is   a    hugely important space                                       in    numerous          industries


including       petroleum              as fracture           propagation                      is   the       key       to failure              in    most material                         To have        a   well

respected         peridynamics               pioneer such                as       John Foster to                       call    UT Austin                 his     home has huge                     potential            for


recognition          to    come to the Cockrell School                                  of    Engineering                      It   is   not         guaranteed                  that      peridynamics                 will



change      the      world            but the potential                     is   strong and Fosters funding                                              and     ability          to publish        numerous

articles   in   prestigious            journals         is   laying the                 foundation                 for    continued                   success



Another     important aspect                     of rating         a   professors research                                 is       relevance                   From my perspective as

someone who also                     specializes        in    mechanics                  my specialty                     is    geomechanics                         and hydraulic fracturing

anything that has to do with fracture                                  is    guaranteed                      to    be a hot topic                         In    the        oil   and gas business                      or   in



any case of drilling or excavating holes in the subsurface                                                               fracture               is   a   key problem                   to    master and can be

exceptionally             difficult    given      the bewildering                        heterogeneity                        and anisotropy                         often           found    in   rocks       and

other    geomaterials                 Also no one can ignore that horizontal                                                    wells           and hydraulic fracturing                            have           literally


revolutionized             the United States domestic                                   oil    and gas industry responsible                                                for a     doubling       of our daily                 oil




production            Dr Fosters work                   is   fundamental                      to    much               of what           petroleum                   engineers do in                drilling           and       in



hydraulic       fracturing             For   instance             hole           stability         is    a    key factor                 in   successful              drilling             which must be

mastered        in   order to prevent accidents                                  like   the        Macondo                Gulf of              Mexico           oil    spill          Dr Foster is

collaborating         with       PGE professor                Eric     van Oort to apply                               his skills             in this      area              With       regard to hydraulic
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fracturing        Foster       is   collaborating                with       PGE professor          Mukul Sharma to apply                  his numerical            method               to


the especially            difficult    problem           of fracture               propagation      in    the    presence of preexisting flaws as found                                      in



shales important because                        most of the increase                    in oil    and gas production              over the past 10 to 15 years

has come from resources found                                   in   shales which have             made the US the top                 oil   producing           nation          in    the


world again           I   dont mention these                          collaborations        to suggest          Foster     is   not   capable       of       independent

thought       and accomplishment                            I   have       no doubt that he is capable                and proven             in   that       regard     I
                                                                                                                                                                            just

mention       this   to     demonstrate            that              though    he is new to petroleum                engineering he has quickly adapted

his   research       program to contribute                            in   relevant    areas where         his    expertise       is   unparalleled            among             the    PGE

faculty      and he is good               at   collaborating                with    others



Where Dr          Foster really shines                  is      in his      research productivity                His in rank journal publication                       number                of


19 is very good as compared                        to the other                PGE faculty promoted                over the past 5 years Table                         1 ranking
him    2nd   out of the 5           most recently tenured                          and promoted           PGE assistant professors                       His total     number                of


publications         at    promotion also compares well with the others                                           behind DiCarlo and                    Prodanovic but ahead

of    Nguyen      and Balhoff              DiCarlo              with       the most publications            at   promotion and tenure                        benefited           from a

total career length             of    19 years since                   receiving      his   PhD     Foster ranks           favorably         as   3rd    of 5 for total


number        of journal        papers at          promotion with the shortest career since                                     PhD of the group just 6 years



                          Table       1    Publications                numbers when going up for promotion to associate

                          professor

                                                        In                   Total          Date                 Date      PhD               Years       since

                                                        Rank                                Promoted             granted                     PhD        at


                                                                                                                                             promotion

                           Prodanovic                   22                   31             2016                 2005                        11

                          Foster                        19                   22             tbd                  2009                        6
                           DiCarlo                      17                   63             2013                 1994                        19

                           Nguyen                       13                    16            2011                 2003                        8

                           Balhoff                      9                     13            2013                 2005                        8




Citations      are an       interesting          yet imperfect                 way to measure             significance          and impact of published                      papers

Fosters h index              of 9     Google Scholar                       and total citations           of 254    Google Scholar seem modest                                but        it   is



hard to judge the value of such                          a       number because              of the high         variability      between          disciplines         and sub

disciplines        Fosters work                 in a   new computational                    mechanics methodology                      may be suppressing                        his



current      citation       numbers             but given             the    likely   spread of the method to more wide acceptance                                          in   the

computational              community              his citations              could    explode        I
                                                                                                         have tried to normalize citation                        growth           by

years since       PhD award date Figure                               1 Fosters citation numbers are actually quite competitive                                                  within


the PGE department from this perspective                                           and he is actually ahead                of   where some of our very

successful      senior faculty                 were    at       the    same time in their careers                   Full    professors            on the plot are Torres

Verdin       and Sharma             who show            a       slower build of citations than Foster but each now has high total

citations       11500         for Sharma               31 years since PhD and                       3500    for TorresVerdin                 24 years since PhD                         They

have    h indices of 56             and 29 respectively                           Current Associate Professors Nguyen                             14 years since PhD and
Balhoff      11   years since             PhD     have higher total citations                       also    but     Fosters cumulative                   curve    is   rising
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earlier in his career                   than theirs and he is rising faster than Dahi of LSU                                     a UTPGE             graduate who is

included                because      his discipline       is   more like Fosters                 Associate          Professorss          DiCarlo      and Prodanovic show

faster         cumulative            builds     than Foster but he is competitive                             Finally of all          the current          PGE assistant

professors                Espinoza Heidari Daigle and Okuno                                    Foster   is   second      only to Espinoza              for number of


annual citations this year with 110 cites



               400
                          Balhoff                                                                                    Balhoff

                                                                                                                     rProdanovic
                          AProdanoyic
               350
                          Dahl LSU                                                                                             LSU
                          TorresVerdin                                                                               vTorresVerdin

               3
                          Sharma                                                                                     Sharma
       41                 DiCarlo                                                                                    DiCarlo

       a 250              Espinoza                                                                                   Espinoza
                          Heiden                                                                                      eHeidari
               200

          ct              Okuno
                                                                                                                     eOkuno
       g       150        eFoster


                                                                                                                                     4
                          Nguyen                                                                             600
                                                                                                                     aFoster
                                                                                                                                 is
                                                                                                                     Nguyen
                   oo




                   50




                                                    5                10              15

                                           Years Since    PhD                                                                         Years Since    PhD




Figure             1 a Annual and b cumulative                            citation       data for a range of UTPGE                    assistant associate                and   full



professors plus a UT PhD graduate                                specializing             in   hydraulic      fracturing         who     is   presently      an Associate

Professor                in   petroleum engineering at LSU                      The arrow points at Fosters curve                               Data       source is Google

Scholar                 August 28 2016


Dr Foster received 7 strong and compelling                                      external          letters that unequivocally                   support       his promotion            I




will   highlight              and analyze those shortly but                     I   first      want to discuss numerous potential                           referees that


turned             us    down     8 out of 15            Most of the           individuals         who       declined      to write cited lack of time or


expertise                pertinent to      Fosters publications                     Mark Zoback          was on        his way to a           10 day trek         in   the Pamir

Mountains                 of Tajikistan          Dr Fosters five significant                     publications         focus on the            new method            of


peridynamics and they deal with the method                                               in   depth   Given that the analysis                   is
                                                                                                                                                     complex and currently

only familiar to a relatively small                            community             I
                                                                                          can understand            that some individuals                  would    balk   at the

time investment                     that   would        be required to fully read and absorb the papers Also the community of

viable referees                 at peer     institutions        is
                                                                     very small for us so our pool was narrow to start with and many

other universities                   are   likely   making requests to these same individuals                                     Another factor             is   that some of


the negative responses could be blamed on our process                                                   It    took some time to get answers from the

initial        8 referees contacted                 and by the time two more waves                                 of requests        went out the summer was

almost over                    Frustratingly        two    of the referees                contacted      initially     said yes        Holditch and Ortiz and then

later said               no although        I   cant blame Holditch for delays as he was very prompt in his responses                                                          One

potential               referee     never responded             Clifton
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Overall      I   think       the high        number          of declining             referees                 is
                                                                                                                        very       unfortunate                  in    that       it   could      reflect           poorly

on Dr Foster but                I
                                     truly believe that               it   should not                     I
                                                                                                              already              addressed the general excuses                                             of not


enough time and lack of expertise                                 Let       me now address the two                                             email      responses that were quite

negative         about Dr Foster himself                         Firstly Steve                   Holditch                    NAE of Texas AM                             is      highly       regarded                 in



petroleum          engineering and has worked both                                         in   reservoir                    engineering                 and hydraulic fracturing                                  We felt
it   was important to get someone who was                                         a   recognized                        practical              expert with              some experience                           in



hydraulic        fracuring           but     we knew he was                     not    a    hardcore                    mechanics expert                              Unfortunately                      I   believe that


lack of   explicitly          applicable          expertise           colored          his       response                      His quote                 that    needs addressing                            is   I am not

impressed          with       his    publications            for most           of his career as                         I   do not see how they                           fit        well into          petroleum

engineering             I

                            guess     it   is   ignorance on               my part               I   would                   argue that as Holditch                              states        it   truly is           his



ignorance of the applicability                          of   Fosters computational                                      mechanics work to                            drilling          and hydraulic

fracturing        that       prevents him from seeing the value to petroleum                                                                   engineering                It     is    also   shortsighted to

not    recognize the potential                        of having        someone              with              such           a strong fundamental                              and theoretical

background          on the PGE faculty                        Petroleum engineering                                     has traditionally been                           an interdisciplinary field

where engineers from many disciplines                                          can flourish                    Less than               14 of our own PGE faculty                                     has a PhD                   in



petroleum          engineering              Sepehrnoori                    Heidari Okuno                           Gray            The         rest      come from chemical                              engineering


Lake      Pope Mohanty Sharma                                Nguyen Balhoff engineering geoscience                                                               TorresVerdin and myself

chemistry         van        Oort math Wheeler                         and Prodanovic                               geology Daigle                          geotechnical                     engineering

Espinoza and                  Physics       DiCarlo Fosters heritage                                      of       mechanical engineering                                makes him typical                             in       that


he is a non petroleum                      engineer           His work           on computational                                  mechanics                is   fundamental                   but of great


applicability       to       petroleum engineering                         for   a wide range of problems including wellbore                                                                    stability


hydraulic        fracture           mechanics           pipecasing               mechanics                         and        fluid    flow and transport                               There       is       no question

in   my mind that             he has the expertise to make a difference                                                       in   petroleum engineering and he clearly has

made strides            in    doing significant things that are petroleum specific                                                                   in the      just two years                  he has been                     on

the   PGE faculty              He helped surpervise                        a   recent           Sharma PhD student Ouchi                                               who refined an application

of   peridynamics             to poroelastic fracture                          propagation                     analysis               He        is   a   coauthor              on two journal                      9            and

17 and one conference paper 13 with Ouchi                                                            It       is   more important                          however                    that    Foster can thrive


in our department doing fundamental                                        work developing                              a     methodology                   that       will       impact petroleum

engineering         but       will    also      be valuable           to the          broader engineering                                      community


Soliman of the University                        of    Houston makes similar comments                                                 to       Holditch              in his      declining          to write                a


letter    most of his publications                             do not even                 belong                  to    Petroleum                   Engineering                       Frankly      it       looks      like       he

belongs more to a mechanical                             or   civil     engineering                  department                                 Such statements                        are basically


reflecting        the       idea that      all   petroleum             engineers must do practical application                                                          work            not    fundamentals

That has never               been     the attitude of our department                                           and that               is   probably              a    key reason why we are the

top    rated      graduate           program           with    Stanford           as our             only true potential                                 rival        Consequently                   I       dismiss


these negative comments                          of Holditch               and Soliman as reflecting                                       a   viewpoint              that       does not           fit       with the


vision of petroleum                  engineering             as held           by the faculty of                             UTPGE


From the seven                letters we          did    receive           endorsement                        to        promote was unanimous                                         Assessments from the

external         reviewers          worth        highlighting              include
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Emmanuel Detournay                         University         of   Minnesota               NAE          I have     read these                papers carefullyand

found     them     to        be very well written and easily understandable                                        They          are    mostly published                in


high    impact journals                    Dr Foster has significantly                       contributed          to the extension                     of the original


peridynamics           paradigm                  I

                                                     very    much     appreciate             the rigor of the approach                        as well      as the


systematic        effort       of proving             that the      peridynamic              formulation          indeed degenerates                      gracefully         to

the appropriate               classical              continuum           model             While there        are other            numerical             contenders

peridynamics           is    an elegant and power approach                                   and    is   most     likely        here to       stay         There       is   no

question        that    he has hit the ground running since joining the UT system                                                            I foresee        a   bright

future for       him
C Armando          Duarte University                     of Illinois          at    Urbana Champaign                  Seeing           Dr     Foster giving         a


plenary     lecture           it         was clearthat              he    is extending peridynamics to novel and exciting
applicationsThese                    are research areas with                        important societal environmental                                and economical

implications                 Dr Foster has definitely demonstrated                                  a    remarkable             ability      to   branch out            in


different       fields       while       building       on   the strength              acquired         during    his graduate               studies          Dr       Foster


is
     very comparable                in   stature       and development                     to the   top young computational                             mechanics

faculty    at    leading universities                   in   the   United           Statessuch            as two       recently              promoted        associate


professors with              research areas related                      to    those of Dr Foster                 Dr Haim Waisman                            Columbia

University             and Dr Caglar Oskay                            Vanderbilt             University          He        is   also    comparable            with


recently        promoted            associate professors                  at       the College of Engineering                     at   UIUC My
recommendation                      with   enthusiasm is to                   promote
Derek     Ellsworth            Penn State             University         NAE           The     candidate has made innovative

contributions                 He has received                  a   significant         number           of awards given                his early        career


standing         An AFOSR young investigator                              award stands out                  his    potential            to   complete         high

quality    and profession leading research                                is       highI support without reservation

Ahmad Ghassemi The                         University         of Oklahoma                   Dr Foster has made excellent progress                                   in


establishing       a    computational                  fracturing         research          program        that    has yielded               high      quality journal


publications           it      is
                                    my view           that   he would certainly                be granted          tenure and promotion                       at   a


research intensive                  university

Peter Valko        Texas            AM          University          The publications show deep understanding                                               of solid         and

fluid    mechanics as well as abundant                             creativity he managed to place them                                        in    highly   respected

journals with          outstanding               impact factor                 I
                                                                                   fully   support granting           the rank of associate professor

to    Dr Foster          I
                             am convinced               he will continue               to grow       and flourish as a valuable faculty

member
Brad     Boyce     Distinguished                     Member        of the Technical            Staff Sandia           National               Laboratories           I
found Johns dual expertise                            with   both computational                     and experimental                   methods to be a rare

and powerful           combinationI believe that Johns career trajectory has tremendous

headroomJohn                        has strong entrepreneurial acumen

Lee     Chin Reservoir Engineering Fellow Retired Conoco Phillips                                                     I     consider              Dr    Foster to       be

one of the top experts                     in   computational                 mechanics using peridynamicsThis                                     outstanding

accomplishment                 peridynamics                  provides          us    an alternative        that     will    be practical and competitive

compared         to existing             numerical methods                     FDM FEM and BEM                         I    believe          Dr Foster is one of
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                     the best scholarsresearchers                               compared with others                              his cohort                research intensive


                                                                                               AM
                                                                                                                             in                       at


                     universities               such as Stanford Texas                                        Colorado School                    of   Mines       University         of     Oklahoma

                     and        University            of Calgary




I
    think       it   is    clear that           these reviewers two NAE members                                    and       five    from peer institutions                        are    impressed

with    Dr Fosters achievements                                    as a junior faculty               member                There are two additional                      letters          one from

Noel Clemens                      the chair of              UTs Aerospace               Engineering and Engineering Mechanics Department                                                        Foster

has a zero time joint appointment and one from Tinsley                                                              Oden            Both are very good but Tinsleys                               is




particularly insightful                         and should be read                 in    its       entirety       so   I
                                                                                                                           will   not   paraphrase               here     Such

endorsement                      from one of Tinsleys stature                           is   quite      impressive



Overall              my assessment                    is   that   Dr    Foster exceeds                expectations                in this    category        for   promotion to

associate professor                            with    tenure



Chairs Analysis of Advising Counseling and Other Student Service



With    regard to                 graduate             student         supervision Dr Foster has graduated                                       one PhD student               and 5 MS

students              in    his   3 years as assistant                  professor            at    UT San Antonio                 the PhD student graduated                              during

Fosters first                semester             in   Austin but kept his registration                            at San         Antonio             The    PhD student             published              3


papers           in       respected journals from his dissertation and now has a job                                                        in    the Army Research                  Laboratory

indicating                his   education              under Dr Fosters supervision                            was quite            effective          In   Dr Fosters short                    2 years


in   Austin           he has not yet graduated                           any    MS or PhD students but he has an impressive                                              pipeline          of 9       PhD

students              2 of which are co supervised                               and 3 of           whom          have passed           the qualifying             exam and                1   MS
student               I   have served with him on PhD committees                                             over the past 2 years and there                             is   no question that

he is technically                    capable           and    skilled     in   working with students



Chairs Analysis of Administrative and Committee Service



What        I   have         found most pleasing about                           Dr Fosters service                        role since       arriving        in   Austin       is   that    he is

willing to            serve          and does so happily                       This attitude within the faculty                             is   crucial for the health                   and

longevity             of    a    small         department such as PGE                          He attends           and contributes                   to discussions           in   all    faculty


meetings he attends departmental                                          social    and development                        events       and has established                    collegial


relationship                with         all   the faculty             He has also reached                   out to the Aerospace Engineering and                                     Engineering

Mechanics Department getting appointed                                                  as     a   0    time member as well as being engaged                                         in    activities


at   UTs Institute                   for       Computational             Engineering               and Sciences              ICES       As described               in   the    letter       by ICES

director             and Associate Vice President for Research                                          Tinsley        Oden his participation                      and work           is   highly

valued               He clearly exceeds                     the expectations                 for promotion



Chairs Analysis of Other Evidence                                        of    Merit or Recognition



Dr Fosters most significant honor has been                                                   his   receiving        the Air Force                Office     of Scientific          Research

Young           Investigator                   Award        He    is   extremely active                in   professional            society technical              meetings and                  is    in



high    demand                  as   a    keynote or plenary speaker                           related       to   computational                  mechanics              He has been              an

effective             fundraiser                for his research           and     is   working             diligently to          work toward the future writing
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numerous            grant   applications     and developing          a   new    project    funded   by General Electrics Global Research

group      I   have    already       mentioned         his SPE   teaching      award Again       Dr Foster meets or exceeds

expectations          for promotion to Associate                 Professor



Concluding Statement


Dr Fosters accomplishments                       in   rank as   an assistant professor        at UT Austin     across   all
                                                                                                                              categories    meet    or

exceed     expectations              as evaluated       by the PGE Budget Council and prominent external referees

Combined            with    his   previous 3 years at UT San             Antonio    Dr     Foster has   accumulated      the expected

accomplishments               for    promotion and tenure            I
                                                                         enthusiastically     support    his   advancement        think    his   work

thus far       is   commendable and              believe   his future     potential   is   significant




Jon    E Olson PhD PE
Chairman and               Frank    W   Jessen    Professor

Lois   K and        Richard        D Folger Leadership Chair
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Dr John Foster was scheduled   to undergo   his   third year review in   Spring

2017
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                           DEPARTMENT OF AEROSPACE ENGINEERING                                  ENGINEERING MECHANICS

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To            Prof Jon Olson Chair Petroleum and Geosystems Engineering



From          Prof Noel Clemens Chair Aerospace Engineering                           and Engineering             Mechanic



Subject       Letter    of Support for Dr John Foster



Date          August       14 2016




I   am writing to highlight Professor John Fosters contributions                                   to    the department of Aerospace

Engineering        and Engineering Mechanics where he holds a courtesy appointment                                            Our department

is   very pleased          to   be affiliated     with John    because he       is   an outstanding young researcher                    and a

good citizen who is always eager                       to participate    in   relevant department activities For example

John       regularly attends           department faculty       meetings        EAC events he has helped                     us immensely

with our faculty            recruiting and he routinely serves on our students                              PhD dissertation committees

We view John as being a very visible and fully integrated member of our department                                                   John    is


also an active         member of our departments                 Center for Mechanics of Solids Structures and

Materials       CMSSM and                 I   am glad to see that he is expanding                   his interdisciplinary activities              by

becoming an affiliate                 faculty   member of the Institute          for   Computational               Engineering and

Sciences       ICES             John serves as an important bridge between                        our departments because he is a

mechanician by training but brings us knowledge about applications                                           in    petroleum engineering

that are     important          for   expanding the funded research             portfolios of             our affiliated     centers

Furthermore we are starting a new undergraduate                               degree program in Computational

Engineering and we hope                    that   we    can take advantage           of a course that John            developed      at   UTSA
on highperformance                    computing should he begin teaching                   it    in the   PGE department

John has an outstanding reputation as a mechanician                              and    several          of our mechanics       faculty

members have mentioned how impressed they are with his technical                                             abilities   and the advanced

state of his modeling                 methodology        His focus   on peridynamics                as a computational         tool for


solving complex problems in solid mechanics                             brings a welcome added dimension                       to   the research

being done in the mechanics                     of materials at UT Austin             Owing         to    this our faculty     members were

very excited to have John formalize a relationship                            with our department with the courtesy

appointment            John was also enthusiastically              supported by the faculty                  for   membership on our EM

graduate       studies committee                and he currently supervises            three graduate             students   that are     enrolled

in   the   EM program While John has already established strong collaborations with some of our
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faculty     members   he has sown    the seeds of significantly more collaborations              which we expect      to


see come to fruition in the coming years



In    my opinion    Johns    desire to   conduct   interdisciplinary        research   epitomizes    the characteristics

that   we   seek in our   new members and      strive   to   develop   in   our existing   faculty   I   strongly support

his    case for promotion   and tenure
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August 10 2016



Professor Jon E Olson

Chair Department                           of Petroleum                and Geosystems Engineering
CockrellSchool of Engineering                                         Bureau of Economic               Geology
Jackson School of Geosciences
The University of Texas at Austin
200    E Dean Keeton CPE 51688                                         Stop       C0300
Austin TX 78712


Dear Professor Olson


I   am     writing               to      you          to      provide        my strong         recommendation                for   the

promotion of Dr John                                   T Foster to the rank of Associate Professor with
tenure in your department


I   met John when he                                  first     came        to    UT a couple of years ago                    I   have
followed             his research closely heard                                  him lecture on contemporary                    topics
in computational                         mechanics               geomechanics              materials science               hydraulic
fracture             and        crack         propagation                   peridynamics            and    other      subjects        I


have invited him to participate                                      in seminars         and to give lectures              at ICES    I


have      talked            with          him at              length       about    deep      topics      at   the   forefront       of

contemporary   computational                                          science       and       engineering             I    am     fully

convinced that he is a truly                                         exceptional        academic          a top      intellect     and
expert           in     his       field           a     strong        and        innovative        researcher         a    dedicated

teacher           a trustworthy                        faculty colleague                and    a true loyal supporter of
his department                     and our university


Fosters              record              of   highlevel               involvement             in   research       and       his    own
accomplishments have been truly remarkable He earned a BS and                                                                      MS
in Mechanical  Engineering at Texas Tech   In May of this year I gave a

Presidential  Distinguished Lecture  at Tech and talked with several
members              of the ME department  To many John Foster is a legend one
they     still       admire and respect He went on to get his PhD in Aeronautics
and Astronautics                          from Purdue in 2009                         He was a senior member of the
Sandia       technical                   staff        at   Sandia          National     Laboratories           from       20062011
an Assistant Professor                                  of      ME    at    UT    San   Antonio for three years                    and
joined       our           department                      of   Petroleum           and Geosystems              Engineering          in
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2014            He    was       given    a    courtesy              appointment           in    our       own     ASEM
department            around a year ago


Foster     is   a person of extraordinary breadth He                               is   able to     work at a very
high    level    in    many      different      areas          of engineering             His quite        innovative

work     on modeling hydraulic fracture must stand among the most
innovative   and important in this area It demonstrates that he has
successfully          turned his attention                    to important          problems in petroleum
engineering


I    recently        returned       from       the        world        conference             on    computational
mechanics in Seoul Korea where                            I   ran into a number of colleagues                from
Northwestern            who had made John a strong                             offer to join          their      faculty
some years ago To this day they are disappointed that he chose to stay
in Texas It was clear that some of them rank him as one of the best
researchers and academics in the United States in his areas of expertise



John has        won
                 Young Researchers Award from Air Force Office of
                        the

         Research the SPE petroleum engineering teaching award and
Scientific

an award for accomplishments  for those under 40 in the San Antonio

business journal                His publication               record    is    quite      strong     publishing        22
articles    in highly cited journals                 and one book chapter                          While    at   UT   14
conferences           papers were submitted and he has compiled and co edited a
book on peridynamics                published             to be published               by Taylor and Frances
His     publication         while       an   assistant          professor          at    UT    Austin       are    quite
commendable                 I   observe       he     is       frequently        invited        to   give    technical

seminars         at    universities          around           the    country        such       as   Northwestern
Johns Hopkins            and the University of Illinois


He is extremely successful in securing funding for his research bringing
in over $244 million in research as a PI and another $229 million as a

co PI which           represents         an extraordinarily                  successful        proposal         activity
He has      successfully          advised one                 PhD     student       James          OGrady who is
now at the Army Research Lab and he has eight students in progress 3
of whom have passed   qualifying exams one masters student and 3

postdocs


John Foster has established                    himself as a leading                 expert on the growing
field   of peridynamics             and its     application            to the      most complex problems
in    geomechanics               including         remarkable                new        models       of     hydraulic
fracture        His interest        and expertise go far beyond                          this subject       He has a
deep     understanding              of    continuum                 mechanics           mechanics          of    porous
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media        finite    element  methods  and   contemporary   methods   in

computational         mechanics and computational science   He has a great
deal of dedication energy discipline and excitement about his work


I   do not   recall   a   more qualified    individual    at   his academic   level   in   my
half century      experience     as             professor He is an exceptional
                                      a university
member of our faculty            and we should do everything we possibly can to
keep     him here      to encourage     him to continue        his work   and to provide
him with the resources and opportunity               to be successful in his field


In   my opinion       John Foster is highly qualified to be promoted to the rank
of Associate Professor with tenure               He is on a trajectory    that will carry
him to     the   very top    of his field   I   strongly support his promotion             and
tenure




Sincerely yours




J Tinsley Oden
Associate Vice President for Research

Director     Institute for Computational    Engineering and Sciences
Cockrell   Family Regents Chair in Engineering        2
Peter ODonnell Centennial Chair in Computing Systems
Professor of Aerospace Engineering and Engineering Mechanics
Professor of Mathematics
Professor of Computer Science


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J Tinsley Oden

Associate Vice President                    for Research


Director       Institute for Computational                          Engineering       and Sciences

Cockrell   Family Regents                   Chair       in      Engineering      No 2
Peter   ODonnell Jr Centennial                          Chair      in   Computing        Systems
Professor       of Aerospace            Engineering               and Engineering            Mechanics

Professor       of Computer Science

Professor       of Mathematics




J Tinsley Oden is the founding                         Director         of the   Institute    for Computational               Engineering        and Sciences

ICES which was                 created       in January           of 2003    as    an expansion of the Texas                  Institute       for Computational

and Applied Mathematics also directed                                   by Oden     for over    a    decade The             Institute    supports       broad

interdisciplinary research                   and academic programs                    in   computational           engineering          and sciences involving

five   colleges and 18 academic departments                                 within    UT Austin


An author       of over        600    scientific            publications         books book chapters               conference           papers       and

monographs Dr Oden                     is   an editor of the series Finite Elements                          in    Flow Problems and of

Computational Methods                        in   Nonlinear Mechanics                 Among the 56 books he has authored                              or edited     are

Contact Problems                in   Elasticity         a six     volume series Finite Elements An                          Introduction to          the

Mathematical Theory of Finite Elements and several textbooks                                                  including       Applied         Functional      Analysis

and Mechanics              of Elastic       Structures A Posteriori Error Estimation in Finite Element                                         Analysis      with    M
Ainsworth and more                     recently             An    introduction      to   Mathematical Modeling                    A course       in   Mechanics           His

book with       JN Reddy An Introduction to the Mathematical Theory of Finite Elements                                                            was republished

by Dover       in    2011      His treatise            Finite      Elements of Nonlinear Continua published                              in   1972    and

subsequently             translated         into   Russian Chinese and Japanese                        is   cited as having         not only         demonstrated

the great potential             of    computational                methods for producing              quantitative           realizations       of the     most

complex        theories of physical                behavior         of materials and          mechanical           systems but also established

computational             mechanics as             a   new intellectually rich discipline                   that   was built upon deep concepts                     in


mathematics computer                    sciences physics                   and mechanics         Computational                Mechanics has since             become            a


fundamentally important discipline throughout the world taught                                                in   every major university and the

subject    of continued              research          and intellectual          activity    Oden has        published         extensively       in   this field    and        in


related    areas over the             last    three         decades


Dr Oden        is    a   member of the             US National Academy of Engineering                              a   Fellow of the          American Academy

of Arts   and Sciences and an Honorary Member of the American Society of Mechanical                                                              Engineers         He     is   a


Fellow of seven            international            scientifictechnical             societies        IACM AAM ASME ASCE SES SIAM                               and

BMIA      He    is   a   Fellow founding               member and first              President of the          US Association for Computational
Mechanics and              a   Fellow founding                  member       and past President of the International                          Association     for


Computational              Mechanics           He      is   a   Fellow    and past President of both the American Academy of

Mechanics and the Society of Engineering Science Among the numerous                                                          awards he has received for                  his


work Dr Oden was awarded the A C Eringen Medal the Worcester Reed Warner Medal the Lohmann

Medal the Theodore von Karman Medal the John von Neumann medal the NewtonGauss                                                                              Congress

Medal and the Stephan                   P Timoshenko Medal He was                             also knighted            as   Chevalier des Palmes

Academiques by the                    French       government             and he holds        five   honorary          doctorates Honoris Causa from
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universities        in   Portugal             Technical       University         of   Lisbon     Belgium Faculte              Polytechnique                  Poland

Cracow         University            of Technology              the United States              Presidential Citation              The      University         of Texas      at


Austin and France                       Ecole       Normale Superieure Cachan                   ENSC

In   2004 Dr Oden was among the seven UT Austin engineering                                                 faculty        listed   as the       most highly cited

researchers         in the          world from 19811999                    in   refereed peer reviewed journals according to the

International        Scientific               Index    In    2009 Oden was             elected as      a   Fellow of the Society for Industrial                       and

Applied Mathematics                      SIAM and received both the SIAM                              Distinguished         Service       Award and the

University         Cooperative                Societys Career Research                  Excellence         Award      In   2011 Oden             received      the

prestigious        SIAMACM                    Prize   in   Computational           Science      and    Engineering         CSE        Prize for         his outstanding


research contributions                        to   the development              and use of mathematical                and computational                tools    and

methods        for the solution                    of science    and engineering           problems           In   2012     the     US Association for
Computational              Mechanics established                      the J Tinsley Oden              Medal to recognize outstanding                           and

sustained       contribution to                    computational           science      engineering and mathematics                          Most recently Oden

was honored              in Japan         as   the 2013         Laureate for The          Honda        Foundation          Prize for       his   role   in   establishing

the   field   of   computational                    mechanics


Dr Oden        serves as            a   member of the               Predictive        Engineering Science            Panel    PESP for Sandia                  National

Laboratories         and as             a Member           of the    IUTAM       Working       Party 5 on          Computational           Mechanics            He serves

on numerous              organizational                scientific     and advisory committees                  for international             conferences and

symposiums He                  is   an Editor of Computer                  Methods        in   Applied      Mechanics and Engineering and serves                                 on

the editorial board of 27 scientific journals


Current Research                Topics


Dr Oden        has   worked extensively                       on the mathematical               theory and implementation of numerical

methods        applied to               problems        in solid     and   fluid      mechanics and particularly nonlinear                          continuum

mechanics           His current               research       focuses on the subject of multiscale modeling                                and on new theories               and

methods        his group            has developed             for what          they refer to as adaptive              modeling The                core of      any

computer        simulation               is   the mathematical             model used to study the physical system of interest They                                         have

developed          methods that estimate                        modeling         error and adapt the choices                 of models to control                error This

has proven to be a powerful                           approach        for multiscale       problems Applications                    include       semiconductors

manufacturing             at    the nanoscale                level   Dr Oden           along with      ICES    researchers           is   also   working on adaptive

control       methods          in    laser treatment of               cancer       particularly prostate cancer                 This      work     involves      the use of

dynamic data driven systems to predict and control the outcome                                                     of laser treatments using our adaptive


modeling        strategies His                 most recent work focuses on predictive                          science       involving       the use of Bayesian

statistics     to validate              multiscale          models of atomistic and molecular                       systems


Contact


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Department      of   Petroleum        and Geosystems Engineering




                                                   THE UNIVERSITY           OF TEXAS AT AUSTIN

                                                       Cockrell      School of Engineering

                                                                  Standard       Resume




FULL NAME              John T Foster                                                                         TITLE      Assistant Professor



DEPARTMENT                     Petroleum        and Geosystems Engineering

                               Aerospace           Engineering     and Engineering Mechanics             by courtesy


EDUCATION
 Purdue   University                  Aeronautics           Astronautics         PhD       December 2009

 Texas Tech      University           Mechanical       Engineering               MS        December 2004

 Texas Tech      University           Mechanical       Engineering               BS        December 2002


PROFESSIONAL REGISTRATION

 Professional        Engineer Texas 118233



CURRENT AND PREVIOUS ACADEMIC POSITIONS
 The University       of   Texas     at   Austin                Assistant   Professor       August    2014 Present
 The University       of   Texas     at   San Antonio           Assistant   Professor       August    2011     August    2014

 The University       of    New Mexico                          Adjunct   Professor          September 2010         May 2011


OTHER PROFESSIONAL                             EXPERIENCE
 Sandia   National         Laboratories            Senior   Member of the Technical          Staff    January 2006        August    2011

 Sandia   National         Laboratories            Member of the Technical         Staff              August    2004     January 2006


CONSULTING

 Curl Stahl      Geis        Engineering analysis               expert witness         November      2014      February 2015




AWARDS               HONORS
   2015 SPE Petroleum                Engineering Innovative           Teaching     Award


   2013   Air   Force      Office    of   Scientific   Research      Young Investigator       Award


   2013 40 Under 40                 San Antonio Business Journal




REFEREED JOURNAL ARTICLES

tUnderlined   name indicates        student   or postdoctoral    coauthors under   primary supervision




Published



    1   JT      Foster        AA          Barhorst     CN       Wong      and     MT       Bement        Modeling      Loose    Joints   in   Elastic


        StructuresExperimental                 Results      and Validation       Journal of Vibration     and Control     1545495652009
        doi     1011771077546307082908




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     2 JT        Foster        SA Ming and WW                            Chen        Viscoplasticity            using    peridynamics                 International Journal              for


          Numerical Methods                in   Engineering              811012421258                         2010 do        10 1002nme                        2725


     3 JT           Foster          W     Chen           and         VK        Luk          Dynamic             crack      initiation           toughness           of    4340         steel


          at     constant       loading              rates               Engineering             Fracture           Mechanics              7861264                       1276      2011

          doi101016jengfracmech201102019

In   rank of Assistant Professor                      at UTSA



     4 JT         Foster        SA        Silling         and        W    Chen           An      energy         based     failure     criterion          for     use      with    peridy

          namic       states         International             Journal         of Multiscale           Computational           Engineering                  96675688               2011

          doi101615IntJMultCompEng2011002407

     5 JT         Foster       DJ        Frew        MJ         Forrestal           EE     Nishida            and   W    Chen           Shock          testing      accelerometers


          with   a    Hopkinson          pressure         bar        International         Journal of           Impact Engineering                    465661             August 2012

          doi    10 1016j                 ij    impeng               201202006

     6 JT            Foster             Comments                on       the    validity        of     test     conditions       in        Kolsky        bar        experiments           of


          elastic    brittle    materials                 Experimental               Mechanics            52915591563                      Brief       Technical          Note     2012

          doi    10 1007s1134001295926

     7 R Rahman JT                       Foster          and        A    Hague            Molecular            dynamics simulation                    and    characterization             of



          graphenecellulose               nanocomposites                       The Journal of Physical Chemistry A                               1172553445353                     2013

          doi    10 1021jp402814t

     8    EE Nishida JT Foster and PE Briseno                                             Constant strain rate              testing        of    a   G10     laminate       composite

          through         optimized Kolsky            bar      pulse      shaping        techniques            Journal of Composite Materials                            47232895
          2903 2013 doi                 10 11770021998312460263

     9 A       Katiyar       JT      Foster          H    Ouchi          and        MM Sharma                  A peridynamic          formulation              of   pressure driven

          convective        fluid    transport           in
                                                               porous      media           Journal       of Computational               Physics          261209229                March

          2014 doi             10 1016j                jcp 201312                    039

     10   R Rahman             and      JT      Foster               Deformation            mechanism               of   graphene          in        amorphous           polyethylene

          A    molecular        dynamics              based          study           Computational              Material      Science                87232240              May     2014

          doi    101016j                  commatsci                  201402023

     11   R Rahman              JT        Foster              and    A     Hague                A     multiscale         modeling           scheme             based       on     peridy

          namic       theory         International             Journal         of Multiscale          Computational           Engineering               123223248                  2014

          doi101615IntJMultCompEng2014007954

     12   R Rahman             and       JT      Foster                  Bridging        the         length     scales      through             nonlocal         hierarchical          mul

          tiscale         modeling        scheme                     Computational               Material           Science      92401415                      September           2014

          doi    101016j                  commatsci                  201405052

     13   MD Brothers JT                       Foster           and       HR         Millwater            A     comparison            of        different      methods           for    cal

          culating         tangent      stiffness             matrices         in    a    massively            parallel     computational                   peridynamics           code

          Computer           Methods            in    Applied            Mechanics            and       Engineering           279247267                        September           2014

          doi101016jcma201406034

                                                                                            2
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     14   M Bessa JT Foster T Belytschko and WK Liu A meshfree unification Reproducing                                                             kernel    peridy

          namics        Computational        Mechanics       53612511264                      2014 do       10 1007s00466 0130969x

     15 JT OGrady and JT Foster                       Peridynamic beams            A non ordinary state based model                          International Jour

          nal of Solids and Structures               511831773183             2014 doi               10 1016j               ijsolstr         2014 05014

In   rank of Assistant Professor                  at UT Austin



     16   JT OGrady             and    JT         Foster       Peridynamic               plates      and     flat    shells        A    non ordinary           state

          based        model          International        Journal    of    Solids            and    Structures        51252645724579                          2014

          doi101016jijsolstr201409003

     17   H Ouchi A Katiyar JR York JT Foster and MM Sharma                                              A fully coupled           porous     flow   and    geome
          chanics       model   for fluid   driven    cracks a peridynamics approach                        Computational           Mechanics           553561
          576 March 2015              doi   10 1007s00466015 1123 8

     18   R Rahman          and   JT Foster          A molecular dynamics based                     investigation     of    thermally       vibrating     graphene

          under   different     boundary conditions           Physica      E Low dimensional Systems and Nanostructures 7225
          47 August 2015 doi                 10     1016j      physe        2015          04 007


     19   R Rahman          and   JT Foster            Peridynamic theory           of    solids from the           perspective        of   classical     statistical


          mechanics         PhysicaA         437162183         November           2015         doi     10 1016j             physa           2015     05     099

     20   R Rahman         and    JT Foster Onto            resolving   spurious          wave       reflection     problem with changing               nonlocality

          among        various length       scales    Communications          in   Nonlinear          Science       and Numerical Simulation                 3486
          122 2016 doi            10 1016j             cnsns       2015      10     003


     21   JT Foster           A variationally consistent           approach        to   constrained        motion       ASME           J AppL Mech             835
          May 2016 doi            10 11151 4032856

     22 JT OGrady and JT Foster                        A meshfree method                for    bending     and    failure   in    non ordinary peridynamic

          shells Computational              Mechanics      576921929               June 2016 do i                10 1007s00466 0161269 z


BOOKS EDITED
In press




     1    F Bobaru        JT Foster P Guebelle               and   SA      Silling       editors      The Handbook           of Peridynamics              Chapman
          and HallCRC Publication                 date November         112016



BOOK CHAPTERS

In press




      1   JT Foster         The Handbook             of Peridynamics       chapter            Constitutive Modeling          in   Peridynamics            Chapman
          and HallCRC Publication                 date November         112016




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CONFERENCE PROCEEDINGS
     1    JT Foster AA Barhorst                         CN Wong and MT Bement                             Modeling        and Experimental               Verification       of


          Frictional        Contact    Impact      in   Loose     Bolted   Joint Elastic       Structures          In   Proceedings of IDETC05                      number

          DETC200585465                     IDETC 2005


     2    JG Averett JD Cargile JT Foster and VK Luk                                         Projectile        Deceleration          Due   to    Perforation        Through

          Layers       of   Unreinforced       Concrete         Targets     In   Limited      Proceedings of 76th Shock                      and Vibration           Confer

          ence number U045                   SAVIAC 2006


     3    JG Averett JD Cargile JT Foster and VK Luk Oblique Perforation                                                     of      Unreinforced        Concrete       Tar

          gets     Experiments and Numerical                      Simulations          In   Limited       Proceedings           of    77th      Shock      and Vibration

          Conference 2007


     4    DA Dederman D Burnett JT Foster and JA Dykes                                           In   Situ     Penetration        Testing       of   Darts   with    16 Inch

          Mobile    Gas Gun            In   Proceedings         of 24th    International      Symposium on Ballistics                      number TB149              2008


     5 JT Foster VK Luk and W Chen                                 Dynamic initiation         fracture       toughness       of   high strength          steel   alloys     In


          Proceedings of the Xlth International Congress and Exposition Orlando Florida Society                                                        for Experimental


          Mechanics           Inc volume       77 2008


     6 JT        Foster           SA   Silling     and       WW Chen         State     based     peridynamic             modeling of            dynamic fracture            In


          SEM 2009           Conference        on Experimental and Applied Mechanics                             number 33            SEM 2009

     7 JT        Foster           SA Ming and WW                   Chen      State     based     peridynamic             modeling of            dynamic fracture            In


          DYMAT 2009 9th International Conference                           on the Mechanical             and Physical Behaviour of Materials under

          Dynamic Loading               volume      2 pages 15291535 2009                      do i       10     1051dymat 2009216

     8 JT Foster W Chen and VK Luk                                 Dynamic fracture          initiation      toughness       of   high strength          steel   alloys     In


          DYMAT 2009 9th International Conference                           on the Mechanical             and Physical Behaviour of Materials under

          Dynamic Loading               volume      1 pages 407412               2009 do i            10 1051dymat2009058



     9 JT        Foster           DJ Frew MJ             Forrestal    EE Nishida and W Chen                             Shock     testing       accelerometers          with


          a   Hopkinson           pressure bar               Experimental and Applied Mechanics                         Volume        6 pages          229237         2011

          doi101007978146140222029

In   rank of Assistant Professor                   at UTSA



     10   JT Foster and EE Nishida                           A priori pulse shaper design             for    constant     strain rate           tests of     elastic brittle


          materials          In   V Chalivendra B Song                and    D Casem            editors        Dynamic Behavior of Materials                         Volume

          1 Conference             Proceedings          of   the Society   for   Experimental Mechanics                  Series       pages          379386         Springer

          New York 2013 do i                  10        1007978146144238 749

     11   JR York JT Foster EE                          Nishida     and    B Song           A novel    torsional        Kolksy       bar   for   constant strain rate

          materials testing            In   B Song D Casem and J Kimberly editors                               Dynamic Behavior of Materials                        Volume

          1 Conference             Proceedings          of   the Society   for   Experimental         Mechanics          Series       Springer         New York 2013

          doi101007978331900771736




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In   rank of Assistant Professor                   at UT Austin


     12   JT OGrady              and   JT       Foster           Peridynamic        beams and               plates    A non ordinary state based                        model

          In    ASME 2014          International          Mechanical          Engineering Congress and Exposition                           number IMECE2014

          39887 2014             doi   10 1115IMECE2014                          39887


     13   H     Ouchi     A Katiyar JT              Foster           and   MM Sharma                   A    Peridynamics        Model    for    the   Propagation             of



          Hydraulic       Fractures       in    Heterogeneous                Naturally      Fractured         Reservoirs        In     SPE Hydraulic Fracturing
          Technology        Conference             number           SPE173361MS                  Society      of    Petroleum        Engineers        February           2015
          doi    102118173361 MS

     14   EA Lynd JT Foster and IP Nguyen An application                                             of    the Isogeometric Analysis            Method           to   reservoir

          simulation        In    78th    EAGE Conference                  and Exhibition            number SPE180110MS                     Society         of    Petroleum


          Engineers 2016               doi     102118180110 MS

TECHNICAL REPORTS

     1    JT Foster Scale Modeling                       of   Earth    Penetrators         for In    Situ   Targets    Technical       Report    SAND20064273
          Sandia       National    Laboratories               2006


     2 JA        Dykes      and    JT Foster              DiscreteULL           1C     Final        Test    Report     Technical       Report    SAND20074273
          Sandia       National    Laboratories               2007


     3 JT        Foster     and    AJ Webb                Penetration         Simulations           for    Angle of Attack      AoA       Experiments                 into   Low

          Strength      Concrete       Targets       SAN D20075256                 Sandia National              Laboratories         2007


     4 RJ        Fogler     JW         Giron      JA Jacob WP                  Wolfe        RW       Greene         RD Tucker AE Fortier JT Foster
          DM Van Zuiden WT                       ORourke              HD      Nguyen         E      011ila    and     JR     Phelan       Guided        miniature            air

          deliverable      sensor dart Technical                    Report    SAND20076528                   Sandia    National      Laboratories           2007


     5 RD Coleman                  RA Bates MT                      Buttram     SB         Dron      JT      Foster     RJ      Franco      CO Landron GM
          Loubriel      JE Lucero A Mar TL                          Martinez     FE         Reyes and          BJ Welch          Void    Sensor       for   Penetrators

          Technical      Report        SAND20076528                  Sandia National           Laboratories           2007


     6 JT Foster AJ Webb AE Fortier VK Luk and DA Dederman                                                            Penetration       Code Study          for       Angle of

          Obliquity      Ao0 Experiments                  into      High Strength          Concrete         Targets    Technical       Report    SAND20081162

          Sandia       National    Laboratories               2008


     7 JT        Foster     AE Fortier JG Averett JD Cargile VK Luk and DA Dederman                                                         Predictive           Simulation

          for   Perforation       Through        Layers        of   Unreinforced           Concrete         Targets     Technical       Report    SAND2008113
          Sandia       National    Laboratories               2008


     8    EE Nishida JT Foster EW Klamerus and D Burnett Dynamic behavior                                                         of   shock isolation mitigation

          materials by kolsky            bar    experiments            Technical      Report         SAND20118266               Sandia National         Laboratories

          2011


     9 JV Cox GW Wellman                     JM Emery JT Ostien JT Foster TE Cordova TB Crenshaw A Mota JE
          Bishop       SA    Silling      DJ Littlewood JW Foulk KJ Dowding K Dion BL Boyce JH Robbins and
                                                                                     III



          BW Spencer Ductile                   Failure    X prize       Technical      Report        SAND20116801               Sandia National         Laboratories

          2012 doi         1021721029764



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Department         of   Petroleum           and Geosystems Engineering




In   rank of Assistant Professor                               at UT Austin



     10   Peridynamics Capabilities                             Review       Panel          Peridynamics         capabilities   review    panel      report    SAND          Report

          20151921            Sandia            National             Laboratories           Albuquerque          NM and Livermore CA 2015


TECHNICAL PRESENTATIONS

Invited   Talks



     1    Peridynamic              modeling               of    viscoplasticity            and dynamic fracture            University     of    New Mexico        Mechanical


          Engineering              February 2010



     2    Peridynamic               modeling              of    viscoplasticity             and dynamic fracture            University         of   Nebraska      Engineering

          Mechanics               April   2010


In   rank of Assistant Professor                               at UTSA



     3    Unifying      the        mechanics              of    continuous           and discontinuous media 2011                  International       Workshop         on Inten

          sive Loading             and    its   Effects              State   Key Laboratory of Explosion                 Science   and Technology             Beijing    Institute


          of    Technology           Beijing China                     December 2011



     4    Hydraulic          fracturing              and       its    environmental            impact       a   short address      of   major public      concerns             Pre

          sentation      for       the Center              for       Simulation            Visualization        and   Real Time    Prediction        participation      in   UTSA

          Earthweek          2012          April 2012




     5    Unifying       the       mechanics               of        continuous        and discontinuous media                  Texas    Tech       University    Mechanical


          Engineering              April   2012


     6    Unifying      the        mechanics              of    continuous           and discontinuous media The Johns Hopkins                           University          Center

          for   Advanced           Ceramics and                      Metallic   Systems          July 2012



     7    Unifying       the       mechanics               of   continuous           and discontinuous media Army Research                           Laboratory         February

          2013


     8    Peridynamics               as a       unified          theory      for    heterogenous           media      anomalous porous flow and fracture                       The

          University         of   Texas         at   Austin           Department of Petroleum                      Geosystems Engineering              October      2013


     9    Nonlocal       multiphysics                 for       heterogeneous                materials      anomalous diffusion          and fracture           Northwestern


          University         Department               of       Mechanical           Engineering           January 2014


     10   Nonlocal       multiphysics                 for       heterogeneous                materials      anomalous diffusion          and fracture         The    University

          of    Texas   at   Austin         Department of Petroleum                              Geosystems Engineering                 March 2014


     11   A model        for       nonlocal           diffusion          and       fluid   driven       fracture      USACMIUTAM          Symposium on Connecting

          Multiscale         Mechanics               to   Complex Material                   Design       Northwestern     University      May 2014


     12   Nonlocal           multiphysics             for       heterogeneous                materials      anomalous diffusion          and fracture           ExxonMobil

          Corporate Strategic                   Research                July 2014




                                                                                                    6
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Department          of   Petroleum       and Geosystems Engineering




In   rank of Assistant Professor                       at UT Austin



     13   Nonlocal            multiphysics       for     heterogeneous               materials         anomalous diffusion                 and fracture        Center for        Me
          chanics        of   Solids    Structures         and Materials               The University           of    Texas     at   Austin    Department of Aerospace

          Engineering           and Engineering                Mechanics             September 2014


     14   Nonlocal            multiphysics       for     heterogeneous                materials         anomalous diffusion                  and fracture         University      of


          IIlinos        Urbana Champaign Department of Aerospace                                             Engineering September 2014


     15   Nonlocal            multiphysics       for      heterogeneous                materials           anomalous diffusion                and    fracture        Institute   for



          Computational              Engineering          Science The University                      of     Texas    at   Austin     October        2014


     16   Nonlocal            multiphysics         for    heterogeneous                 materials            anomalous diffusion               and        fracture     Graduate

          Aerospace            Laboratories           California          Institute    of    Technology          January 2015


     17   Nonlocal            multiphysics       for     heterogeneous                materials         anomalous diffusion                  and fracture         Total    March

          2015


     18   A multiphysics model                  for    hydraulic          fracture     simulation             Eighth       International      Workshop        Meshfree      Meth

          ods   for      Partial    Differential       Equations              Universitat          Bonn September 2015


     19   Isogeometric             peridynamics                 USACM           Thematic Workshop                    on Nonlocal        Models       in   Mathematics       Com
          putation         Science and Engineering                         Oak       Ridge     National        Laboratory October              2015


     20   Nonlocal            models     for   anamalous transport Schlumberger                                      EUREKA          Fluid    Mecahnics       Mini Workshop


          SchlumbergerDoll                Research             Center July 2016




Conferences


     1    Viscoplasticity            using     peridynamics                    with     SA         Silling    and    W Chen 10th US National                      Congress on

          Computational             Mechanics            July 2009



In   rank of Assistant Professor                       at UTSA



     2    Peridynamic              Modeling      of      Localization           in   Ductile       Metals       with       DJ Littewood         and       BL Boyce        Interna

          tional    Workshop          on Computational Mechanics                             of    Materials     IWCMM          XXII September 2012



     3    Implicit time            integration     of     an    ordinary state          based         peridynamic            plasticity      model    with   isotropic    harden

          ing with            DJ Littlewood JA Mitchell ML Parks                                           SiViRT     Simulation        and Vizualization Symposium

          November            2012


     4    Implicit time            integration     of     an    ordinary state          based         peridynamic            plasticity      model    with   isotropic    harden

          ing with DJ               Littlewood         JA Mitchell ML Parks ASME                                 IMECE 2012 November                       2012


     5    A Peridynamics Formulation                           of   the   Coupled       Mechanics            Fluid     Flow Problem with                  A Katiyar H Ouchi
          MM Sharma USACM Workshop on Nonlocal Damage and Failure Peridynamics and other nonlocal
          methods             March 2013


     6    Lessons             Learned    in
                                               Modeling             Ductile    Failure with         Peridynamics              with    DJ Littlewood            USACM Work

          shop on Nonlocal              Damage           and Failure Peridynamics and other nonlocal                                    methods           March 2013



                                                                                               7
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Department         of   Petroleum        and Geosystems Engineering




     7    A Peridynamics Based Hierarchical                        Multiscale          Modeling           Framework            Between         Continuum and Atomistic

          Scales         with      R Rahman A Hague USACM Workshop                                        on Nonlocal            Damage and Failure Peridynam
          ics   and other nonlocal            methods          March     2013


     8 Two Dimensional                   Semi Analytic         Solutions to the Linearized                     State Based         Peridynamic Equilibrium             Equa
          tion with           JT OGrady USACM                    Workshop          on Nonlocal                Damage and          Failure       Peridynamics       and other

          nonlocal       methods         March 2013



     9    A novel hierarchical               multiscale modeling framework                         for   polyethylene           systems using         Peridynamics      and

          molecular dynamics                  with     R Rahman 2013 Mach Conference                                        Annapolis         MD April 2013

     10   A non local formulation        flow and mass transport
                                                for fluid         porous media based on peridynamic theory
                                                                                                         in




          with A  Katiyar and M   Sharma   12th US National Congress on Computational Mechanics July 2013



     11   Regularizing             numerical simulations            of   strain localization                  using    a    peridynamicsbased           plasticity   formu

          lation        with       Mdl Kahn DJ Littlewood                    and       JA Mitchell               International          Workshop      on Computational

          Mechanics           of   Materials    IWCMM          XXIII     October        2013



     12   Bridging        the      length    scales     by    linking    the     atomistic         model with coarser peridynamic                       models through

          molecular dynamics simulation of                      Polyethylene                with   R Rahman Mach Conference                            2014    April   2014


     13   A nonlocal poroelastic approach       driven  fracture   with JR York A Katiyar H Ouchi
                                                                   to    fluid


          M Sharma US National Congress on Theoretical and Applied Mechanics June 2014

     14   Reproducing              Continuum         Dynamics            with      M Bessa WK                     Liu        T Belytschko           World   Congress on

          Computational Mechanics                    2014      July 2014



     15   A nonlocal poroelastic approach      driven fracture  with JR York A Katiyar H Ouchi
                                                                   to    fluid


          M Sharma World Congress on Computational Mechanics XI July 2014

In   rank of Assistant Professor                    at UT Austin



     16   An Overview              of   the Progress      of   Meshfree          Particle        Methods          From SPH             to    EFG to RKPM      to   Meshfree

          Peridynamics              with WK Liu M Bessa                          Meshfree          Methods            for    Large Scale        Computational       Science

          and Engineering               October      2014


     17   Fracture       in    plates and shells with peridynamic                      non ordinary state based                    models Meshfree            Methods    for


          Large Scale          Computational Science               and Engineering October 2014


     18   An Ordinary State                 Based     Plasticity   Model         For   Peridynamics                   with    JA Mitchell ASME              2014    Interna

          tional   Mechanical           Engineering          Congress and Exposition                      November            2014


     19   Regularizing             numerical simulations            of    shear banding              using        a    peridynamicsbased              plasticity    formula

          tion     with MdIH Kahn ASME                          2014     International            Mechanical           Engineering            Congress and Exposition

          November        2014


     20   Mesoscale            Simulations Investigating            the     Effects         of   Shock Wave            Stability   in       Granular Materials with Peri


          dynamics             with R Rahman A Peterson                           T Vogler               13th    US         National    Congress on Computational

          Mechanics            July 2015




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Department     of   Petroleum           and Geosystems Engineering




  21   Bending       Failure       in   Peridynamic            Plates         with       J OGrady ASME                           2015    International     Mechanical         Engi

       neering      Congress and Exposition                      November               2015


  22   A peridynamic model                  for    hydraulic         fracture            with           H Ouchi JR                York     MM Sharma               Engineering

       Mechanics          Institute      Conference           2016 May 2016


  23   A peridynamic model                  for    hydraulic         fracture           with          H   Ouchi        JR York MD                 Brothers     MM Sharma
       SIAM Annual Conference                      July 2016



  24   A model       for    the transport          of   miscible          fluids   in    the         presence        of    anomalous diffusion             Keynote with            R
       Tabasi World              Congress on Computational Mechanics                                      XII July 2016



  25   A    variationally        consistent        approach          to     constrained               motion 24th            International        Congress on Theoretical

       and Applied         Mechanics          August          2016



Student     Delivered



   1   Intragranular         fracture       and     frictional       effects       in
                                                                                         granular materials                  under       pressure shear        loading           with

       AM Peterson and TJ Vogler 18th Biennial                                      Intl         Conference           of   the   APS     Topical    Group on Shock           Com
       pression      of    Condensed          Matter          held     in
                                                                            conjunction                with    the    24th   Biennial      Intl     Conference        of   the    Intl


       Association         for   the    Advancement            of    High Pressure                    Science        and Technology            AIRAPT        July 2013



   2   A complex step method tangent stiffness calculation
                                                  for      a massively     computational peridy                 in
                                                                                                                                         parallel


       namics code with MD Brothers and HR Millwater 12th US National Congress on Computational

       Mechanics           July 2013



   3   A peridynamic model                 of diffusive        fluid    flow through                 a deformable          media        with    JR York        2013    SACNAS
       National     Conference             October       2013


   4 The       Next Generation             Model        for   Predicting        the      Growth           of   Complex Fracture                Networks      with     JR York
       2014    Hydraulic Fracturing               and Sand Control Joint Industry Program Technical                                               Review   April    2014


   5   Peridynamic          beams          plates       and shells a non ordinary state based                                     model         with     J OGrady          Society

       of   Engineering Science              2014 October 2014


   6   Peridynamic           beams         plates       and shells a non ordinary state based                                      model          with   J OGrady ASME

       2014    International            Mechanical       Engineering            Congress and Exposition                            November         2014


   7   A Peridynamic Model                 for    Hydraulic          Fracture with                    H Ouichi A Katiyar M Sharma                          13th    US National

       Congress on Computational Mechanics                                   July 2015



   8 Mesh Free Non ordinary                        Peridynamic               Bending                  with J         OGrady             13th   US   National      Congress on

       Computational             Mechanics          July 2015



   9   Modeling       of    Contact        and Non Local                Friction        in       a   Peridynamic           Framework            with     JR York           13th   US

       National     Congress on Computational Mechanics                                              July 2015




                                                                                             9
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Department      of     Petroleum        and Geosystems Engineering




Poster



     1   Intragranular           fracture    and    frictional    effects    in
                                                                                  granular materials               under     pressure shear          loading         with

         AM Peterson and TJ Vogler 18th Biennial                              Intl      Conference          of   the   APS   Topical     Group on Shock          Com
         pression      of   Condensed         Matter       held    in
                                                                        conjunction           with   the    24th   Biennial      Intl    Conference       of   the    Intl


         Association        for   the   Advancement         of    High Pressure           Science          and Technology         AIRAPT          July 2013



     2   A Peridynamic Model                 for   Hydraulic      Fracture         with        JR York USACM                 Thematic      Workshop       on Nonlo

         cal   Models       in   Mathematics            Computation         Science           and    Engineering           Oak    Ridge    National      Laboratory

         October       2015



SOFTWARE
     Core developer         for    Peridigm open         source     peridynamics software


         Website       httpperidigmsandiagov


         Source      Code httpgithubcomperidigmperidigm


     Various   other projects           developed        and contributed          to



         Source      Codes httpgithubcomjohntfoster



BLOC

     Contains     various         useful    code    snippets       examples             and     resources        primarly     targeted     to   assist   in    students


     working    under my supervision and other researchers                               in   scientific    computation


         Website       httpjohntfostergithubio




GRANT PROPOSALS

Externally Funded                Pl Total    $24M         co PI Total       $103M

In   rank of Assistant Professor                   at UTSA



     1   Sandia X Prize Necking               Challenge           Sandia    National          Laboratories         2012      PI $44700



     2   Peridynamic Simulation               of    Granular Materials            Undergoing           Shock       Compression           Sandia National         Labo

         ratories      2012       PI $32597



     3   Statistical    coarse graining            of   molecular       dynamics         into    peridynamics           Subaward from Army Reasearch

         Laboratories Materials in             Extreme Dynamic Environments Cooperative                                  Research        Agreement        The Johns

         Hopkins       University 2012             PI $91925



     4   Fracture      Design        Placement          And Sequencing             In    Horizontal        Wells       National     Energy      Technology       Labo

         ratory   20122016              DEFOA0000724               co PI    w M Sharma UT Austin                         Total    Award         $1592451         Foster

         Award $275250


     5   Peridynamic simulation of pressure shear experiments                                   on granular media             Sandia      National    Laboratories

         2013     PI   $29071




                                                                                   10
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Department         of   Petroleum           and Geosystems Engineering




     6    Towards        a multiscale failure modeling paradigm for                              polymers    statistical    coarse graining         of    molecular dy

          namics into peridynamics                     Subaward from Army Reasearch                         Laboratories Materials in              Extreme Dynamic

          Environments Cooperative                     Research          Agreement           The Johns Hopkins             University      2013     PI $91925



     7    Predictive          simulation of material failure using                     peridynamicsadvanced                constitutive    modeling         verification


          and validation             Air    Force     FY2013      Young Investigator              Program     BAAAFOSR20120001                          AFOSR 2013
          2015     PI    $360000


     8 MURI         Center          for    Material    Failure        Prediction       Through      Peridynamics           Air   Force    Office    of   Scientific        Re
          search        20132018              ONRBAA12020                  co   PI   w E Madenci Arizona F Bobaru Nebraska N Chawla
          Arizona State Q Du Columbia                                 Total   Award     $7500000            Foster Award           $959153

     9    Fiber failure modeling with                  peridynamics             Subaward from Army Reasearch                       Laboratories Materials             in   Ex
          treme Dynamic               Environments Cooperative                     Research        Agreement        The Johns Hopkins               University        2014

          PI $101306


In   rank of Assistant Professor                      at UT Austin


     10   Nonlocal       and fractional          order methods            for   near wall turbulence          large eddy simulation               and fluidstructure

          interaction          Army Research            Office         20152018          ONRFOA14012              PI $345000



     11   Pulse    Fracture          Simulation        GE Global           Research 2016             PI   $100000



Internally   Funded


     1    Application          of   Peridynamics         to    Hydraulic Fracture                Modeling    The University          of   Texas    at    San Antonio

          Office   of    the Vice          President for       Research         2012        PI   $18927



Pending


     1    CAREER A nonlocal                     approach        to fluid      driven    fracture    with    applications      in   energy production          and envi

          ronmental           assessment            National     Science        Foundation 20162020                 Requested         $500000


COURSES TAUGHT

     PGE 334            Reservoir Geomechanics                        UT S2015
     PGE 383            Advanced           Geomechanics               UT F2014         F2015

     PGE 323M            Reservoir           Engineering        III    UT F2015

     Introduction        to    High Performance               Computing         UTSA F2012 F2013 S2014

     ME 6043 Continuum Mechanics                              UTSA F2012 F2014

     ME 4603            Finite      Element Analysis            UTSA F2011

     ME 400500                Numerical         Methods        UNM F2010

ADVISING            AND RELATED STUDENT SERVICES

Graduate Students               Graduated

PhD


      1 James OGrady                      PhDME 2014 UTSA                       now    at   Army Research        Lab


                                                                                        11
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Department       of   Petroleum   and Geosystems Engineering




MS

     1   Amanda Peterson           MSME 2014 UTSA

     2 Md       Imran    Khan     MSME 2014 UTSA

     3   Michael      Brothers    MSME 2013 UTSA

     4   Jason    York    MSME 2012 UTSA

     5   Arron    Werthiem       MSME 2012 UTSA

Graduate Students          In Progress


PhD      Passed qualifying examination


     1   Jason    York    UTPGE

     2   Mingyaun        Yang   UTPGE     co advised      with   QNguyen


     3   Yu Leng      UTPGE

PhD


     1   Michael      Brothers    UT EM

     2   Eric   Lynd     UTPGE       co advised   with   QNguyen


     3 Rambod          Yousefzadeh     Tabasi   UT EM

     4   Masoud       Behzadinasab      UT EM


MS

     1   Sai    Uppati   UTPGE

     2   Xiao    Xu   UTPGE

Postdoctoral      Researchers Supervised


     1   James OGrady            PhD UT

     2   Rezwanur        Rahman PhD        UTSAUT

     3 Shamima Yasmin PhD UTSA




                                                                    12
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Department         of   Petroleum       and Geosystems Engineering




Undergraduate            Research       Assistants



     1   P   Eric   Briseno       BSME 2013

     2   Robert         Knobles    BSME 2014 Baker Hughes

     3   Robert         Brothers



     4   Jason      Crandall



     5 Sam Petzold             Moncrief      Summer Intern



Graduate Commitee Member


Hisanao      Ouchi       PhD PGE Yongcun Feng PhD PGE 2016
Sarah    Boukris        PhD BME           Daniel   Sparkman      PhD ME 2014
Khaled    Mahmud               MSME 2013
                           Saurav       Kumar

Miguel Cortina Carlos Acosta David Wagner MSME 2012




External Commitee            Member


Md   Essack University             of   Cape Town      South Africa 2014




Undergraduate            Research       Assistants



     1   P   Eric   Briseno       BSME 2013

     2   Robert         Knobles    BSME 2014 Baker Hughes

     3   Robert         Brothers



     4   Jason      Crandall




ACADEMIC RELATED PROFESSIONAL AND PUBLIC SERVICE

ConferencesWorkshops                    Organized


     1   US National        Congress on Computational Mechanics                 15


              Conference           Chair


              To    be held in Austin        TX July 28 August 1 2019

     2   Workshop          on Isogeometric Analysis and Meshfree               Methods


              Sponsered        by the     US Association       for   Computational   Mechanics


              To    be held at UCSD October             1012 2016

              httpigamfusacmorg


     3   Workshop          on Meshfree       Methods    for   Computational    Science   and Engineering


              Sponsered        by the     US Association       for   Computational   Mechanics




                                                                          13
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Department      of   Petroleum         and Geosystems Engineering




              Held   at    UCF October 2728                2014


              httpmmIcse2014usacmorg


   4    Workshop          on Nonlocal          Damage      and Failure         Peridynamics      and other nonlocal    models


              Sponsered          by the    US Association         for   Computational       Mechanics


              Held   at    UTSA Downtown             Campus March 1112 2013

              httpndf2013usacmorg



Mini symposia Organized



    1   Modeling      of       Material    Failure   Using    Approaches          Beyond    Locality     A Celebration of Dr      Stewart    SiIlings


        60th    Birthday         To   be held ASME         IMECE2016


   2    Advances          in   Galerkin and Collocation           Meshfree        Methods    WCCM        2016


   3    Corrosion         Damage          and Stress Corrosion Cracking                  Experiments     Modeling     and Computations        ASME
        IMECE2015


   4    Advances          in    nonlocalperidynamic           modeling         Symposia     in   honor   of   Dr Stewart   Sillings   55th   birthday

        ASME IMECE2012

   5    Multiscale        methods and nonlocal             theories      for   complex    material behavior      USACM USNCCM12

   6    Multiscale        Modeling        of   Dynamic Material         Behavior     SEM Annual        Conference   2014


   7    Multiscale        Modeling        of   Dynamic Material         Behavior     SEM Annual        Conference     2013


   8    Multiscale        Modeling        of   Dynamic Material         Behavior     SEM Annual        Conference   2012


ADMINISTRATIVE                     AND COMMITTEE                        SERVICE

Committee Assignments


Department


   PGE Undergraduate                  Studies 20152016


   PGE Graduate                Admissions Committee 20152016


   PGE Department Awards Committee 20142016

   Graduate      Committee 20132014                   UTSA

   Faculty     Search          Committee 20132014             UTSA

   Department Promotional Activities                    20122013         UTSA

   Seminar 20112012                   UTSA


University



   Cockrell    School          Engineering        Honors   20152016

   Undergraduate               Research        Day Planning   Committee 20132014                 UTSA


                                                                                14
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Department             of       Petroleum        and Geosystems Engineering




Student Organization Advisor



     Programming for Engineers                              Scientists 2016


     Tau Beta           Pi      20132014          UTSA

     Formula SAE Car Team 20132014                                 UTSA

REVIEWER FOR

Journals



     Computational                    Geosciences           Journal    of     Applied         Mechanics           Computational           Methods         in
                                                                                                                                                               Applied       Mechanics

     and        Engineering                Journal   of     Computational             Particle           Mechanics       Journal      of    Microelectromechanical                      Sys

     tems Computational Mechanics                                Int   Journal of             Fracture Applied           Mathematics              Computation               Int    Journal

     of    Impact          Engineering            Engineering Fracture                Mechanics             Experimental        Mechanics               Review        of   Scientific     In

     struments               Int      Journal of Multiscale        Computational                 Engineering         Int   Journal of Solids and Structures                         CMC
     Computers                  Materials          Continua       Journal of           Mechanics           of   Materials and Structures




Books


     Split      Hopkinson              Kolsky Bar           W Chen and B Song Springer 2010

Book Proposals


     CRC Press


ORGANIZATIONS

     Society          of     Petroleum           Engineers       US Association                for    Computational          Mechanics            Pi    Tau     Sigma            Mechani

     cal       Engineering              Honor     Fraternity      Tau Beta          Pi        National      Engineering        Honor        Society        American Society               of


     Mechanical                 Engineers         American        Institute      of    Aeronautics           and Astronautics               Society       for   Experimental             Me
     chanics               Dynamic           Behavior     of   Materials Technical               Division       Committee Member DYMAT                           American Society

     for   Engineering Education




VITA

John       T    Foster is             an assistant professor             in   the   Departments              of   Petroleum      and Geosystems Engineering and

Aerospace             Engineering             and Engineering Mechanics                        by courtesy          at   the University           of    Texas    at   Austin        He re

ceived         his    BS and MS in mechanical                    engineering from                 Texas Tech        University       and PhD from Purdue                     University

He   is    a    registered             Professional Engineer              in   the       State      of   Texas      During    his     career       in   research           he has been

involved         in    many           projects    ranging      from    full    scale      projectile       penetration       field    tests       to    laboratory experiments

using      Kolsky       bars          to   modeling and simulation efforts using                          some of the worlds              largest computers                His research

interests        are       in   experimental         and computational mechanics                           and    multi scale        modeling with              applications        to   ge
omechanics                 impact          mechanics fracture          mechanics and anamolous transport processes                                             Additionally        he    has

interest        in    fundamental             theoretical      advancement               of   the     peridynamic        theory      of   solid   mechanics                His    teaching

interests        are    in      all   areas   of theoretical      and computational mechanics



                                                                  Last    updated         20160912           at   182259




                                                                                                 15
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                                      Statistical                Summary for In Rank
                                                 John           T Foster PhD PE
                                                      Metric                                      Value
 Peerreviewed journal publications                 in rank and total                              19        22

 Peerreviewed conference           proceedings        in rank and total                           5 I 14

Number      ofjournal papers in rank with              UT UTSA students as coauthors               3    4
Total   citations   of all publications          careerfrom IS Web of Knowledge                        124

h index career from IS Web of Knowledge

Total   citations   of all publications          careerfrom Google Scholar                         261

 h index   careerfrom       Google Scholar
Total   external    research funding        raised                                               $1029M
Total   external    research funding        raised    candidates            share                 $24M
Total   number of external grantscontracts                     awarded                                 11


Number      of external grantscontracts            awarded        as   PI




 PhD students completed                                                                            1    1
 MS students completed                                                                             5    5
 PhD students in pipeline       as of 092016               t                                       6    5
 MS students in pipeline       as of 092016            t                                           2    2
Number of courses taught
Total      of students taught   in    organized courses                                            363

Average     instructor   evaluation        for   UG courses                                            39
Average     instructor   evaluation        for Grad   courses                                          45
Average     course evaluation        for   UG courses                                                  38
Average     course evaluation        for Grad      courses                                             43
Teaching     awards



 Student organizations      advised

Undergraduate        researchers     supervised

 Service   on journal editorial boards
Number      of symposia organized                                                                      10




Provide     a printoutscreen           shot of the first page of the report from both ISI Web of Knowledge       and
    Google Scholar




 Count a student as 10          if   sole supervisor             and     05 if co supervised
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            Complete reverse chronolnical               list       of publications and schola Ill         creative       works

                                                 John    T Foster PhD PE


Title   of Dissertation           Dynamic Fracture        Initiation          Toughness         Experiments and          Peridynamic

Modeling
Dissertation Advisor                Weinon2      Chen    Purdue             University




Section     1 Works       published   or in an equivalent status in press accepted                    or under contract       while in

current rank at UT Austin



Journal Articles


JT OGrady and JT Foster A meshfree method for bending and failure in non ordinary peridynamic
shells Computational Mechanics 576921929 June 2016 doi101007s004660161269z
          Coauthors            James OGrady PhD student                at   UTSA when     work was performed postdoctoral
          researcher      at   UT Austin when paper was submitted
          Qualitative      statement of contribution           I   designed      the research   and was the sole PI on the

          project that funded       the   work   The first     author led the writing and research             while I provided

          supervision      as his   PhD advisor    I   heavily edited the paper before submission and wrote

          reviewer rebuttal statements



JT Foster A variationally consistent approach                      to   constrained motion       ASME J Appl Mech 835
May 2016 doi10111514032856

R Rahman and JT Foster Onto resolving spurious wave reflection problem with changing
nonlocalityamong various length scales Communications in Nonlinear                                Science   and Numerical

Simulation 3486122    2016 doi101016jcnsns201510 003
          Coauthors            Rezwanur Rahman      postdoctoral researcher              at   UT Austin
          Qualitative      statement of contribution           I   designed      the research   and was the sole PI on the

          project that funded       the   work   The first     author led the writing and research             while I provided

          supervision as his postdoctoral advisor                  I   heavily   edited the paper before submission and wrote

          reviewer rebuttal statements



R Rahman and JT Foster Peridynamic theory of solids from the perspective of classical statistical
mechanics PhysicaA               437162183 November 2015                      doi 101016jphysa201505099

R Rahman and JT Foster A molecular dynamics based investigation of thermally vibrating graphene
under different boundary conditions Physica E Low dimensional Systems and Nanostructures  7225
47 August 2015 doi101016jphyse2015 04007
          Coauthors            Rezwanur Rahman      postdoctoral researcher              at   UT Austin
          Qualitative      statement of contribution           I   designed      the research   along with the   first    author       The

          first   author led the writing and research              while I provided      supervision as his postdoctoral

          advisor     I   edited the paper before submission and wrote reviewer                     rebuttal   statements




                                                                                                                         Foster Page   1   of 9
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R Rahman and JT Foster A molecular dynamics based investigation of thermally vibrating graphene
under different boundary conditions Physica E Low dimensional Systems and Nanostructures  7225
47 August 2015 doi101016jphyse2015 04007
        Coauthors            Rezwanur Rahman           postdoctoral researcher            at   UT Austin
        Qualitative      statement of contribution              I   designed       the research    along with the      first    author      The

        first   author led the writing and research                 while I provided       supervision as his postdoctoral

        advisor     I   edited the paper before submission and wrote reviewer                             rebuttal   statements




H Ouchi A Katiyar JR York JT Foster and MM Sharma A                                            fully    coupled porous flow and

geomechanics       model for fluid driven cracks               a peridynamics          approach Computational             Mechanics

553561576           March 2015            doi101007s00466015                   11238
        Coauthors    Hisanao Ouchi PhD student at UT Austin Amit Katiyar postdoctoral researcher
        at   UT Austin Jason York PhD student at UT Austin Mukul Sharma professor at UT Austin
        Qualitative      statement of contribution              I   designed       the research    and was the co PI on the            project

        that    funded the work along with the last author                     I   worked on the theoretical developments                   in

        the paper with the        first   3 authors       I   edited the paper before submission and wrote reviewer

        rebuttal   statements



JT OGrady and JT Foster Peridynamic plates and flat shells A non ordinary state based model
International    Journal of Solids and Structures                51252645724579 2014
doi 101016j ij solstr2014 09003

        Coauthors            James OGrady PhD student                at   UTSA when        work was performed postdoctoral

        researcher      at   UT Austin when paper was under revision and accepted
        Qualitative      statement of contribution              I   designed       the research    and was the sole PI on the

        project that funded        the    work    I   drafted the paper along with the                 first   author while I provided

        supervision      as his   PhD advisor         I   heavily edited the paper before submission and wrote
        reviewer rebuttal statements



Conference       Proceedings


EA Lynd JT Foster and QP Nguyen An application of the Isogeometric Analysis Method                                                     to

reservoir    simulation In 78th       EAGE       Conference and Exhibition                number         SPE180110MS               Society of

Petroleum Engineers           2016 doi102118180110MS
        Coauthors            Eric Lynd     MSPhD student            at   UT Austin Quoc Nguyen associate                       professor of

        PGE at UT Austin
        Qualitative      statement of contribution              I   designed       the research    along with the third author              I


        drafted the paper along with the              first    author while I provided            supervision as his       PhD co advisor
        I   edited the paper before submission




                                                                                                                               Foster Page 2 of 9
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H Ouchi A Katiyar JT Foster and MM Sharma A Peridynamics Model                                                       for the   Propagation      of

Hydraulic Fractures in Heterogeneous                      Naturally Fractured Reservoirs                   In   SPE Hydraulic Fracturing
Technology Conference              number       SPE173361MS                       Society of Petroleum          Engineers February 2015
doi 102118173361             MS
          Coauthors         Hisanao Ouchi PhD student                      at     UT Austin Amit Katiyar postdcotural researcher
          at   UT Austin Mukul Sharma professor of PGE at UT Austin
          Qualitative       statement of contribution                 I   designed       the research     and am co PI on the project           that

          funded the work along with the last author                              I   worked on the theoretical developments               in the


          paper with the       first    3 authors         I   edited the paper before submission




JT OGrady and JT Foster Peridynamic beams and plates A non ordinary state based model In
ASME 2014 International Mechanical Engineering Congress and Exposition number IMECE2014
39887 2014 doi101115IMECE201439887
          Coauthors         James OGrady PhD student                        at    UTSA when           work was performed

          Qualitative       statement of contribution                 I   designed       the research     and was the sole PI on the

          project that funded           the   work    I   drafted the paper along with the                 first    author while I provided

          supervision as his PhD advisor                      I   edited the paper before submission



Books Edited


F Bobaru JT Foster P Guebelle                        and      SA Silling editors Handbook of Peridynamic Modeling
Chapman and       HallCRC              In Press

          Coeditors Florin Bobaru professor at the University of Nebraska                                          Phillipe    Guebelle    professor

          at University of Illinois            Stewart Silling research                  scientist at    Sandia National        Laboratories

          Qualitative       statement of contribution                 I   performed         editing   duties   equally with the other editors

          which included         inviting     authors         reviewing         chapters     and working with the publisher           to   complete
          the   book    I   wrote the preamble with the                   first    editor



Book Chapters


JT Foster Handbook of Peridynamic Modeling chapter                                        Constitutive    Modeling       in    Peridynamics
Chapman and       HallCRC              In Press




Section    2 Works published or in equivalent status while in current rank at other institutions                                           if
applicable



Journal Papers


JT OGrady and JT Foster Peridynamic beams A non ordinary state based model International
Journal of Solids and Structures                511831773183                          2014 doi 101016jijsolstr201405014
          Coauthors         James OGrady PhD student                        at    UTSA when           work was performed

          Qualitative       statement of contribution                 I   designed       the research     and was the sole PI on the

          project that funded           the   work    I   drafted the paper along with the                 first    author while I provided

          supervision as his PhD advisor                      I   heavily edited the paper before submission and wrote

          reviewer rebuttal statements




                                                                                                                                  Foster Page    3   of 9
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M Bessa JT         Foster   T Belytschko         and   WK Liu A            meshfree unification        Reproducing            kernel

peridynamics Computational              Mechanics        53612511264 2014 doi101007s004660130969x
        Coauthors      Miguel Bessa PhD student                    at Northwestern     Ted Belytschko         Professor emeritus at

        Northwestern        Wing Kam Liu professor at Northwestern
        Qualitative   statement of contribution                I   designed    the research    with the third and fourth authors

        and performed the theoretical work and drafted the paper with the                          first   author      I   edited the

        paper before submission and wrote reviewer                     rebuttal   statements




MD    Brothers     JT Foster and HR Millwater A comparison of different                             methods for calculating

tangent stiffness matrices in a massively              parallel     computational     peridynamics         code Computer

Methods   in Applied    Mechanics and Engineering 279247267                             September 2014

doi101016jcma2014 06034
        Coauthors      Michael     Brothers          MS student at UTSA Harry Millwater professor at UTSA
        Qualitative   statement of contribution                I   designed    the research    with the third author and was the

        sole advisor of the     first   author during the           work   I   drafted the paper with the      first       author and

        wrote reviewer      rebuttal     statements



R Rahman and JT Foster Bridging the length scales through nonlocal hierarchical multiscale
modeling scheme Computational                 Material   Science       92401415         September 2014
doi 10 1016j commatsci 2014 05 052

        Coauthors      Rezwanur Rahman                postdoctoral researcher         at   UTSA
        Qualitative   statement of contribution                I   designed    the research    and was the sole PI on the

        project that funded     the     work     I   drafted the paper with the        first   author and supervised the

        research as his postdoctoral           advisor     I   wrote reviewer rebuttal statements



R Rahman JT Foster and A Hague A multiscale modeling scheme based on peridynamic theory
International   Journal of Multiscale         Computational           Engineering 123223248                 2014
doi101615IntJMultCompEng2014007954
        Coauthors      Rezwanur Rahman                postdoctoral researcher         at   UTSA    Anwarul Hague               professor at

        University of Alabama

        Qualitative   statement of contribution                I   designed    the research    and was the sole PI on the

        project that funded     the     work     I   drafted the paper with the        first   author and supervised the

        research as his postdoctoral           advisor     I   wrote reviewer rebuttal statements



R Rahman and JT Foster Deformation                     mechanism of graphene               in amorphous     polyethylene          A
molecular dynamics based study Computational                        Material    Science     87232240 May 2014
doi 101016j commatsci201402023

        Coauthors      Rezwanur Rahman                postdoctoral researcher         at   UTSA
        Qualitative   statement of contribution                I   designed    the research    and was the sole PI on the

        project that funded     the     work The first         author led the writing while I supervised the research as

        his postdoctoral     advisor      I   heavily edited the paper before submission and wrote reviewer
        rebuttal   statements




                                                                                                                           Foster Page 4 of 9
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A Katiyar JT Foster H Ouchi and MM Sharma A peridynamic formulation of pressure driven
convective        fluid   transport in porous media Journal of Computational                             Physics 261209229               March

2014 doi101016jjcp201312039
          Coauthors             Hisanao Ouchi PhD student          UT Austin Amit Katiyar postdoctoral researcher
                                                                          at

          at   UT Austin Mukul                Sharma professor at UT Austin
          Qualitative          statement of contribution             I   designed       the research     and was the co PI on the                project

          that    funded the work along with the last author                        I   worked on the theoretical developments                      in

          the paper with the          first    authors     I   drafted the paper with the           first   author and wrote reviewer

          rebuttal    statements



EE Nishida JT Foster and PE Briseno Constant strain rate testing of a G10 laminate composite
through       optimized Kolsky bar pulse shaping techniques                             Journal of Composite          Materials       47232895
2903 2013 doi1011770021998312460263
          Coauthors             Erik Nishida research           scientist at Sandia         National      Laboratories       Eric Briseno

          undergraduate student               at   UTSA
          Qualitative          statement of contribution             I   designed       the research     and supervised the experimental
          work performed by the                first   author    I   developed      and coded an optimization routine used                        in the


          design of experiments along with the third author for whom                                 I   served as undergraduate research

          advisor         I   drafted the paper alone and wrote reviewer                    rebuttal     statements



R Rahman JT Foster and A Hague Molecular                                   dynamics simulation and characterization                      of

graphenecellulose              nanocomposites           The Journal of Physical Chemistry                   A 1172553445353                       2013
doi101021jp402814t
          Coauthors             Rezwanur Rahman            postdoctoral researcher             at   UTSA         Anwural Hague         the

          University of Alabama

          Qualitative          statement of contribution             I   co supervised       the research with the third author The

          first   author led the writing while I supervised the research as his postdoctoral advisor                                         I   heavily

                              paper before submission and wrote
          edited the                                            reviewer rebuttal statements



JT Foster Comments on the validity of test conditions in Kolsky bar experiments of elastic brittle
materials Experimental              Mechanics           52915591563              Brief Technical            Note 2012
doi101007s1134001295926


JT Foster DJ Frew MJ Forrestal EE Nishida and                                       W Chen Shock                testing   accelerometers with a

Hopkinson         pressure bar       International       Journal of Impact Engineering                   465661 August 2012
doi 101016j ij impeng 201202006

          Coauthors             Daniel   Frew owner of Dynamic Systems and Research Inc Michael                                       Forrestal

          research scientist at Sandia National                   Laboratories          retired Eric Nishida research                 scientist at

          Sandia National           Laboratories Weinong                 Chen professor at Purdue University
          Qualitative          statement of contribution             I   designed       the research     with the second and third author

          I   performed         and supervised experiments with the fourth author                           I   developed    a mathematical

          model for the design of experiments and drafted the paper with the third author                                         I   edited the

                before submission and wrote reviewer                           rebuttal    statements
          paper




JT Foster SA Silling and                  W Chen An             energy based failure criterion for use with peridynamic

states International            Journal of Multiscale           Computational           Engineering 96675688                   2011
doi101615IntJMultCompEng2011002407


                                                                                                                                 Foster Page 5 of 9
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          Coauthors           Stewart Silling research       scientist at           Sandia National    Laboratories       Weinong Chen

          professor at Purdue University

          Qualitative     statement of contribution              I       designed    the research   with the second and third author

          I   developed   a mathematical         failure theory           and implemented the computational               model for
          validation      I   drafted the paper alone and wrote reviewer                    rebuttal   statements



Conference        Proceedings


JR York JT Foster EE Nishida and B Song A novel torsional Kolksy bar for constant strain rate
materials testing In          B Song D Casem and J Kimberly editors Dynamic Behavior of Materials
Volume 1 Conference Proceedings of the Society for Experimental Mechanics                                        Series   Springer    New
York 2013 doi101007 978331900771736
          Coauthors           Jason   York MS student       at       UTSA      under my supervision          Eric Nishida research

          scientist at Sandia         National   Laboratories             Bo Song      research   scientist at   Sandia National

          Laboratories

          Qualitative     statement of contribution              I       designed    the research   with the third and fourth author

          I   performed and supervised experiments with the second author                              I   developed   a mathematical

          model for the design of experiments and drafted the paper with the third author                                   I   edited the

          paper before submission




JT Foster and EE Nishida A priori pulse shaper design for constant strain rate tests of elastic brittle
materials In      V Chalivendra B Song and D Casem editors Dynamic Behavior of Materials Volume
1 Conference Proceedings of the Society for Experimental                               Mechanics Series pages 379386 Springer

New York 2013 doi 101007978146144238749
          Coauthors           Erik Nishida research        scientist at Sandia           National   Laboratories

          Qualitative statement of contribution                  I       designed    the research   and supervised the experimental
          work performed by the second author                        I   developed     and coded an optimization routine used in

          the design of experiments              I   drafted the paper alone




Section       3 Works published or in equivalent status while in previous ranks at UT Austin if
applicable



Not applicable




                                                                                                                           Foster Page 6 of 9
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Section       4 Works published or in equivalent status while in previous ranks at other institutions if
applicable



Journal Papers


JT Foster        W Chen and VK Luk Dynamic                        crack    initiation    toughness       of 4340 steel at constant

loading rates Engineering               Fracture Mechanics        7861264               1276 2011
doi 101016j engfracmech201102019

          Coauthors            Weinong Chen professor at Purdue University                   VK Luk research                scientist at

          Sandia National             Laboratories

          Qualitative      statement of contribution          I   designed     the research       with the second and third author

          I   performed        all   the experiments and drafted the paper alone              I   wrote reviewer rebuttal

          statements



JT Foster SA Silling and                  WW Chen         Viscoplasticity       using peridynamics International                   Journal for

Numerical       Methods         in Engineering       811012421258             2010 doi101002nme2725
          Coauthors            Stewart Silling research      scientist at     Sandia National            Laboratories Weinong             Chen
          professor at Purdue University

          Qualitative      statement of contribution          I   designed     the research       with the second and third author

          I   developed        implemented the computational              plasticity model for validation             I   drafted the paper

          alone and wrote reviewer             rebuttal   statements




JT Foster AA Barhorst CN Wong                          and   MT Bement Modeling Loose                      Joints in Elastic


StructuresExperimental Results and Validation                       Journal of Vibration and Control                  154549565
2009 doi1011771077546307082908
          Coauthors            Alan Barhorst professor at Texas Tech University                    CN Wong postdoctoral
          researcher      at    Texas Tech University Matthew Bement research                        scientist at    Los Alamos
          National    Laboratory

          Qualitative      statement of contribution          I   designed     the research       with the second author              I


          performed       all    experiments     I   worked on the modeling and drafted the paper with the second
          author



Conference        Papers


JT Foster DJ Frew MJ Forrestal EE Nishida and                                 W Chen Shock               testing   accelerometers with a

Hopkinson        pressure bar Experimental            and Applied Mechanics              Volume 6 pages 229237 2011
doi 101007978146140222029

          Coauthors            Daniel    Frew owner of Dynamic Systems and Research Inc Michael                                  Forrestal

          research scientist at Sandia           National    Laboratories       retired Eric Nishida research                    scientist at

          Sandia National             Laboratories Weinong        Chen professor at Purdue University
          Qualitative      statement of contribution          I   designed     the research       with the second and third author

          I   performed and supervised experiments with the fourth author                            I   developed    a mathematical

          model for the design of experiments and drafted the paper with the third author                                    I   edited the

                   before submission
          paper




                                                                                                                            Foster Page 7 of 9
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JT Foster        W Chen and VK Luk Dynamic                    fracture     initiation   toughness    of high strength steel

alloys In      DYMAT 2009 9th International Conference on the Mechanical and Physical Behaviour of
Materials      under Dynamic       Loading volume       1 pages 407412 2009 doi101051dymat2009058
          Coauthors       Weinong Chen professor at Purdue University                       VK Luk research            scientist at

          Sandia National        Laboratories

          Qualitative     statement of contribution           I   designed   the research    with the second and third author

          I   performed   all   the experiments and drafted the paper alone



JT Foster SA Silling and             WW Chen           State      based peridynamic        modeling of dynamic fracture In
DYMAT 2009 9th International             Conference on the Mechanical                   and Physical Behaviour of Materials
under Dynamic        Loading volume       2 pages 15291535                 2009 doi101051dymat2009216
          Coauthors       Stewart Silling research        scientist at       Sandia National     Laboratories      Weinong Chen
          professor at Purdue University

          Qualitative     statement of contribution           I   designed   the research    with the second and third author

          I   developed   implemented the computational               plasticity   model for validation       I   drafted the paper

          alone


JT Foster SA Silling and             WW
                               Chen State based peridynamic modeling of dynamic fracture In
SEM 2009 Conference on Experimental and Applied Mechanics number 33 SEM 2009
          Coauthors       Stewart Silling research        scientist at       Sandia National     Laboratories      Weinong Chen
          professor at Purdue University

          Qualitative     statement of contribution           I   designed   the research    with the second and third author

          I   developed   implemented the computational               plasticity and failure     model for validation           I


          drafted the paper alone




JT Foster VK Luk and                W Chen Dynamic            initiation     fracture   toughness    of high strength steel

alloys In Proceedings of the XIth International                   Congress and Exposition Orlando Florida Society for

Experimental       Mechanics Inc volume 77 2008

          Coauthors       Weinong Chen professor at Purdue University                      VK Luk research             scientist at

          Sandia National        Laboratories

          Qualitative     statement of contribution           I   designed   the research    with the second and third author

          I   performed   all   the experiments and drafted the paper alone



DA Dederman D Burnett JT Foster and JA Dykes In                                  Situ   Penetration Testing of Darts with             16
Inch Mobile Gas       Gun In Proceedings        of 24th International           Symposium on Ballistics           number TB149

2008
          Coauthors       Douglas Dederman        Damon Burnett and James Dykes research                      scientists at         Sandia

          National    Laboratories

          Qualitative     statement of contribution           I   designed   the research    with all   authors    I    performed      all


          the experiments with the last author            I   edited the paper before submission



JG Averett JD Cargile JT Foster and VK Luk Oblique Perforation of Unreinforced                                            Concrete

Targets       Experiments and Numerical Simulations In Limited Proceedings of 77th Shock and Vibration

Conference        2007
          Coauthors       Jeffrey   Averett   and J Donald Cargile research                scientists at   US Army Engineer
          Research    and Development         Center   ERDC           Vincent     Luk     research   scientists at Sandia

          National    Laboratories



                                                                                                                       Foster Page 8 of 9
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        Qualitative    statement of contribution        I   designed    the research     with the second and last author

       and supervised the experiments performed by the first                 author      I   performed      computer
        predictions for comparisons to the experimental                results   I   drafted the paper with the        first   author

       and edited the paper before submission


JG Averett JD Cargile JT Foster and VK Luk Projectile Deceleration Due to Perforation
Through Layers of Unreinforced        Concrete Targets         In Limited Proceedings            of 76th    Shock and

Vibration Conference         number U045        SAVIAC 2006
        Coauthors       Jeffrey Averett    and J Donald Cargile research              scientists at   US Army Engineer
       Research    and Development         Center   ERDC        Vincent     Luk      research   scientists at Sandia

       National    Laboratories

        Qualitative    statement of contribution        I   designed    the research     with the second and last author

       and supervised the experiments performed by the first                 author      I   drafted the paper with the

        second author and edited the paper before submission



JT Foster AA Barhorst CN Wong                    and   MT Bement Modeling and Experimental Verification of
Frictional   Contact Impact     in Loose   Bolted Joint Elastic Structures            In Proceedings of IDETC05

number DETC200585465              IDETC 2005
        Coauthors       Alan Barhorst professor at Texas Tech University                     CN Wong postdoctoral
        researcher at Texas Tech University Matthew Bement research                          scientist at   Los Alamos
       National    Laboratory

        Qualitative    statement of contribution        I   designed    the research     with the second author           I


        performed     all   experiments    I   worked on the modeling and drafted the paper with the second

       author




                                                                                                                Foster Page 9 of 9
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Letter of   acceptance           for work            yet published         lost       however the below screenshot                           found           at

httpswwwcrcoresscomHandbookofPeridynamicModelingBobaruFosterGeubelle

Sillingpbook9781482230437                                used as proof of upcoming publication




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            A hr                 nfm111                  Trxtbooks          CRCnetBASE             Featured Authors




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                                                              Handbook                 of Peridynamic                   Modeling
             Stati   Nom         up   Roam
                                                              Florin   Bobaru John        T Foster Philippe           Geubelle        Stewart     A   Silting




    Handbook         of
                                                              November       11 2016                          by Chapman and HaftCRC
    Peridynamic
                                                                                             Forthcoinin

                                                              Reference       547 Pages        230    VW    Illustrations


    Modeling                                      IMM4        ISBN     9781482230437          CAT K22665
                                      Florin Bobarte

                                      John      t Fog         Series    Modern Mechanics and Mathematics
                               Mims NGaubelle
                                 Stewart




                                       tftfti




                                                              Features

                                                                O Presents contributions             from top researchers working               in   the   field




        Table of Contents                                       o Offers a clear        and quick     introduction     to   pendynamics         and shows advanced

                                                                     applications


                                                                o Provides     motivations         for nonlocal     modeling     and eliminates            common

                                                                     misconceptions


                                                                o Discusses      the    mathematics        arid    software   implementation           of peridynamics


                                                                o Covers peridynamic           models       of fracture     damage       and fragmentation


                                                                o Describes practical multiscale              and    multiphysics      models        of nonlocality



                                                              Summary
                                                              This    handbook        covers the    peridynamic       modeling       of failure   and damage

                                                              Peridynamics       is   a reformulation of          continuum    mechanics based on the integration                      of

                                                              interactions     rather than the        spatial differentiation         of displacements             The book

                                                              extends      the classical theory of         continuum     mechanics       to allow      unguided         modeling   of

                                                              crack    propagationfracture           in brittle    quasi brittle     and ductile       materials autonomous

                                                              transition    from continuous          damagefragmentation               to fracture         modeling      of


                                                              longrange      forces within a continuous              body and        multiscale      coupling      in   a consistent

                                                              mathematical       framework
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                                  PGE Budget Council Statement
                                                          For

                                                  John    T Foster

                        Teaching Contributions                            and Effectiveness



Portfolio

Dr John Foster taught the following courses                          at   the   University      of Texas at San Antonio
before joining    the Department           of Petroleum Engineering                      at   The University of Texas        at

Austin as an assistant professor



ME 4603 Finite Element Analysis undergraduate class
ME 49535013 High Performance Computing combined undergraduate and graduate
class

ME 6043 Continuum Mechanics graduate class

He also has taught       the following       courses      while he has been an assistant professor in the

Petroleum Engineering Department at                  UT

PGE 334 Reservoir Geomechanics                    undergraduate             class

PGE 323M Reservoir Engineering III undergraduate class
PGE 383 Advanced Geomechanics undergraduate class but majority of students                                                have

been graduate     students



Dr   Fosters      areas      of   teaching        have    mainly            concentrated          on      geomechanics     and

computational     methods for engineering application                           He has taught several           undergraduate

courses   with moderate to large enrollments during the period that he has been an assistant

professor     in our    department         The     enrollments            of graduate          students    in   his   Advanced
Geomechanics       PGE 383 course has been on par with other graduate                                       courses   taught in
the department



Comparative Ranking
Dr Fosters      summary of teaching               statistics    is    outlined      in    Table   1 In this table Total
represent the combined number of students                      and combined average                   course    evaluations for

the courses    taught   at   UT and UTSA


                             Table    1 Summary of Course Instructor Ratings
                                              Metric                                              Value

                                                                                                UT      Total

                  Total of students         taught    in organized              courses         198       363

                  Average instructor evaluation                 for       UG courses            39        41

                  Average            instructor      evaluation             for     Grad        46        45
                  courses

                  Average course evaluation               for   UG courses                      38        40
                  Average course evaluation               for Grad          courses             43        44
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Dr      Fosters         teaching            style     has     been      quite        different          than          other     professors              in      our

department            as he states in his teaching                    statement            he    is   a non traditional teacher                                 For

example in a course                  that       he taught       in   the Department of Mechanical                               Engineering                at    the

University of Texas                 at    San Antonio in highperformance                               computing he had posted                             all    of
the   lectures        and the course material                    on YouTube                in   a specific website                   for the          students

Then     for     the class          the     students       were required             to    watch       the videos before attending the

class    Also         he had prepared quizzes                        that    the     students          were required                  to    take      and        the

quizzes were automatically                       graded       in order for him to                monitor the students                       progress and
obtain feedback              from the students                  Then        the     students          would           attend        a computer             lab in

order to work on computer                            programming            assignments and seek the                            instructors             help as
needed instead of attending a regular lecture                                     He has developed                      about 60 videos for this

class   and since the videos are available on YouTube                                           many people              all   over the world have

had the opportunity                  to     view      Dr     Fosters course                material over                the     last   four years                He
updates the material for this course                           as needed and augments the lectures with                                          new topics
as needed             He believes that the students                      should be given alternative                            options to learn the
course    material            In two of the courses                   he has been teaching                        at    UT POE 334 and POE
383 he uses a tablet that                       is   connected        to his      laptop        to deliver            his lectures by writing on

the     tablet      and       at     the        same     time        retrieving            prepared              material           from        his     laptop

Subsequently            he would post the                    lectures    on YouTube                   and the          lectures      are available               for

the students          to view        for the         remainder of the semester                        He has been              in discussion               with a

few professors            in the     department in order for them to adapt the same technology                                                          in their

courses          In     his    homework                and      exams he             emphasizes                  applications              to    real      world

engineering           problem            solving        He      teaches       the         students       how            to    apply        computational
methods        in   solving         practical         problems        that   are encountered                     in    engineering              practice         He
believes that the             students          should be able to use scientific                        computing               in their         daytoday
work     to   take     advantages               of the newest           algorithm and computer                           developments                 to    solve

complex        problems              We         believe       that    his    teaching           style       is    unique        and         based       on the
feedback       that     we have             received         from the students                  on the teaching                 evaluations             for      Dr
Foster as well as verbal feedback                           that the    graduate           advisor has received from the graduate

students      registered in              Dr Fosters Advanced                      Geomechanics                   class        the    students         are    very

pleased       with     Dr Fosters teaching style and have indicated                                              that   they        were able to learn
the   material presented                    in the     course        well    due      to    Dr Fosters                  teaching           approach              Dr
Foster has been              very receptive in accepting                     feedback            from the students                   in his classes In

general       he has received               excellent teaching              evaluations               The    first      time that he taught                  POE
334     Reservoir         Geomechanics                  in
                                                              spring 2015           with registration                   of over 80 students                      his


teaching       evaluation was a                 34 however              next time that he taught the course                                     his   teaching
evaluation       improved            to     a   43 This         improvement                in   his    teaching              evaluation          was due          to

better preparation             and possibly due                to    the usage of computer                       technology            in   classroom as

indicated        in    the    foregoing              statements         Dr     Foster           was     awarded the                  2015        Society          of
Petroleum Engineers Faculty Innovative                                  Teaching           Award Also his teaching                              assistant        for

PGE 323M won                   the       William        S Livingston               Outstanding              Graduate            Student           Academic

Employee Award in                    fall    2015       This     was the          first    time that a student from the Cockrell

School     of Engineering                 had won        this    award       Dr Foster prepared the nomination                                        package
for this prestigious               university wide award on behalf of the student
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Graduate Students

Dr Foster has supervised the completion                       of one PhD student in Mechanical                      Engineering

at   the University         of Texas        at   San Antonio       He is now        supervising        7 PhD students         5 as
sole    supervisor         and    2   as    co supervisor      Three of the PhD students are                      registered      in

the Aerospace              Engineering and            Engineering       Mechanics           Department          and     the     rest

are      petroleum          engineering           students    He     also     supervises         two    master      students      in


petroleum          engineering         In    addition    to   supervising         his    own     students      Dr     Foster    has

participated        in    several     PhD    supervisory committees in the department



Classroom Audits
Professor Jon Olson audited                      Dr Fosters PGE 334              Reservoir       Geomechanics          Hydraulic

Fracturing         class   on April 11 2016             This course     is    comprised of threehour long                lectures


per    week       as     well    as   a twohour         laboratory     that      meets    five    times   during      the     entire

semester Below are some of Dr Olsons observations about                                    the class



     Dr Foster began the lecture by reviewing the topics covered in the previous class and
reminding         the students        of the plan for the     future        to   go through the basis         for hydraulic

fracture   models I thought this introduction                   helped       set a good     context    for   the students



He provided context for the importance of fractures by reviewing the history of
premature failure of engineering structures due to propagation of cracks                                     He then
presented         the classical Griffith energy balance              approach       for predicting        fracture including



                  By
the math derivation which                   in the   end provides    the     students     with several       useful practical

equations                        the end of the lecture        he was able         to   bring the theoretical discussion

to    bear on the practical           application     for petroleum      engineers          hydraulic     fracturing        At the
conclusion of the lecture                  he previewed the topic for the next             class

Overall       I   thought       Dr Fosters presentation of the material was very systematic and easy
to follow and as mentioned before I felt he did a good job providing                                    historical


background          and relevant context for the students




Concluding Remarks
Based on student             comments CIS comparative                  rankings         peer evaluation
                                                                                                              and evidence        of
continual improvement    Dr Fosters record meets or exceeds expectations for promotion
The     PGE Budget Council Tenure and Promotion Committee endorse his promotion to the
rank of associate           professor




            0e121711 rr174
Kamy Sepehytioori Chair
PGE Tenure and Promotion                     Committee
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                                      Candidates Statement on Teaching


                                                                 John T Foster                PhD PE

I   am a somewhat nontraditional                                  teacher        in   that     I
                                                                                                     rarely give a       full   5075           minute back to

the students                 blackboard            style         lecture         preferring              interactive            project based                learning

whenever         possible             I   have      been an early adopter of the reverse classroom approach                                                    I   have

developed        a course in highperformance                                    computing             H PC      for   engineers           in    which all of the

traditional        lecture            material            is   posted       to    YouTube               and   embedded               in    a    course       specific

website that             I   developed              I   taught this course for 3 semesters at The                                   University of Texas at

San Antonio              UTSA             and      am preparing             to teach           a similar course                in   the   Spring of 2017             to

The    University             of Texas at Austins                       UT Austin                  Petroleum and               Geosystems             Engineering

PGE students                    In    this      class the          students are then                   required        to watch           the     videos      before

attending        class         Accompanying                     the     videos        are       automatically            graded           quiz       questions       to

ensure the students complete                                the videos          and continuously                   provide a feedback                  assessment

of their progress               I
                                     originally wrote the software for this automated quiz grading as well as

developed        the question bank                        and associated              answers and now am migrating                                   the question

bank to the Canvas system The                                  in class     part of the course                is     then offered in a computer lab

where daily exercises                      are carried out in a way that offers students an opportunity                                                      to solve

problems on their own                              with     my immediate                 assistance           when      they        need        it   Independent

projects replace               tests in this course Thus                         far     I   have      created       about 60 videos                 for this class

Interestingly these videos                              are being       watched              more often by others outside of the                              formal

classroom         They          currently               have     over     230K unique                  views       representing            more than 800K
minutes of viewing                        on YouTube              from      interested               people    in     almost every country                     in   the

world     Figure 1 shows                   the historical accumulation                             of views for the            H PC course

                 Views


        300




        225




        ISO




        75




          0
         82212    112612       3213        66113    91013      121513   32114    62514       92914     1315   4915     71415    101815    17216      42716




                             Figure 1 Historical daily views of HPC course You Tube channel




    httpjohnfosterpgeutexaseduHPCvideolectures
1
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I    believe   this   serves as an avenue                         for    reputation                   enhancement through                           others familiarizing

themselves           with       my     expertise              on       this           topic      and seeking                out       my     other               contributions               in


research etc Additionally                         it    creates          a lasting catalogue                        of valuable                  reference              material            for


my own students and researchers                                   as well as other students at UT Austin


This     flipped classroom                 format may not be appropriate                                              for all         classes               however               I
                                                                                                                                                                                      firmly

believe        in    providing          the       students                   a        menu           of   options           for       learning               especially                when
technology           can provide           this    at little           or no time cost to                        me     I   have used this methodology                                       in

several        PGE    courses        at    UT     Austin               including                PGE 383 Advanced                        Geomechanics2                            PGE 334
Reservoir           Geomechanics3                 and         PGE        323M                  Reservoir         Engineering                     1114       In    the       classroom
when      delivering traditional lectures                                1   use a tablet peripheral                          interface             to my laptop                      where
I    can either develop              lecture           notes       from scratch                       on blank paper or                  I   can annotate                        prepared
material        in   realtime This                 makes               the       transition to prepared slides                                     demos videos                           web
based materials or live coding                               on the laptop during the lecture seamless While delivering
the     lecture        I    wear       a    microphone                           and           screen capture               my        computer                    desktop              while

simultaneously              projecting          to the            screen                  in   the    lecture    hall At the                 end of class                    I
                                                                                                                                                                                 post the
lecture    notes developed                 in   class along with a                              YouTube video                of my lecture                        Every lecture              is


recorded        and        available        for         the       students                     future      reference              1
                                                                                                                                      spend             a    little         time          post
producing            the    lecture        videos             to       breakup                   the      full   lecture              into        520             minute              topical

segments This               post production                   of the             lectures            makes it       easier for the                  students to find the

material        they       are     interested                in        when               reviewing          for    exams              or        working              assignments

Additionally          this      allows     me to easily assemble an appropriately                                                     timed lecture                   in    the advent

of an     absence          in   future semesters                        Written                comments from students over the years have
overwhelmingly                  expressed         gratitude              for these                   reference      videos            and other materials as not

all   students learn in the                same manner                           it       provides a way to                 accommodate                      several             different

learning styles Like the                    HPC course                   described                   previously         these videos                    are being watched

by     students around               the    world and                   have               views cumulatively                     exceeding                  100K           Professors

Maga Prodanovi6                 and Eric van Oort in the PGE Department have adopted                                                                        and adapted parts
of this methodology                  after discussions                           with          me regarding the tools                        I    use Other professors
have     expressed          interest        in adopting                 these techniques                         and the possibility of using some of

these methods to prepare material for a future online Master                                                                  of Science                degree              in    PGE has
been      discussed              including              at    the            PGE               2015       faculty       retreat              where                I
                                                                                                                                                                      gave            a    live

demonstration


It          my experience
      has been                                  that         many if not most engineering students are aided                                                                     by visual

learning tools and where                        appropriate                           I
                                                                                          always try to incorporate these into                                          my lectures
Figure 2       shows        several        frames from an animated computer visualization                                                                        of tangent               lines


being     drawn and new approximations                                            being          computed           as a          Newtons               method               nonlinear

solver converges                to a    root This                 is   one of many similar such visual aids that                                                        I
                                                                                                                                                                            developed




     httpjohnfosterpgeutexaseduPGE383AdvGeomechanics
2




3
     httpjohnfosterpgeutexaseduPGE334ResGeomechanics

4
     httpjohnfosterpgeutexaseduPGE323MResEngineering111
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ie wrote the Mathematica                code      for a course on numerical methodss these notebooks                          are

currently       being translated to an open source interactive book6




                             c                                                                  d
    Figure 2 Sequence        ad       taken from animation of Newtons method converging                            to   a root


I
    prefer a grading        procedure      which      emphasizes       homework assignments and               projects that
include   applications to real engineering                 problems that the       personal        computer   is   needed to

solve As a working engineer                it   was a rare case    to encounter        a problem that could         be easily

solved    analytically       therefore          the   computer    plays   a    vital   role   in   the   education       of   my
students just as       it   would assist a working           engineer      I   would say the primary educational

goal   for every     course    I   teach    is   for the   students to    become       better      programmerproblem
solvers through the use of scientific computing                    I
                                                                       require that the       students write computer

code    for nearly every assignment by designing problems that require iteration                               or full field

andor     multiple parameter space visualizations                  that are too difficult          or intractable       to work

by hand     I    do not insist they use any particular             language or engineering software toolbox




shttpsgithubcomjohntfoster                       numericalmethodsbook                         aster ma hematicanot
ebooks


6httpsgithubcomjohntfoster                       numericalmethodsbookblobmasterTableofContents
ipynb
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but     rather          emphasize               choosing        the           right tool             for the            task    by discussing                    the procons
regarding           speed             algorithm             robustness                and           ease       of        programming                     with     them Being

proficient          in several            programming languages and engineering software packages                                                                       virtually

all       most commonly used ones
      of the                                                                    allows          me to do this                   with           ease       I   emphasize           good

coding practices that make their codes                                          easier to debug                     I
                                                                                                                         require       them to solve verification

problems and to test their code so that they have confidence                                                                   that the solutions they turn in

are correct             I   frequently           live   code on my laptop in class to explain not only syntax but the
logic    of    programming which                            often        is   the    logic      of problem solving                             I   even       discuss   software

developer           operations such as agile testing                                      and version control when                                       appropriate          I   have

held ad hoc tutorials outside of class on such topics7 The students                                                                        I   have taught so far seem

to     respond              well       to   these           course            designs           despite             the       common                  misconception               that

engineers dont like to code Its possible that engineers do not recognize the full worth of
programming when taught as a standalone subject When taught programming as part of
the     art    of           problem         solving           nearly            every          student          I        have        encountered                  develops          an

appreciation and they have expressed                                           this in     written         comments during course evaluations

I   firmly     believe            that just as no exceptions                              are       ever       made           for engineering                    students         who
must use            a       slide rule          when         preparing               exam           questions             ie     its           an     expectation        that       all


students have                    access     to a scientific               calculator                we have              reached the time when                          the       same
philosophy should be applied with respect                                             to the laptop computer                                   When teaching PGE 334
Advanced            Geomechanics                 in     the Spring of 2016                          for the     first         time     I       allowed students to use

their personal                   or department               provided laptops during exams                                           In        this      course there are a
class of problems which                           require           using           rotation         matrices             to perform                  multiple coordinate
transformations                    for    the   solution            If    the    students are asked                           to solve             these      problems on an
exam      an        assessment               of their          performance                     is   influence             by     how               quickly      they    can       type
matrices into their calculators                              This        is   not in any way an assessment of their understanding
I   allowed them to program the coordinate transformations                                                                and bring their codes with them

to class        I   even          provided         verification                 solutions            so they could                   check            that     their code         was
working        properly before                    the       exam              They could             simply use                the    code            during the        problem
solution with                little
                                       worry about making algebraic or typographic errors and allowing them
to focus       on their physical                   understanding of the problem The overall grades                                                               on otherwise

very similar exams                       improved dramatically                            from the previous semester when                                         I   taught       this

course


Being      formally               trained        as     a    mechanician                   I    have       a    very           different              background          than        a

traditional petroleum                       engineer           however               it   is
                                                                                               my belief that this skill                             set adds tremendous

value     in   a future               where unconventional                          resources           will            play a large                role in the        petroleum
industry            These             unconventionals                     require              extensive                knowledge                   of    geomechanics               to

efficiently         and safely bring into production                                      Indeed PGEs curriculum                                     has already begun to

reflect    this      by adding both                   undergraduate and graduate                                        courses        in          geomechanics         over the
last    several         years ie PGE334 and PGE373                                        both of which                   I   have        taught Additionally my
background                  in    scientific      computing                   and the          numerical                 solution          of PDEs allowed me to

seamlessly begin to teach courses in reservoir                                                 simulation                PGE323M


7httpjohntfostergithublopostsgitandgithubtutorialhtml
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I   have       always been rated highly                              in       student evaluations at both                                universities           where               I   have

taught see Table 1 and supplemental material The worst instructor evaluation received                                                                                        I




was in PGE 334 Advanced Geomechanics during the Spring of 2015 my first time teaching
this   course and the largest course                                      I    had ever taught at the time by a significant                                                      amount
The    evaluation                  was       a    34 which           I
                                                                          improved              to a          43     the     next time          I
                                                                                                                                                     taught      the             course        I




attribute              the improvement                   to better preparation                           second time teaching                         the     course               a    more
knowledgeable                      and        efficient         use           of    teaching                 assistants        in    a       large       class       as           well     as

implementing                      new techniques                    such as using
                                                                  laptops            as previously                     for exams                                         discussed

This   improvement                   was in spite of requiring the students to program for every assignment
something they supposedly dont                                           like      to do       Generally my instructor                              ratings are in the                   4s
Table      1           provides         a    summary            of       my         course          and        instructor           ratings           since     becoming                   an
assistant professor in the Fall of 2011                                            three years at UTSA and                          two years at UT Austin

With regard to assisting primarily graduate                                                     students in their learning process                                       I       maintain

an active weblog8                       of helpful         tips and answered                             questions            Generally              these      are          related to

scientific                 computing             topics    I
                                                                try       to       maintain              a    philosophy            where anytime                    I           believe    a

students                   question         will    come up              again        in       the       future         I   write        a   blog        detailing               the    path
forward                as opposed            to providing                an individual                   answer         This      has paid off numerous times

where          I       can simply point the students to a blog                                                post     where Ive             already answered                           their

specific           or a similar question


I   believe            I   have    demonstrated                real       innovation                in   the classroom               notably through                         the use of

technology and                     I   was awarded              the 2015 Society                         of Petroleum Engineers                          Faculty         Innovative

Teaching                   Award        Another           accomplishment                        I    am        very         proud    of       but        is   admittedly                 not

completely                       my own            was     for       my            Teaching              Assistant           for     PGE        323M           in        Fall           2015
Nkemakonam                        Egboga           to    be awarded                   the      William             S    Livingston             Outstanding                       Graduate
Student                Academic           Employee             Award by the Graduate                                   Student       Assembly                 This       award             for

which      I       prepared the nomination                           package              is   given to one graduate                         teaching          assistant in the

entire     university                   Nkemakonam                  was        the    first         PGE student and                  the      first      Cockrell                School of

Engineering student to ever be given                                           this   award


Finally            I   believe         experience         with these innovative                                approaches           to teaching               will    give          me an
advantage                   if   called      on to        participate               in     the       PGE Departments                         forthcoming                 online       MS
program                    or    The    University             of   Texas            Systems                 delivery        of     online          or    massively online
courses eg the edX program something                                                  I   would be interested in doing in the future




    httpjohntfostergithubio
8
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                              Table       1 Summary of Course Instructor Ratings

                                               Metric                                        Value


                                                                                        UT     Total9


                    Total of students taught in organized courses                       198     363

                   Average    instructor       evaluation for UG courses                39       41

                   Average      instructor           evaluation      for        Grad    46       45
                    courses


                   Average course evaluation             for   UG courses               38       40

                   Average course evaluation             for Grad    courses            43       44



              Table 2 Course Schedule          by Semester with Number ofStudents Indicated

                                                   UTSA1011                             UT Austini2
                   Course          F11         S12    F12      F13    S14         F14    S15    F15      S16

                   ME4603             21


                   ME6043

              ME49535013                               39       48     48


                   PGE383                                                          13            14


                   PGE334                                                                81              25


                PGE323M                                                                          65




9
     ME49535013      was a co listed graduate and undergraduate class The majority of the
students were graduate         students and the course            was taught as a graduate           class ie there

were no special assignments or exceptions                   made for undergraduates in the course The
evaluations    were performed             together and combined       so    I   used the results for this course

only for the Grad course averages



     My teaching   workload was                                                    2 years at UTSA
                                                   per semester for my first
10                                    1   course


11
     S13 was a teaching   buyout


12
     My teaching   workload was       1   course   per semester for my first       year at   UT Austin
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                       Table     3 Summary of Graduate Students Currently Supervised at UT Austin
                                                                                               Date Expected    to    Expected
                                       Co                           Start     Date Reached
     Student      Name                                 Degree                                       Reach            Graduation
                                    Supervisor                      Date       Candidacy
                                                                                                Candidacy1314          Datem

Michael          Brothers                             PhD   EM     82014                           82017               52018

       Eric     Lyndt
                                    Q Nguyen          PhD   PGE    82014                           52017               52018



     Rambod Tabasi                                    PhD   EM     82014                           52017               52018
       Sai      Uppati                                MS PGE       012008                                             122016

      Jason York
                                                      PhD   PGE    12015                           92016              122017


Mingyaun           Yang
                                    Q Nguyen          PhD   PGE    82015                           122016              52018

           Masoud                                     PhD   EM     82015                           122016              52018

 Behzadinasab

           Yu Leng                                    PhD   PGE    82015                           122016              52018

           Xiao   Xu                                  MS PGE       82015                                               52017




13
      Candidacy             in   PGE requires passing        a written   qualifying    exam and an oral proposal Candidacy
in    EM requires passing both written and oral examinations

14    Ive used an                to indicate     students   who have passed     all   written exams and a t to indicate

students           who have passed a subset of written examinations


                                                            and Xiao Xu will           for a PhD degree at UT beyond their
15
      It   is   expected         that both   Sal Uppati                         stay

MS graduation
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                                                  John   T Foster
                Department of Petroleum and Geosystems Engineering
                                       Course Rating Averages




               Tenure candidates   must include          all
                                                               years in rank

 All other candidates   must include    at   minimum the three most recent years
What source was used to complete       this   chart CIS Summary provided         by the Deans Office

eg My CIS summary provided by Provosts Office etc
PGE 379 Advanced             Geomechanics
                                  Number of                    Instructor      Course
  Semester       Class Size       Responses                     Ratine         Rating
  Fall 2014             13                   13                    43           40
  Fall 2015             14                   7                     49           46


    Mean                14                   10                    46           43


PGE 334 Reservoir Geomechanics
                                  Number of                    Instructor      Course
  Semester        Class Size      Responses                     Ratine         Rating

 Spring 2015            81                   38                    34            32
Spring 2016             25                   11                    43           41


    Mean                53                   25                    39            37


PGE 323M Reservoir Engineering III
                                  Number of                    Instructor      Course

  Semester        Class Size      Responses                      Rating        Rating

  Fall 2015             65                   47                    41            40


    Mean                65                   47                    41            40
FOSTER                   JOHN              TIMOTHY                                                                                                      Engineering                                                                                                                                         090116
                                                                                                                                                   Petroleum Engineering




                                                                                                               of
                                                                                                                                                                                            UT




                                                                                                                                        All
                                                                                                                                                                     In
                                                                                                Summary               Recent                 Years   Rank       Austin                                                    Course Instructor                  Survey        Resul
                                                                                                                                      Overall  CourseInstructor   Items

Semester                             Course                   Course                Title                                                            Enrollment                                          Instructor                   Averages                       CollegeSchool             Averages
                                     Number




                                                                                                                                                                            No




                                                                                                                                                     of
                                                                                                                                                                                   of




                                                                                                                                              No
                                                                                                                                                                                                                                                                                                       No
                                                                                                                                                                                                         Overall                      Overall                 Overall              Overall                    Classes
                                                                                                                                              Students                      Surveys                      Instructor                   Course                  Instructor           Course                  Surveyed
                                                                                                                                              Enrolled                      Returned                     Rating                       Rating                  Rating               Rating




                                                                                                                                                                                            of




                                                                                                                                                                            at
                                                                                                                                                                                 End




                                                                                                                                              on
                                                                                                                                                  12th




                                                                                                                                                                                                          Avg
                                                                                                                                                                                                                                       Avg




                                                                                                                                                          Day
                                                                                                                                                                            Semester




                                                                                                                                                                                                                                                               Avg
                                                                                                                                                                                                                                                                                    Avg
                                                                                                                                              Class




                                     PGE




                         14
                                                                                                                                                    13




                                                 379
                                                                                                                                                                                 13
                                                                                                                                                                                                                43
                                                                                                                                                                                                                                             40
                                                                                                                                                                                                                                                                                    NA
                                                                                                                                                                                                                                                                                                                  NA




                                                              ADVANCED                    GEOMECHANICS




                                                                                                                                                                                                                                                               NA
Fall




                                     PGE
                                                                                                                                                                                 38
                                                                                                                                                                                                                34
                                                                                                                                                                                                                                                               NA
                                                                                                                                                                                                                                                                                    NA
                                                                                                                                                                                                                                                                                                                  NA




                                                 334




                         15
                                                                                                                                                    81
                                                                                                                                                                                                                                             32
Spring                                                        RESERVOIR                    GEOMECHANICS




                                                                                                                          III
                                                                                                                                                    65
                                                                                                                                                                                 47
                                                                                                                                                                                                                41
                                                                                                                                                                                                                                                               NA




                                     PGE
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                                                                                                                                                                                                                                                                                    NA
                                                                                                                                                                                                                                                                                                                  NA




                                                              RESERVOIR                    ENGINEERING




                         15
Fall                                             32311




                                                                                                                                                                                  7




                                     PGE
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                                                                                                                                                                                                                49
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                                                                                                                                                                                                                                                                                                                  NA




                                                 379




                         15
Fall                                                          ADVANCED                    GEOMECHANICS
                                                                                                                                                                                                                                                                                    NA




                                                                                                                                                                                 II




                                     PGE
                                                                                                                                                    25
                                                                                                                                                                                                                43
                                                                                                                                                                                                                                             41
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                                                 334




                         16
                                                                                                                                                                                                                                                               NA
                                                                                                                                                                                                                                                                                    NA




Spring                                                        RESERVOIR                    GEOMECHANICS




                                                                   the
                                                                                                                                                                to
                                                                                                                                                                                                                      as




                   the
                                                              of
                                                                                                                                                                       student




 For
                                computation                                         averages      points                        were assigned                                             responses     follows




                                 =
                                                                    =
                                                                                                                      =
                                                                                                                                                                            =
                                                                                                                                                                                                                                              1




                                           5
                                                                                4
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                                                                                                                                3
Excellent                            Very Good                                            Satisfactory                             Unsatisfactory                                       Very Unsatisfactory




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                                                                                                                                                                                             all




                                                                              are
                                                                                                                                                                                                                                                                                                      or




Collegeschool                              averages                                               average                       class   averages                     based                              courses                surveyed                      instructors           college                  school




                          the
                                                                                                   the
                                                                                                                                was




                                                                         in
during                               academic year                                  which             course                          taught




       New
                                                                                                                                                                                                                                the




                                                                                                                                                                                                                          on




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                         DEPARTMENT                    OF PFTROLFUM             AND aeosYsTEms ENGINEFR1NG

                         THE UNIVERSITY                            OF TEXAS AT AUSTIN


                          CPE 2502               Austin    Texas   78712        512 4713161             Minx 512 4719605




                                                                                                                       August   11 2016


To whom                  it
                               may concern


On April 11                    I
                                   sat in       on the lecture of Dr John Foster for PGE 334 Reservoir Geomechanics                                         This course

is
     comprised                     of 3   hours of lecture per week and a 2 hour lab that meets 5 times throughout the

semester The lab exercises were                                     initially    designed by me and improved                    upon by Dr Nicolas Espinoza            of

the PGE faculty                           Dr Foster has an experienced TA that manages the                                 lab effectively




Dr Foster began the lecture by reviewing the                                        topics          covered      in   the previous class and reminding the

students of the plan for the future                                    to   go through         the basis for hydraulic fracture models                  I
                                                                                                                                                            thought   this

introduction                       helped       set a good    context for the students



In   the lecture Dr Foster was explaining fracture mechanics to a group of students that were familiar

with mechanics but had never been introduced                                             to the        mechanical        fundamentals     of fracture         He

provided             context for the importance                         of fractures          by reviewing the history of premature failure of

engineering                    structures          due to propagation             of cracks          He then presented the classical             Griffith    energy
balance             approach for predicting fracture                            including       the math derivation which                in   the end provides the

students with several useful practical equations                                              He referred back           to principles   with which the students

should be familiar coming from solid mechanics                                               again to     provide them with some context                for   the

arguments                          By the end of the lecture he was able to bring the theoretical                                 discussion to     bear on the

practical            application                 for petroleum       engineers          hydraulic        fracturing        At the conclusion of the lecture he

previewed                     the topic for the next class which was to go over the analytical expressions that had been

derived             in    petroleum engineering for hydraulic fracture                                  design



Overall         I

                    thought               Dr Fosters presentation                of the material was              very systematic        and easy to follow and as

mentioned                     before        I   felt   he did a good job providing                  historical    background and relevant context for the

students                  He discussed with me afterwards                         that       he was capturing            the lecture on his tablet computer

which      is       the device                  he used to write his lecture notes                     equation short textual            outline   statements and

drawings                      During the lecture there were not many questions and the attendance                                             was sparse       I




discussed                the attendance                  issues with     Dr Foster after the class and he assured me that low attendance
was not the rule and that on the particular                                       day    I   attended      class       there was another        major assignment

due    I   believe                 in   another        class that   was possibly responsible                for       drawing the students       away


                                                                                             Respectfully        submitted




                                                                                             Vn E Olson PhD PE
                                                                                             Chairman and Frank             W lessen     Professor

                                                                                             Lois   K and Richard D Folger Leadership Chair

1 took details                          notes and hand wrote             my impressions              of this teaching       observation       on April 11 but was

unaware that                        I   had not formally filed the writeup                     until   today
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PROGRAM     GSPBFRP3                                       OFFICE     GRADUATE   STUDIES




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ELAHI    NARAGHI      MORTEZA   me9484                        MEMBER




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                                           John T Foster

              Department          of Petroleum     and Geosystems Engineering

                         List    of Postdoctoral     Fellows Supervised




1   James OGrady     PhD graduated from UTSA 2014 supervised 2015                at    UT Austin


2   Rezwanur Rahman           PhD graduated from University of Alabama 2012 supervised 20132014
    at   UTSA and 2015   at   UT Austin


3   Shamima Yasmin PhD graduated           from Universiti   Sains   Malaysia   2010    supervised   at   UTSA 2013
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                                           PGE Budget Council Statement
                                                                     For
                                                           John      T Foster

                                   ResearchScholarlyCreative                      Contributions



This budget Council                statement    summarizes the research          scholarly    and   creative    contributions        of

Dr John Foster

Dr John Fosters main field of research                      is   computational   and experimental mechanics               We have
broken down       this     research      statement       into   four distinct parts scholarly       and   creative   contributions

research     funding graduate            student   supervision and finally        professional       reputation and

recognition



As shown in detail in his promotion package Dr Foster has authored 22 journal publications                                           19
in    rank   In addition he has 14 peer reviewed conference                      proceedings        5 in rank In most of
these publications            Dr Foster has been the first            author or made      significant     contributions   to   the

publication Many of these publications have been                           in highly reputed journals          This publication

record is outstanding and ranks                 among the top for assistant        professors in our field In studying

his publications         it   is   evident that he has a broad understanding of both the computational                         and

experimental      aspects of mechanics               I   would     particularly like to   highlight his significant

contributions     in the       new field of peridynamics which provides a mesh free method for solving

problems      in both solid and fluid            mechanics He has for the first time developed                   methods for

applying     peridynamics            to poroelastic      problems This fundamental contribution                 allows us to use

this   powerful method to address problems in fluid flow in porous media as well as simulate the

growth of complex              fractures in rocks         He has recently     completed editing a book on this topic

titled   The Handbook              of Peridynamics


Dr Foster comes to the field of petroleum engineering with a mechanics and computational
background       Most of his publications                are    not in petroleum engineering journals since he has been

associated     with this field for a relatively                 short time   However   his   fundamental contributions               in


mechanics and computational                    methods are widely applicable to many fields such as hydraulic

fracturing    and drill        string   mechanics        We fidly expect that as Dr Foster gets more involved                   with

practitioners    in the field         he will    easily be      able to apply his fundamental methods to problems in

oil   and gas exploration            and production        He has already made significant              strides in this direction


with his involvement               in research    related to
                                                                  many aspects of hydraulic         fracturing reservoir

simulation and drilling               He has visited      several    industry research labs such as Exxon Mobil and

GE and given talks that have been very well received

Dr Foster has been very successful                   at raising research       funds from a wide variety of funding

sources The total research funding                   he has been able to generate both as a PI and as a co PI are in

excess of $10 million Of this he is the primary PI on $24 million worth                                   of research funding
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These are very impressive numbers for an assistant professor                              in any field   of engineering or

science    Perhaps     what is even more impressive             is    that this   funding      has come from a wide variety

of funding    sources This bodes well for his longterm                      success       at maintaining    an active    and well

funded research       program With         his   background      at   Sandia national labs he has been able to

continue his research collaborations              and funding with the Army Research                      Laboratory     as well as

with the Air Force       Office of Scientific        Research        He is also currently         a co PI on a large

Department of Energy         DOE grant            related to   the application            of peridynamics     to   hydraulic

fracturing This has allowed him to actively pursue his fundamental research                                 in computational


mechanics     and support a rather large research group of PhD students and research                                 scientists   In


summary Dr Foster has an impressive and proven track record of successful                                    research


fundraising



Dr Foster has been able to build up a fairly                 large    and   active    research    group of graduate        students

and postdocs        He currently       supervises    seven    PhD students and two MS students                     in petroleum


engineering as well as in engineering mechanics                      at UTSA
                                                                      While                    he completed the supervisions

of one PhD        dissertation   and    five   MS theses In addition he supervises and co supervises
postdoctoral fellows undergraduate researchers                   and serves on several PhD dissertation

committees        This level of research         activity   puts him in the top quarter of all             faculty     members in

our department as well as faculty members in our field nationwide



Dr Foster is the recipient of the 2013              Air Force Office          of Scientific      Research     Young Investigator
award He has organized several workshops such as the US National Congress on Computational

Mechanics and a workshop on Mesh Free Methods for Computational                                     Science    and Engineering

Dr Fosters research         accomplishments are also reflected                 in his      involvement     as a reviewer for

over 12 journals        His intense involvement             within the technical and academic community in his

field   clearly   demonstrate his leadership skills and his ability to collaborate                        with his colleagues in

research



In summary         Dr Foster has made significant             contributions          to   the technical   literature    in his field


of theoretical and experimental mechanics                    He has a very impressive publication                   record a track

record of successful       fundraising an active            and productive research group and a stellar reputation

among     his technical    colleagues He is widely recognized as a rising star who we expect                               will


become a leader in his field           in the    coming decades




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Kamy Sepelfrnoori Chair
PGE Tenure and Promotion                Committee
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                                                    Five Most Significant             Works


                                                                 John T Foster




1   H Ouchi JR York A Katiyar JT Foster and MM                                    Sharma      A fully coupled      porous
                                                                                                                                  flow   and    geome
    chanics      model     for fluid   driven     cracks    a peridynamics        approach      Computational       Mechanics             553561
    576 March 2015 doi 101007s0046601511238


2 A    Katiyar      JT      Foster       H    Ouchi     and      MM Sharma           A peridynamic        formulation        of    pressure driven

    convective     fluid    transport        in
                                                  porous media         Journal    of Computational         Physics     261209229                March

    2014 doi        10      1016j          jcp      201312039

3 JT        OGrady         and     JT        Foster           Peridynamic        plates   and    flat     shells   A    non ordinary             state

    based        model           International       Journal      of    Solids    and     Structures       51252645724579                        2014

    doi     10    1016j          ijsolstr201409                    003


4 JT      Foster         SA      Silling      and   W      Chen        An   energy    based     failure    criterion   for    use        with   peridy

    namic states            International         Journal   of   Multiscale      Computational      Engineering        96675688                  2011

    doi     10    1616IntJMultCompEng2011002407

5 JT      Foster     SA       Silling    and      WW Chen         Viscoplasticity     using   peridynamics         International Journal            for


    Numerical Methods             in   Engineering      811012421258                 2010 dol10           1002nine           2725




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                                                 Candidates Statement on Research


                                                                         John T Foster                    PhD PE

Overview               Since             becoming           an assistant professor                             in     the    Fall      of 2011           three years           in   the

Department of Mechanical                                   Engineering at The                            University           of Texas at San Antonio                         UTSA
and 2 years in the Department of Petroleum and Geosystems Engineering at The University
of Texas at Austin                           UT Austin               I       have    rapidly demonstrated                              an    ability      to acquire        funding

from multiple sources across a wide spectrum of fundamental research


My move to UT Austin at the start of my 4th year in rank signified a career transition                                                                                            from

a    research          portfolio                  that    was       primarily funded                           by government                      grants       focusing       on    the

fundamental                 science               of material                failure    in      solid          mechanics               and       computational            methods

development                     to       now       a    mix of fundamental science                                   as     well       as technology              advancement

targeting            energy applications                            both        in   the     oil        and gas sector                 as well         as geothermal               This

transition            also           coincided             with          a    massive           downturn               in        the    oil      and      gas    economy            but

nevertheless                I    have been able to develop                             newly funded programs                                  GE    Global       Research           and

potential            future partnerships                        I    have       recently given                      invited       talks at ExxonMobil Corporate

Strategic             Research                    Total     and          SchlumbergerDoll                            Research               Center        as    well     as    many
academic             institutions                 see CV for complete                       list


I   am a 2013 Air Force Office of Scientific                                           Research               AFOSR              Young           Investigator         Awardee            In

addition to AFOSR                            I      received funding from Sandia National Laboratories SNL Army
                                                 have
Research Laboratory                               ARL Army Research Office ARO The National Energy Technology
Laboratory             NETL and GE Global Research                             was an equal share co PI for a prestigious
                                                                                                    I




Multidisciplinary                        University         Research Initiative MURI award With everything taken into

account          I   have been awarded                       over $2 million in funding                                    for
                                                                                                                                 my research as PI and over $10
million as co              PI        I   have been awarded                      these grants at both                        UTSA and UT Austin with several

spanning             my time at both universities Table 2 summarizes these projects and provides the
exact       funding amounts                             My collaborators                    on these                efforts       include          top    researchers          at    UT
Austin       NETL award and Johns Hopkins                                              University               subaward                from $90 million AROARL

CRA         as       well       as       a       team     of top         experts           in   the           growing         field         of    peridynamics           from       the

University            of Arizona Arizona                             State          University                the    University               of Nebraska Lincoln                   and

Columbia University                              AFOSR MURI

In   the     Fall      of       2014             my first       semester at UT                          Austin         I    brought together a group of five
world        class              researchers                including                 several             distinguished                 chair        holders           andor         full



professors and led as PI a proposal effort for a second                                                                MURI            Our team was down selected

from a preproposal stage of about 15 to be                                                      1       of 3 invited to compete                          for the      $65     million

award        Ultimately                      our        proposal             was     scored             well        see supplemental                      material          but     not

selected             for    funding                 However                  this    effort             and    followup                contacts          with      the    program

manager              led to the single PI                   ARO project shown                             in Table         2 The main reason                    for   mentioning
this   is   that       it       is   rare         for   an assistant professor to attempt to lead or be competitive                                                                 in   a

prestigious             MURI                 proposal        This             demonstrates                    the     confidence                 my      colleagues         and     the
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Department of Defense                      DOD program managers have                                     in
                                                                                                                  my technical                skill        and leadership

ability


I   am currently             managing         and providing funding                    for a        group of 9 students                               In    the past        I   have

supported as many as 10 students and 2 postdoctoral researchers


My     research             encompasses           all
                                                         aspects       of understanding                           how      engineering                      materials             fail

from the very small scale                     eg        molecular dynamics to continuum coupling                                                       to the very large

scale       eg     hydraulic          fracturing         stimulation            of horizontal                     wells        in   petroleum                   reservoirs               I




have        cultivated         significant       relationships            with       program              managers                  at national                 laboratories

collaborators               at major       research        universities and                    members of industry and am                                            confident

that
        my research             portfolio will continue                to grow



Being        formally          trained      as     a     mechanician             I    have          a    very        different            background                       than      a

traditional petroleum                     engineer        however          it   is
                                                                                     my belief that this skill                           set adds tremendous

value       in   a future       where unconventional                      resources             will      play a large                 role in the                   petroleum

industry           These         unconventionals                    require          extensive               knowledge                   of           geomechanics                  to

efficiently         and         safely      bring        into       production                      They           also        require                the       coupling            of

geomechanics                  into   traditional          reservoir        simulation                   which            adds       to    the          complexity                 and

computational expense                      of already large simulations                                 My background                    in       massively parallel
scientific        computing             and    largescale             engineering               simulations                    utilizing              the       worlds          most

sophisticated geomechanical                            constitutive       models              Im referring to my seven years spent as
a staff      member at Sandia                  National            Laboratories and                     experience              with constitutive                         models
like   Kayenta1 gives                me a unique           background                to advance               the applications of geomechanics

in   petroleum engineering

While a great percentage                      of   my time spent in academia                                 thus far has been utilized                                   writing

proposals          27 proposals since August 2011 with                                        11 externally funded                            1       internally funded

and     1    pending building laboratory capabilities and training students which   had to do                                                                    I




twice       since  moved from UTSA and UT Austin
                        I                              have managed to continue to publish my
                                                                                          I




research as a single author and with colleagues                                               and students                 I   have       published 22 papers

in   peer reviewed               journals         19      in       rank    most of them                       in    the        best      journals               in   solid        and

computational                 mechanics          One      highlight         of       my       scholarly             activity          was             having         the        great

honor to publish with the                     late      Professor Ted            Belytschko               National Academy                                 of Engineering

National          Academy            of   Sciences             a   founder       and          worldrenowned                           leader               in   the       field     of

computational                 mechanics          and      finite     element analysis                         I    am     the         first           or corresponding

author on the                 vast   majority of          my        publications               In
                                                                                                     every case where                             I    am not the first
author the names appearing before                                   mine were students or postdocs with                                                 whom worked   I




closely          This       signifies     major individual             contributions                    to    all    of these            works              on       my part             I




recently         was an         editor     and chapter              contributor               on what             will    be the most extensive                                 book

published on the                 growing         field    related to the              peridynamic theory of solid mechanics                                                       and

nonlocal         modeling publication date will be November                                             11 2016




1
    Brannon Rebecca                  Possum Arlo and Strack                      Eric         Kayenta theory and users guide
Sandia Report                No SAND20092282                       2009
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In
      my former career              as a research              scientist at Sandia National                                Laboratories                I   was involved
in    several        areas     of   fundamental                research             experimental                 analytical                and         computational
These efforts were often sensitive                             in    nature and therefore                        could          not be published                    in   open
literature       but are documented                      in   internal technical                    reports at Sandia                      My contributions                   to

the    area     of penetration              mechanics              are    well          known        to program                  managers                  and scientists
within the Department of Energy                              DOEDOD                     communities


While     I    have     a breadth           of research              expertise               that    encompasses                  both           experimental             and

analytically         modeling         it    is    my extensive                experience             and background                     in       highperformance
computing            and     largescale               computational                simulation             that    puts           me in           position          to    make
unique        contributions          in
                                           my field For more than                            10 years now                  I   have    been a developer                   and

analyst using some of the                        worlds largest computers and massively parallel computational

codes     I    am currently           the        only developer                outside of Sandia                  National                 Laboratories              for the

computational                peridynamics              code     Peridigm                 My        code    development                     activities             especially
those    involving           open source software                        also serve             to increase            my expertise and reputation
in   my fields of research

I   have made peripheral contributions                              to several               areas of mechanics                   but        I   would        classify     my
significant          contributions               in    academic          rank           into       three    areas               high strain                rate    material

characterization               and         modeling                fundamental                     contributions                  to       the         theories           and

computational              methods related to peridynamics                                    and nonlocal                 modeling              and development

of a   new      class of hydraulic fracture                        models           I    will      discuss the         contributions                       and impact of

my            contributions                      in          these             areas                 in          the                  following                    sections




High strain rate material characterization                                               and modeling                  I       brought to academia from

my PhD         and      career      at Sandia            an expertise                   in   using an experimental                           apparatus             called     a

Kolsky        bar The          Kolsky        bar        is   used     to       test          engineering          biological                     and       geomaterials
undergoing             high strain          rate       loading        ie           rapid           deformation                  Due        to     various          physical

phenomenon most materials behave                                     differently              when loaded under these                              conditions             The
typical       effect    is    an apparent increase                       in    material             strength      with increasing loading rate

During        my PhD           I
                                    developed            a    new technique                     for characterizing                     a     materials fracture

toughness         ie       a measure             of a materials resistance                          to existing crack                  propagation                  using     a

Kolsky bar journal paper 20 on                                CV Upon arriving at UTSA                                 I       used    my startup money to
construct        a world class             Kolsky            bar system which                      has    since    been moved               to UT Austin A

common modification                   to the           Kolsky        bar      is    to use          a sacrificial              pulse shaper to tailor                      the

input    loading conditions                 for testing different                   materials This                is
                                                                                                                       necessary to ensure that the
material        is   tested         and     therefore           known              and        delineated          for          reporting               purposes          at   a

constant        strain rate          For example               a    material that                  strain hardens                 under deformation                       will


require the loading force to increase                              as the material strengthens in order for the strain rate

to be     uniform for the                 majority of the                test       Pulse shaping                techniques                  have          been used          in


compressive            and tensile Kolsky bars                      for several              years We developed                       a testing methodology

to also incorporate                pulse shaping              when       testing materials in torsion conference                                              paper 4 on
CV Our most significant                           contributions               in    the       area       have     been           from        the       perspective            of

design ofexperiments                       Designing           pulse shapers                  has     mostly been a timeconsuming                                        trial

and error effort in the laboratory We developed                                               a model and computational                                    interface      that

can assist in designing pulse shapers                                 for     both           the   testing of shock                   response              of electronic
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components              with a Kolsky bar journal paper 18 on CV and                                                  for    optimally designing pulse

shapers           for   testing      at a given          strain rate in elastic brittle                           materials          journal paper 15 on

CV      I   also wrote             a brief technical              note       that derives             new equations that                   are a useful             check

on the          validity       of the      test    conditions                for    Kolsky          bar testing             of elastic brittle                materials

journal paper 17 on                       CV     The significance                  of these contributions                     is   when      these models are

employed               there   is   a great reduction in the trial                        and error time needed to get accurate                                          test

results         for these          classes of experiments                      The Kolsky              bar lab has since hosted                             visitors to

perform            material          characterization                   experiments                 leading           to    forthcoming                collaborative

journal papers                and was quite active before                           being disassembled                      for the      move to UT Austin
There           has     been        some        delay        in    progress              while        moving           and     reassembling                   the    large

equipment from UTSA to UT Austin but the lab                                                   is   once    again          operational           I    have    plans       for


followup              proposals to          my currently                 funded          research          with GE           Global        Research            to begin

testing         shale    samples           in    the    Kolsky          bar ie            its       part    of a       fiveyear plan                 that     has        been

proposed           which       I    have    currently             received         the    first
                                                                                                    year funding increment                             The obvious
tie   back        to petroleum             engineering             for this research                  is   in    drilling      and perforations                     where
high strain                                       strain rate                                              deformations                                             occur




Fundamental                contributions                 to the         theories and computational                                    methods related                      to

peridynamics and nonlocal                               modeling Peridynamics                               is   a    reformulation                  of the    classical

conservation             of    momentum                equations              that       seek to unify                the    mechanics                of continuous

media media with                     evolving      discontinuities                   and particles               It    is   most notably used to solve
mechanics               problems           where             pervasive         fracture              and        fragmentation                of       material           and

structures are part of the solution


The     theory was             originally proposed                      in   a restricted             form       in    2000        by    my collaborator                  Dr
Stewart Silling at Sandia                       with the seminal work and generalized theory appearing                                                         in   2007
I   have        been involved             in    research          with       the    theory since                 2005       and     am considered                   by    my
peers        as    a    leader       and    expert           in   the    field       As a relatively                  new      field       the       community             of

researchers             on peridynamics                 is   small but growing which contributes to my overall lower
total       citation     count        Within the community                           I   am one        of the         most highly cited                 researchers

and have           at least one of the most cited                            papers       in    the   field      journal paper 21 on                     CV         It   was
the    first
                  paper to demonstrate using a sufficiently                                         complex           inelastic         material        constitutive

model within the theory Another significant                                              paper which proposes                        the     most generalized
failure         criterion within the theory                       journal paper 19 on CV has been on the front page of
the     respective         journal2 as a               most downloaded                         article       continuously                since        a few     months

after first        appearing nearly 5 years ago

The     vast           my external funding is related to research activities that involve
                   majority          of

peridynamic theory My AFOSR Young Investigator grant was to develop a new class of
constitutive models for peridynamic beams and shells ie lower degree of freedom models

that    still     preserve          the   essential          features        of deformation                 in slender             or thin    structures while

maintaining             the    essential         feature          of peridynamicsfailure                              modeling           These models have




    httpwwwbegellhousecomjournalsmultiscalecomputationalengineeringhtml
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no analogue           in    the    classical           theory as they            inherently          resist      rotation              at the          constitutive

model       level     and         can    be       solved        within         the    framework            of     the        standard                  peridynamic
momentum equation in contrast to the fourth order partial deferential                                                                   equations              PDEs
introduced       in   the classical               theory to model beams and shells The theory developed                                                         in this

research       provides a generalized foundation                                for a    new        class of constitutive                         modeling that
could    potentially          have        implications             in    meta materials              modeling                This       was            the    primary
project of my first           PhD student Dr James OGrady who                                       jointly     with         me published 3 papers
on these topics journal papers                            1 7 and 8 on CV Dr OGrady is now a staff member at the
Army Research Laboratory

My AFOSR            MURI          grant       encompasses                many        areas     of    peridynamics                   research                 including

constitutive        and computational                     model development                  Under         this   grant and                  in    collaboration

with two of the top                researchers             in   computational            mechanics             Professor Wing                          Kam Liu and
the    late    Professor          Ted Belytschko3                  we     were        able     to    show        that        for       certain           classes           of

constitutive         models and               particle         discretizations           there       is   an    equivalence                   in       the    discrete

form between              peridynamics and the well established                                 computational                  methods of element

free   Galerkin       EFG and reproducing kernel particle methods RKPM                                                                 In   one        respect the

significance        of this        was    to solidify            the     theory       of peridynamics               in       which some                      were       still


skeptical      including          Professor Belytschko                    himself at one point in time In another respect                                                   it


showed        that the       EFG and RKPM                      methods which             claim to discretize                      the       classical          Cauchy
momentum             equation            in       fact   can     be     more         correctly       interpreted              as        discretizations                    of

peridynamics               Both    of these            numerical         schemes         use     a   nonlocal           kernel              for    interpolation
which    introduces           characteristic              length scales attenuation                       of forces at length and physical

wave dispersion into the solution These are features                                         that do not appear                        in   the local Cauchy

continuum        theory Regarding                        computational           peridynamics               we have            also          published other

papers related to the efficiency                         of the assembly of tangent stiffness matrices in the solution

of quasi static           peridynamics mechanics                         problems In this                 work we also introduced                               a   new
computationally              robust       and          efficient       method         of constructing              tangent stiffness matrices
numerically          by     utilizing         a   complex variable               technique           journal paper 10 on                                CV In the
interest      of reproducible             research              we published a companion                         repository                 of all       the source

code    and     scripts       used       to       run the        simulations          and    create        the     figures             from            this   article

Reproducible           research          is       a   subject      I    am     passionate        about and               I   plan           to    continue              this


practice       when         possible              We      have     also        published        several           articles             on         computational
multiscale techniques                   with peridynamics journal papers                              3 4 11 and 12 on CV under this
research       program The                    overarching               goal    of    this     MURI         program               is    to        rapidly       bring

computational              peridynamics to a level of acceptance                             and widespread use that is equivalent

to finite     element methods that                        utilize       the    classical     local        theories           In    order to encourage

widespread adoption of the new developments from the                                                  MURI we make                          every attempt to
rapidly       bring       these        new        contributions           to     code      users      by       developing                   the        open source
software Peridigm                 in   collaboration             with researchers            at Sandia            National             Laboratories                 I    am
currently       the    only        core       developer           outside        Sandia        and        my    students               and         I    have    made




3
    Notably    his    last paper         before          his    death


4
    httpsgithubcomutsaidlComplexStep                                           jacobianProject                  Archive
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numerous         contributions            to the         code          which         can be verified at the open source                                 repository

on Githubs


Finally and closely             related to the                    next section            using            the   mathematical tools developed                       for


peridynamics             we     have          developed                 theories               for        nonlocal         diffusion     and     transport           in

multiscale porous media journal paper                                         14 on       CV         These models are generalizations of the

classical   theory as they recover                       the classical               singlephase                  pressure diffusivity           equation          as a

special     case    but they also                  can        model anomalous transport processes                                         and        can    recover

fractional Laplacian             type        models as a special                          case as well As our                   goal at the          time was to

utilize    the    model for hydraulic                         fracture          simulations                 to    be developed           in    the      future      we
simply verified           the    model on                largescale                 continuum                transport         in
                                                                                                                                     porous media              Later

Tchelepi     et al at Stanford6                  cited    our work and used a similar model to develop                                                  a nonlocal

continuum         theory        that      can       be        used       to     upscale              pore network              models         This      work       was
supported         under the         NETL           program               in    collaboration                 with         Professor Mukul           Sharma         UT
PGE       and     extensions            to       advectiondiffusion                       are        being        developed          under     the       new       ARO
project      and         will       be           documented                    in     journal                publications            under          preparation



A new class of hydraulic                      fracture models                        In   order to address a need for better hydraulic
fracture     models        in    shales           and    other           unconventional                      resources         where extreme                fracture

complexity        brought about by the presence                                     of natural              fractures        and other heterogeneities
Professor Sharma and                I    wrote a proposal and were awarded                                                a grant from      NETL        to develop

a    hydraulic      fracture            modeling                  methodology                  and         computational             simulator           based      on

peridynamic          theory         We           have         accomplished                     this        by     first     developing        the       previously

discussed        nonlocal       diffusion          theory and combining                              it    with peridynamic solid mechanics                         for

a theory that       is   a nonlocal              variant of Biot poroelasticity                                  journal paper 6 on             CV We have
verified    the    computational                  tools           we   have         developed               against        several     classical        models      for


hydraulic         fracturing        under           their              restrictions              and         validated         it    against        a    series      of

experiments         where         hydraulic              fractures                 interact          with        natural      fractures        under        various

reservoir        conditions         conference                    paper        2    on    CV We                  have      demonstrated         the        model     in

various     complex           and       heterogeneous                    reservoir              scenarios            and     have      two     additional          and

related     journal       articles       in       review            The new model has generated                                      much      interest       in   the

hydraulic        fracturing      modeling community and                                    I    have given            numerous         invited       talks on the

subject      Professor Sharma                     and     I       hold        joint      group             meetings weekly              with     the       students

working      on    this    project           where            I   provide           expertise              in    computational          peridynamics               and
Professor Sharma              provides field              scenarios                and other reservoir physics expertise                                   This    has

been a strong and meaningful collaboration for me


Future research               vision         I    see   my future                  research           vision       broadly as two fold First                   I   will

continue     to     enhance         my           reputation              as     a   world expert                   in     peridynamics         and         non local
modeling         by making          fundamental                     contributions                    to    the    theory       developing           open source




    httpsgithubcomperidigmperidigmgraphscontributors
5




6
    Non local formulation                for multiscale flow in porous                                    media AH Delgoshaie                  DW Meyer
and   P Jenny and HA Tchelepi                           Journal          of Hydrology                     531 649654            2015
            Case 1:19-cv-00877-RP Document 69-9 Filed 02/23/22 Page 76 of 159




software      and promoting useful applications            like   the hydraulic fracture modeling discussed

The second part of the vision will require growth into new areas but the mission is to bring

new computational modeling techniques                 and highperformance           computing to the forefront
of earth science and energy production             simulation       I   have already begun some of this work

by developing       isogeometric analysis       IGA techniques            for reservoir   simulation   conference

paper   1   on   CV and have new collaborations in the works eg with Professor van Oort on
using   IGA for drillstring     dynamics simulations




                                          Table   1 Research Summary

                                               Metric                                                   Value


   Peer reviewed        journal publications       in rank and total                                    1922
   Peer reviewed        conference    proceedings       in rank and total                               514
   Number         of journal     papers   in   rank   with    UT        UTSA    students    as   co     3   4
   authors

   Total     citations of all   publications   career from IS Web of Knowledge                           124

   h index       career from IS Web of Knowledge

   Total     citations of all   publications   career from Google Scholar                                261

   h index       career from Google Scholar

   Total     external research     funding raised                                                      $1029M
   Total     external research     funding raised      candidates share                                 $24M

   Total     number of external grants         contracts    awarded                                         11

   Number of external grants           contracts   awarded        as PI
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                             Table 2 External Grants                            and Contracts Awarded while in Rank

     Role of Candidate and                                                                                                                Candidates
                                                      Title                                       Agency                Project   Total                   Grant Period
        CoInvestigatorst                                                                                                                     Share

PI                                Pulse Fracture       Simulation                     GE Global Research                   SlooK             SlooK              2016

                                  Nonlocal      and   fractional        order

                                  methods

PI                                for   near wall     turbulence         large        Army Research         Office         Sll5k             5345K         20152018

                                  eddy simulation          and fluid

                                  structure     interaction


                                                                                      Army     Research
                                  Fiber    failure    modeling with
PI                                                                                    Laboratory      Johns                5101K             510IK              2014
                                  peridynamics
                                                                                      Hopkins     University

co P1

E Madenci P1 Arizona              MURI Center for Material
F Bobaru co PI Nebraska Q
                                                                                      Air Force     Office of
                                  Failure     Prediction       Through                                                    57500K             S959K              2015
                                                                                      Scientific    Research
Du co PI Columbia                 Peridynamics

N Chawla co PI Arizona St
                                  Predictive      simulation of

                                  material      failure   using
                                                                                      Air Force     Office of
PI
                                  peridynamicsadvanced                                                                     S360K             5360K         20132015
                                                                                      Scientific    Research
                                  constitutive
                                                    modeling

                                  verification       and   validation


                                  Towards       a multiscale       failure


                                  modeling       paradigm         for


                                                                coarse
                                  polymers       statistical
                                                                                      Army Research
PI                                graining of molecular dynamics                      Laboratory      Johns                 $92K             592K               2013

                                  into   peridynamics                                 Hopkins     University




                                                      simulation of
                                  Peridynatnic
                                                                                      Sandia     National
PI
                                  pressure shear experiments on                                                             $29K             529K               2013
                                                                                      Laboratories
                                  granular media

                                  Fracture      Design     Placement


                     DeptTechnology
co PI                                                                                 National     Energy

M Sharma PI POE                   And SequencingIn              Horizontal
                                                                                                      Laboratory
                                                                                                                          51592K             5275K         20122016
                                  Wells


                                  Statistical    coarse graining          of          Army     Research

PI                                molecular dynamics              into                Laboratory      Johns                 592K             S92K               2013

                                  peridynamics                                        Hopkins     University

                                  Peridynatnic        Simulation of
                                                                                      Sandia     National
PI                                Granular Materials Undergoing                                                             533K             533K               2012
                                                                                      Laboratories
                                  Shock    Compression

                                  Sandia     X Prize Necking                          Sandia     National
PI                                                                                                                          545K             S45K               2012
                                  Challenge                                           Laboratories

TOTAL                                                                                                                     5103M              524M




     Relative contribution               of grants listed as co PI


         1    MURI Center for Material                         Failure Prediction                      Through         Peridynamics           For this grant           I




              am an equal        share co PI the                         total    funds were                split     equally     among    all    6 original     Pls

              there are 5 now due to one of the co Pis taking a position overseas save for some
              additional        administrative                     funding             provided               to     Madencis        group       at   Arizona          I




              authored approximately                           35 of the original proposal and extensively                                             edited    the

              entire   document with my co Pis                                    I
                                                                                      completely oversee                   my      portion    of the    research
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    funds   without oversight from the other co Pis although                             we do collaborate loosely
    on certain tasks and work together to prepare progress reports and presentations


2   Fracture Design            Placement And Sequencing               In   Horizontal    Wells    For this grant       I    co
    wrote    the    proposal with Dr Sharma                      UTPGE approximately              splitting    the   duties

    equally           I
                           provided       most       of    the    technical     input    regarding      the     proposed
    development           of a   hydraulic       fracture    model with        peridynamic        theory       This    DOE
    proposal required a 20 cost share which came from Dr Sharmas                                      JIP   on Hydraulic

    Fracturing      and       Sand    Control therefore            a larger share       of the   overall    funding        was
    allocated      to his portion       of the effort       From the beginning of the            project we have           held

    joint meetings with the              students         and postdocs        1 postdoc     and    2 students        for    Dr
    Sharma      and       2    students        for   my    effort     and     each   served      on   the     supervising
    committees of all            the students involved             Every paper that has been published from
    this   effort has         been   jointly    published        among     Dr Sharma myself and each                 of our

    students and postdocs
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Computational          Mechanics            536 12511264
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Journal     of Computational            Physics       261 209229
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Shock     testing     accelerometers           with   a Hopkinson          pressure bar                                                              Harry Mewater

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Parldrarnic         beams a non ordinary                  stale   based model                                                                        Jam Osten
di   OGrady J Foster                                                                                                                  14      2014   John    M Emery
International       Journal     of Solids      end    Structures        5118      31773183                                                           Won P Nguyen

Perldynamic         plates    and     flat shells     a non ordinary         state   based model
     OGrady 1 Foster                                                                                                                   12     2014

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Dynamic crack          edam toughness of 4340                      steel    at constant       loading       rates

iT    Foster     W Chen VK Luk                                                                                                                2011

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nanocomposibes
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R Rahman           JT Foster A Hague

The    krona       of Physical        Chemistry       A 117       26 63445353
Dynamic crack mentors                 toughness          Experiments        and peridynamic            modeling
it    Foster                                                                                                                                  2009

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Modeling       Loose     Joints     in Elastic      StructuresExperimental                Results and

Validation
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IT Foster AA          Whored CNS Wong                  MT Bement
Jamie of Vibration            and Contra            1544 549566

A Peridriamica model for the propagation                          of    hydraulic fractures       in

heterogeneous           naturally      fractured       reservoirs
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A May coupled          porous flow and geornechanice                     model   for fluid driven           cracks    a

peridynamics          approach
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Computational          Mechanics            683 561576
Comments          on the validity of test           conditions     for   Kolsky bar testing of elastic
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Experimental          mechanics        52G          15661563


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massively        parallel   computational           peridynamics         code
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Computer         Methods      in   Applied Mechanics              and Engineenng          279 247267

A mulliscale       modeling        whine        based on peridynamic             theory
R RaivneniT            Foster A Hague                                                                                                         2014

International       Journal     for Multecide          Computational         Engineering        1231

Constant stran rate            testing       of a 610 laminate          composite       through optimized

Kolsky      bar pulse shaping techniques
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Dynamic        Initiation    Fracture        Toughness of High Strength              Steel     Alloys
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Sandia      National     Laboratories          Albuquerque          NM Sandia National Laboratories

Making         and experimental              verification   of frictional     contactimpast            in   loose



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bolted joint      elastic    structures
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A Variationally        Consistent Approach               to Constrained         Motion

JT Foster                                                                                                                                     2016

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                                        PGE Budget Council Statement
                                                                 For
                                                         John Foster
        Academic Advising Counseling and Other Student                                                         Services



Dr Foster currently                supervises 7   PhD students     and 2     MS student He supervises 7 of the
students    as a sole supervisor in the Department of Petroleum and Geosystems Engineering

PGE while the other 2 students were co supervised                    with another PGE faculty member Another

is   an engineering mechanics              student at   UT that Dr Foster was invited to co supervise As an
assistant   professor at            UT San Antonio      and Austin he has completed the supervision                of 1   PhD
student     and 5 MS students             All of the students were         funded    by Dr Fosters research program Dr
Foster has also served on the supervisory committees for 2 students                             in the   PGE department and
was a reader for a MS thesis in the                 PGE department


Dr Foster meets on a weekly                 basis   with his graduate      students    to    review their research    progress
and also has monthly meetings with                   his students    and members from the companies               that    sponsor
his   research activities            He seeks advice from the companies              and provides opportunities          to   present

their   findings to the industrial partners             As a result of such meetings with industry members

some of Dr Fosters students have had the opportunity                          to   obtain summer internships in

companies


As a service       to   the graduate      students    at The   University     of Texas       at Austin   he has served on the
PGE Graduate            Admissions Committee and the               PGE Department Awards Committee He has
been involved           in   the   PGE Undergraduate Studies Committee                and the Cockrell School

Engineering Honors Committee Dr Foster has a group of 4 undergraduates                                     that participate     in

his   research    team He also counsels              undergraduate     students     in matters related to      application      for


graduate     programs as well as job opportunities and                  further     career    developments


Dr Foster maintains a blog for graduate                   students that contains        various useful code snippets

examples and resources                 primarily targeted      at students   and researchers       working    in scientific


computation


Concluding Remarks
The Budget Council Tenure                  and Promotion Committee has determined                   that   Dr Foster meets or
exceeds     all   expectations for promotion The               PGE Budget Council             Tenure     and Promotion

Committee therefore recommends without reservation his promotion                                   to   the rank of associate

professor




Kamy SepehmtCori Chair
PGE Tenure and Promotion                   Committee
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      Candidates Statement on Advising Counseling and Other

                                                                       Student                      Services


                                                                      John T Foster                    PhD PE

Introduction             I       find       interacting               with          students outside of the                           classroom               both    in      a formal

advisory     setting             as well              as    in       informal             roles to be the                most rewarding                        part       of being       a

professor         The        ability             to      observe            and           assist       students          in       developing              into       independent
researchers thinkers and problem solvers was a major motivating factor in my decision                                                                                                  to

leave    Sandia National                        Laboratories and join academia                                     in    2011           I    view the students as the

primary product                   of       my research                  and teaching                   efforts         and        I
                                                                                                                                      always treat them with                          the

utmost respect               I    make every effort to learn their names                                                in    class and take time to speak to

them in     the    hallways of CPE                               I   am thrilled                that    my office            is       on the 3rd floor of CPE just
down     the hall from the Caudle student center                                                    where     I
                                                                                                                  attempt to make daily walkthroughs
to speak     to the              students              I   have        an open              door approach                    to office            hours        and inform the

students in class that                      I   hope they will                      all   stop      by and ask questions of both a technical                                          and

personal      nature                  I    have        supported                    and      mentored              both           undergraduate                    and        graduate
students working                      in    my laboratory                   as        research          assistants and                  in    temporary              assignments
over     summer              sessions                  Likewise                 I     have          been      faculty             advisor           for       several           student

organizations           The               tables      below summarize                            my formal             advising efforts                   I   will    discuss         the

details of these endeavours                                in the      following                sections


Id also like to add that                         I   seek out opportunities                            to promote and assist students                                     I   have    two
graduate     students                     currently           working                 at    summer            internships                   that    were           brought about
through     my research                     connections                 I   have           helped       my own           graduate             students and others on

several    occasions              find          work       as summer interns at Sandia National                                              Laboratories through                     my
connections        I    never hesitate                       to take            the        time to write strong                        letters      of recommendations

for     students       seeking                  employment                      or        applying       to       graduate             programs                I    prepared          the

nominating        package                   for Nkemakonam                            Egboga         who was my TA in PGE 323M                                       in       Fall   2015

and     he was awarded                          the    William              S       Livingston          Outstanding Graduate                             Student              Academic

Employee     Award by the Graduate Student Assembly This award is given to one graduate
teaching    assistant in the entire university Nkemakonam was the first PGE student and the
first     Cockrell               School               of     Engineering                        student           to      ever              be      given           this         award



Advising graduate                          students Table 2 shows the details of the                                                   five       graduate          students that

have     completed               their degrees                       under          my     direct      and sole supervision                          I   provided              financial


support     for   them all throughout                                 their entire              programs initially                     for two of the students with

startup     money                in
                                          my     first
                                                           year at              UTSA         and then             with grants from                       AFOSR NETL                   and

Sandia National              Laboratories                    see Statement on Research

Most notable        is       James OGrady who was                                         my first PhD student He finished his degree in 35
years     during         which                  time        we         published                3    papers         in       some            of    the        top     journals         in


computational                and           solid      mechanics                     He     is    now     a    staff      member                  at the       Army Research
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Laboratory           My goal for all PhD                       students             is    to publish at least 3 papers                        in       good journals          I




firmly believe          that the             role of a         PhD     advisor              is   to seed ideas and                provide          mentorship but
allow the        students the                 creative          freedom to develop                           their    own        research              paths   The    PhD
degree to        me is a sortof certification                                 or endorsement by the advisor                                  department             school
and university              that       the        student has the                   skill   set     required          to do independent                    research           I




require       my PhD students to demonstrate this skill set and am committed to preserving the
quality            PhD programs am involved with Nevertheless
              of the                                  I
                                                                     encourage my students to                                I




move      to the next phase of their careers                                   when they have demonstrated                                   their preparedness

and have no interest                   in holding          back productive                       people to squeeze a little                       more out of them
The     ideal    PhD student                 in    my mind is one in which                              the advisors             primary role is to simply
tell    them when they are finished The single most rewarding accomplishment of my career
in     academia thusfar was to watch James grow intellectually to the extent that by the time

he was finished              he could regularly teach                           me new things

My goal for MS students is to publish at least one paper in a good journal Michael                                                                             Brothers

MS      thesis    research             resulted           in    a   paper            in     arguably the              best       journal          in    computational
mechanics         journal paper 10 on                          CV While Ive fallen short of that one paper goal in some
cases     I   believe       all    of the          students          research               that    I   have      supervised            is   publishable            and    in

most cases        we have              manuscripts still               in      preparation               held     up by the students                    departure         All

of the    MS students that                    I   have     supervised have                       done thesis options and have                              finished        in


appropriate          time scales for the required effort of a thesis ie 15                                                        25 years They have                      all


been      encouraged               and            allowed       to     present               their       work         at   national           and        international

conferences          which         I
                                       provided           financial           support to attend


I
     currently       supervise           and        provide          funding for a group of nine                                 students              see Table      3    in

Statement on Teaching                             seven of them as sole advisor                                 All    but two are PhD students and
those     two    are        likely      to continue              PhD program after completing their MS degrees
                                                                in   the

Jason York and               Michael              Brothers were both PhD students under my supervision at UTSA

and decided            to    move with me to UT Austin                                      This        has impeded their progress somewhat

requiring        new    courses and qualifying                            procedures particularly in the case of Jason                                         who had
already passed his qualifying                             exams at UTSA and had to retake them at UT Austin he has
since    passed Jason is expected                              to do an oral proposal in the                           Fall      of 2016          at which time he
will    advance to PhD Candidacy                               and will         likely           graduate       in    the Fall of 2017                 He has already

published        a     paper and              has    another           in      the        final    stage       of preparation                 awaiting         my final
edits as of this writing All of the                                 other students                  I   have      met and begun                   supervision        since

coming to UT Austin Sia Uppati                                 and Eric Lynd                will    earn MS degrees                in    the Fall of 2016 Eric

is                                admitted                                           as                                 fastrack                                     PhD


Advising undergraduates                              During my time in rank                              I   have sponsored four undergraduate

research        assistants working                    in       my lab The first                    Eric Briseno developed                          a graphical user

interface       for some optimization                          tools      I   had written and                 we published a paper together see
journal       paper 15 on               CV         based on the                 methodology                  we     developed           for doing an            a    priori

pulse shaper            design          for        Kolsky       bar           experiments            see Statement on Research Robert
Brothers        worked on code                      maintenance                 issues           and developed a new input system for the

open source code                  we developed                  Peridigm see Statement on Research                                                His contributions

have      been       permanently                   checked           in        to    the         code        base     This        can        be    verified     on        the
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contributors              page    for   the    code    at Githubl          Jason      Crandall           helped       translate          a    series of

Mathematica               notebooks      and     lectures         I   had previously            prepared into            what      is    developing
into an open source                book on numerical methods2 Additionally through my affiliation with
the    Institute          for Computational           Engineering and Science                    ICES         I   recently     Summer 2016
have     mentored a Moncrief Summer intern Sam Petzold He learned to program                                                             in   C++ with
the    dealll         finite    element library and               we    implemented             a    new      constitutive         model for the

high strain rate deformation                     of materials His contributions                        will   be added to a manuscript

as verification            solutions for the          new   constitutive         model that we plan to submit to a journal



Student organizations supervised The following                                       is   a   list   of student organizations which                      I




have served as primary advisor during                             my time in rank

1       Programming for Engineers                       Scientists        2016


2       Tau Beta           Pi   20132014       UTSA

3       Formula SAE Car Team 20132014                                 UTSA


                                              Table   1 Summary ofAcademic                     Advising


                                    Metric                                                                    Value

                                    Student      organizations advised

                                    Undergraduate           researchers           supervised

                                    PhD students completed

                                    MS students completed

                                    PhD students in pipeline                 as of   092016
                                    MS students in pipeline                as of   092016


                           Table 2 Completed Graduate                   Students Supervised by Candidate


                                                                          Start           Graduation
    Student     Name              CoSupervisor          Degree                                                                Placement
                                                                          Date                 Date

     James OGrady                                           PhD           82011               122014                Army Research Laboratory
    Arron Werthiem                                          MS           82011                122012                               KCI

       Jason   York                                         MS           82011                122012                         PhD   UTPGE
    Michael    Brothers                                     MS           82012                122013                         PhD   UT EM
    Md Imran Khan                                           MS           82012                122013                Global   Vacuum Systems Inc
    Amanda Peterson                                         MS           82012                52013                             Engility




1
    httpsgithubcomperidigmperidigmgraphscontributors


    httpsgithubcomjohntfosternumericalmethodsbook
2
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                                    PGE Budget Council Statement
                                                                   For
                                                         John      T Foster

     Service    to the University                    and         to the     Nation State and Community

This statement from the Budget Council reflects                       Dr Fosters administrative               committee   service     as

well as his academic         and professionally            related public     service



Dr Foster is an active        participant        in many of the departmental and college committees                          Within

the Petroleum     and Geosystems Engineering Department                           he serves on the undergraduate              studies


committee the graduate             admissions committee and the departmental awards                            committee Each of

these committees requires a significant                   commitment of time and effort Dr Foster has been an

active    and contributing        member of each of these important                assignments In addition             Dr Foster
serves on the college of engineering honors committee                          Dr Foster expresses             himself freely at

faculty    meetings and faculty          retreats    His comments always add something useful to the

discussion whether      it   is   about faculty      recruiting teaching          philosophies     or student       retention



At the national and     international        levels       Dr Foster has helped organize four international
conferences     and workshops and seven minisymposia He                            currently    serves as the conference

chair for the   US National         Congress on Computational                 Mechanics        a very well attended          and

prestigious    international       conference       to   be held in Austin In the past he has helped organize

workshops      related to    mesh free methods in computational                    science and engineering as well as

special symposia on multiscale modeling of dynamic material behavior                                 He was selected          to   serve

as   the Conference    Chair of the US Association                  for
                                                                          Computational Mechanics               USACM US
National    Congress on Computational                Mechanics         15   USNCCM 15 This               is   the flagship biennial

meeting for     USACM and           it
                                         very unusual for this responsibility to be placed                     on a young

Assistant Professor His service             to   the technical community            is   also reflected in his serving as a

reviewer to no fewer than           12 journals



In 2013     Dr Foster was named by the San Antonio business journal as their annual 40 under 40
award winner This award recognized                       his   contribution   in raising   significant        external research

funding     while at The University of Texas at San Antonio                       as well as his outreach          efforts   to

educate the general population about hydraulic                       fracturing   activities    in the   Eagle Ford shale




       y Sepehrno6ri     Chair

PGE Tenure      and Promotion Committee
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 Candidates Statement on Service to the University and to the

                                   Nation State and Community

                                                      John T Foster        PhD PE

Service to the PGE Department                              Since    coming to UT       PGE    I   have   served on the following
committees


1     PGE Undergraduate                 Studies     20152016

2     PGE Graduate Admissions Committee 20152016


3     PGE Department Awards Committee 20142016


Additionally      I   have   participated             in   the     preparing and grading of the math qualifying exam
and   have     suggested          and        helped        coordinate     the    visits    of several         seminar           speakers   In


general    I   would say     I   am engaged in supplemental department                             activities     at a level that only

a few other     PGE    faculty         members are            I
                                                                  try in earnest to attend        events like the distinguished

alumni dinner and alumni tailgate freshmen retreat SPE student chapter                                             activities         lunches

with invited speakers graduate                      recruiting        events    in PGE ASEEM                 and for the ICES CSEM

program etc



Departmental service                   at UTSA         I   served on the following          committees as a member of the

Mechanical      Engineering Department at UTSA

1     Graduate        Committee 20132014


2     Faculty Search         Committee 20132014


3     Department Promotional Activities 20122013


4     Seminar 20112012


Service to the School              and University As an                   assistant professor            I    havent been called on

very often to participate               in   committees above the department                      level although            I   have served

on the following committees


1     Cockrell    School Engineering Honors                         20152016

2     Undergraduate          Research Day Planning                    Committee 20132014                 UTSA

Additionally      I
                      participated           in   a panel     discussion       with the LEAD        board       a group of about 20

young     alumni       who       the    Dean        has     working      on     critical   projects          related   to       the   student

experience



Service to the Nation                  State      and Community            I    have   been   fairly     active   in   this      area for an
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assistant professor                    As one of the leading experts                    in   peridynamics research which is a small

group of people                   I   am often       called    upon          to review       articles   I   have     reviewed       12    papers   a

month        for       my    entire          time    in    rank    I    have      reviewed       papers       for the       following     journals

Computational Geosciences                           Journal of Applied Mechanics                   Computational Methods                 in Applied

Mechanics              and       Engineering              Journal       of Computational            Particle         Mechanics          Journal    of
Microelectromechanical                          Systems        Computational                 Mechanics         International           Journal     of
Fracture Applied Mathematics                                 Computation International Journal of Impact Engineering

Engineering            Fracture Mechanics                    Experimental Mechanics                 Review         of Scientific       Instruments
International            Journal             of Multiscale         Computational               Engineering         International        Journal    of
Solids      and        Structures             CMC        Computers           Materials           Continua Journal of Mechanics                     of
Materials      and Structures

I   have served on a National                       Science       Foundation            NSF panel for the Mechanics of Materials
program            I   have           reviewed           proposals          for   the   American        Chemical           Societys     Petroleum

Research Fund


I   have    been very active                  in   service   within the           computational         mechanics          community serving
as    a    member            of       American           Society       of    Mechanical         Engineers       ASMEs             Computational
Mechanics Committee CONCAM                                   as well as organizing several                    minisymposia at the ASME

annual conference                     and     USACM        biennial         national congress       A list     of notable         minisymposia       I




had a significant role in organizing                          is   given      below

1         Modeling of Material Failure Using Approaches                                        Beyond       Locality       A Celebration of Dr
          Stewart Sillings 60th Birthday To be held ASME                                       IMECE2016


          Advances          in Galerkin            and Collocation           Meshfree        Methods        WCCM     2016

          Corrosion          Damage                and    Stress       Corrosion         Cracking       Experiments               Modeling       and

          Computations                 ASME IMECE2015

          Advances           in        nonlocalperidynamic                    modeling          Symposia        in   honor        of   Dr Stewart

          Sillings 55th birthday                    ASME IMECE2012

          Multiscale         methods and                  nonlocal          theories     for    complex       material       behavior       USACM
          USNCCM12

6         Multiscale         Modeling of Dynamic                   Material Behavior             SEM Annual Conference 2014


7         Multiscale         Modeling of Dynamic                   Material Behavior             SEM Annual Conference 2013

8         Multiscale         Modeling of Dynamic                   Material Behavior             SEM Annual Conference 2012


More        notably          I        have    organized        several            Thematic       Workshops           for    the    United    States

Association            for Computational                  Mechanics          USACM including the following
1         Workshop           on Isogeometric Analysis and Meshfree                               Methods


                       To be held at UCSD October                       1012 2016

                       httpigamfaisacmorg
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2     Workshop        on Meshfree        Methods for Computational Science and Engineering


                   Held at UCF October          2728 2014

                   httpmmicse2014usacmorg

3     Workshop        on Nonlocal       Damage and         Failure Peridynamics and other nonlocal                       models

                   Held at UTSA Downtown            Campus March            1112 2013

                   httpndf2013usacmorg

The    most significant        service    is    ongoing    as   I   will   be the Congress Chair                for   US National

Congress on Computational                Mechanics        15   USNCCM 15 to be held in Austin TX July 28
August      1 2019         Bringing    this    conference       to Austin     was      a   competitive         process   where    a

formal      pre proposal and proposal were written completely by                               me other than           the   budget
for   the    proposal and        the    voting     members          of   USACM     selected         Having     this   congress   in

Austin      will   bring   significant    continued        recognition       to   UT       Austin   as   the   world leader      in


computational         mechanics        My      early career     service     to    USACM       is   likely   unmatched        among
assistant professors in the            US
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                                   PGE Budget Council Statement
                                                                  For
                                                          John Foster
      Honors and Other Evidence of Merit or Recognition                                                        Including

                                              Contracts            and Grants

Dr John Foster has been very successful                    at attracting    research    funding     from various

governmental sources        and     oil   and gas companies The total research funding he has brought                             in

while at the University of Texas             at   San Antonio       and Austin is $1029            million Of this his share           is


$24   million Most of these grants were awarded                      while he was at        UT     San Antonio       During      his

two years in Austin while in rank as an assistant professor                        in the   PGE department he has been
able to attract over     $463927          dollars   as his own share of funding In addition he is a participant

on a Department of Energy            DOE contract and              is   getting   funding     for two    graduate     students    from
the Joint Industry     Project     JIP on Hydraulic              Fracturing and Sand Control             What is particularly

impressive about his research             funding    is   that   he is raising funds from sources such               as   the

Department of Defense          DOD which have                traditionally not      been a source        for funding       for

Petroleum Engineering          faculty      In particular he has received              a $345000        contract    from the Army
Research     Office



His technical expertise      is   highly valued           among his peers and he has served               as a reviewer for

many journals including           Computational            Geosciences       Journal of Applied Mechanics

Computational        Methods      in Applied Mechanics             and Engineering Journal of Computational

Particle   Mechanics      Journal of Microelectromechanical                   Systems Computational                Mechanics       Int

Journal of Fracture       Applied         Mathematics            Computation International Journal of Impact
Engineering      Engineering       Fracture Mechanics              Experimental        Mechanics        Review of Scientific

Instruments     International      Journal of Multiscale            Computational        Engineering International
Journal of Solids and Structures              CMC Computers Materials                       Continua Journal of Mechanics
of Materials and Structures


Dr Foster has been particularly active                in organizing        highly regarded technical          conferences        and

workshops      including
      1    Conference Chair US National               Congress on Computational                  Mechanics 15 To be held in

           Austin TX July 28 August                 12019
    2      Workshop on Isogeometric Analysis and Meshfree Methods Sponsored                                        by the US
           Association    for Computational           Mechanics          To be held at UCSD October                 1012 2016
    3      Workshop on Meshfree Methods for Computational                           Science      and Engineering Sponsored

           by the US Association           for   Computational          Mechanics      Held   at   UCF October 2728 2014
    4      Workshop on Nonlocal Damage and Failure Peridynamics and other nonlocal models
           Sponsored     by the US Association             for   Computational      Mechanics         Held   at    UTSA
           Downtown      Campus March 1112 2013


He has also been       responsible for organizing several                 important minisymposia

      1    Modeling    of Material Failure Using Approaches                   Beyond Locality            A Celebration of Dr
           Stewart   Sillings     60th
                                          Birthday    to   be held      ASME IMECE2016
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    2   Corrosion Damage and Stress Corrosion Cracking Experiments Modeling and
        Computations ASME IMECE2015
    3   Advances     in nonlocalperidynamic        modeling Symposia     in honor   of Dr Stewart Sillings

        55     birthday ASME IMECE2012
        55th

    4   Multiscale   methods and nonlocal theories for complex material behavior           USACM
        USNCCM12
    5   Multiscale   Modeling of Dynamic Material Behavior SEM Annual Conference 2014
    6   Multiscale   Modeling    of Dynamic Material Behavior       SEM Annual Conference 2013
    7   Multiscale   Modeling    of Dynamic Material Behavior       SEM Annual Conference 2012
    8   The technical organizing committees for US National          Congress on Computational

        Mechanics     ASME IMECE2015          and IMECE2016



He has also presented many invited talks at technical meetings and universities worldwide

He was recognized in 2015 by the Society of Petroleum Engineers with the Petroleum
EngineeringInnovative Teaching Award He is also the recipient of the 2013 Young Investigator

Award from the Air Force Office of Scientific Research He is listed in the San Antonio Business
Journal in the 40 under 40 list    of successful   young professionals


Concluding Remarks
Based on an examination       of the documents     submitted   Dr Fosters record meets or exceeds the
requirements    for those   of an associate professor in POE The     POE Budget Council      Tenure    and
Promotion Committee therefore fully          supports   his promotion to   the rank of associate   professor




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Kamy Sepehgtoori Chair
POE Tenure and Promotion         Committee
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       Candidates Statement on Honors and Other Evidence                                                                                               of

            Merit and Recognition                                       Including                 Contracts                     and Grants

                                                           John T Foster              PhD PE

Since       becoming           an assistant professor               in      the    Fall   of 2011            I    have    rapidly demonstrated                   an

ability      to acquire            funding from multiple sources across                                 a wide           spectrum of fundamental
research           I   am a 2013           Air Force       Office       of Scientific        Research                 AFOSR         Young       Investigator

Awardee            In    addition        to AFOSR      I   have     received          funding from Sandia National                              Laboratories

SNL Army Research Laboratory                             Army Research Office The National Energy Technology
Laboratory               and       GE     Global    Research   was an equal share co PI for a prestigious
                                                                        I




Multidisciplinary                  University Research             Initiative         MURI award                        With everything taken                into

account        I   have been awarded                over $2 million in funding                         for       my research as PI and over $10
million as co            PI    I   have been awarded              these grants at both                  UTSA and UT Austin with several

spanning           my time at both universities

In   the Fall of 2015               I
                                        brought together a group of five world class researchers most chaired

andor full              professors and lead as                PI    a proposal effort for a second                              MURI Our team was
down selected from a prepropsal stage of about 15 to be 1 of 3                                                           invited to compete            for the

$65     million award                   Ultimately our proposal was scored well but not selected                                                for   funding
However            this     effort and followup             contacts            with the program manager lead to the single PI

ARO        project       The       main reason        for    mentioning              this   is   that        it   is    virtually     unheard of for an
assistant professor to attempt                        to lead           or be competitive                in       a    prestigious         MURI    proposal
This       demonstrates the                 confidence        my        colleagues          and    the           Department of Defense                  DOD
program managers                    have     in   my technical          skill      and leadership ability


I    have    given          numerous         invited       talks    at universities                research              centers          and   conferences

including              places      like    the     worldrenowned                    engineering                  programs        at       Catech      and        the

University of Illinois                   see CV for complete                list


I    was    recently        selected        after a competitive                   process    to be the                 Conference          Chair of the          US

Association             for Computational            Mechanics              USACM US National                           Congress on Computational
Mechanics              15   USNCCM 15 As this                      is   the       flagship       biennial             meeting    for       USACM       it   is   an
honor that the society                     placed    the    leadership of this congress                            in    my hands a responsibility
not often bestowed                      on an assistant professor


I    was    recently        awarded          the    Society    of Petroleum Engineers                                 Faculty    Innovative        Teaching
Award for 2015                 in recognition        of my use of technology                      in   the classroom


In    2013     I       was named by the San Antonio business journal as on of their annual 40 under
40 award                winners This was given primarily for my recognition in raising significant

external research                  funding while at UTSA                    but also has a nice community service                                component
to the      competitive             process that recognized                     some of the outreach                      efforts     I   had participated

in   regarding education                   on hydraulic fracturing                  activities     in    the          Eagle Ford Shale           region
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A short summary of significant honors is

    2015 SPE Petroleum Engineering Innovative           Teaching Award


    2013 Air Force   Office   of Scientific   Research Young Investigator Award


    2013   40 Under 40        San Antonio Business Journal
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                                                              LETTERS RECEIVED

                    A minimum of four review             letters        should be    listed   alphabetically with          affiliation   etc




 Name of reviewer              Brad Boyce Distinguished                    Member     of the Technical         Staff      Sandia National      Laboratories

     rank or title

     department

        university

  Brief statement of           Computational         mechanics            expert from a national laboratory

expertise   and reason
    for   selection

   Other relevant

   information

   Nominated        by         Candidate

 Date   letter   received      July 22        2016



 Name of reviewer              Lee Chin Senior Fellow Retired ConocoPhillips Company
     rank or title

     department

        university

  Brief statement of           Professional       researcher            expert   in geomechanics       and hydraulic fracturing

expertise and      reason

    for   selection

   Other relevant

   information

   Nominated        by         Budget Council
 Date   letter   received      July 24        2016



 Name of reviewer              Emmanuel           Detournay              Professor      Department           of     Civil        Environmental      and   Geo
    rank or title              Engineering University of Minnesota

     department

        university

  Brief statement of           Theoretical       and computational               mechanics     expert experienced           in   hydraulic   fracturing


expertise   and reason         applications peer institution
    for   selection

   Other relevant              National       Academy of Engineering
   information

   Nominated        by         Budget Council
 Date letter     received      July 20        2016




 Name of reviewer              C Armando Duarte Professor Department                                 of     Civil   and     Environmental       Engineering
    rank or title              University       of Illinois        at Urbana     Champaign
     department

        university

  Brief statement of           Respected        computational            mechanics expert       at   peer   institution


expertise   and    reason

    for   selection

   Other relevant              UT Austin graduate              Engineering          Mechanics

   information
   Nominated        by         Candidate

 Date   letter   received      August     9 2016



Provide additional       detail   for         reviewer   not       at   a peer   institution
                                        any

   Provide       explanation   for any   reviewer     not     at   arms length
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 Name of reviewer                   Derek    Elsworth        Professor         Energy    and     Mineral     Engineering     Geosciences      and    Ci    i   I




    rank or title                   Engineering       Penn    State     University

        department

        university

  Brief statement of                Geomechanics expert            in
                                                                        peer
                                                                               institution


expertise and reason

    for selection


   Other relevant               National       Academy        of Engineering

   information
   Nominated         by             Budget Council

 Date    letter   received      July 21        2016



 Name of reviewer               Ahmad Ghassemi Professor Petroleum                           Engineering University of Oklahoma

    rank or title

        department

        university

  Brief statement of            Numerical        modeling expert experienced                 with   poroelasticity and hydraulic    fracturing      peer

expertise    and reason         instituation

    for selection


   Other relevant

   information

   Nominated         by         Budget Council
 Date    letter   received      August        16 2016

 Name of reviewer                   Peter Vallco Professor Petroleum                Engineering Texas         AM      Engineering

    rank or title

        department

        university

  Brief statement of            hydraulic        fracture    modeling       expert and       classical   textbook   author peer institution

expertise    and reason
    for   selection

   Other relevant

   information

   Nominated          by        Budget        Council

 Date    letter   received      July 28        2016




Provide additional                         any reviewer not at a peer institution
                           detail    for


   Provide        explanation   for any      reviewer   not   at   arms length
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                                                                     DECLINATIONS

             Those declining           to   provide     a review     letter   should be   listed   alphabetically with      affiliation   etc



 Name of reviewer                    Rick   Dean      Senior Research         Engineer ConocoPhillips          Company
     rank or title

     department

        university

  Brief statement of                 Expert    in   fracture


expertise    and reason
    for selection


   Other relevant                    Member of UTs Center              for Mechanics      of Solids     Structures   and Materials
   information

   Nominated      by                 Budget Council
  Declination        date        June       20 2016      said   was not well read on        the    specialty   of the candidate

 received   and reason



 Name of reviewer                    Stephen    Holditch       Professor Petroleum         Engineering Texas         AM       University

     rank or title

     department

        university

  Brief statement of                 Expert    in   petroleum    engineering      with considerable      experience    in   hydraulic fracturing

expertise    and reason
    for selection


   Other relevant                National           Academy     of Engineering

   information
   Nominated      by                 Budget Council

 Declination         date        July       5 2016 Lack of expertise in candidates discipline
 received   and reason



 Name of reviewer                    Michael    Ortiz Professor Aeronautics               and Mechanical       Engineering Caltech

     rank or title

     department

        university

  Brief statement of                 Expert    in   computational      mechanics

expertise    and reason
    for selection


   Other relevant                National           Academy of Engineering
   in


   Nominated      by                 Candidate

  Declination        date            August 28 2016 Lack of expertise
 received   and reason




Provide additional                          any reviewer not at a peer institution
                            detail    for


   Provide    explanation        for any      reviewer    not   at   arms length
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 Name of reviewer                John       Rudnicki Professor Civil and Environmental                    Engineering Northwestern            University
     rank or title

     department

        university

  Brief statement of             Geomechanics            expert

expertise    and reason
    for selection


   Other relevant                    National   Academy         of Engineering

   information
   Nominated      by                 Candidate

  Declination        date        June       20 2016 Lack         of expertise     in   candidates    discipline

 received   and reason


 Name of reviewer                    Mohamed Soliman Department Chair Petroleum                          Engineering University of Houston

     rank or title

     department

        university

  13rief statement     of            Experienced     in hydraulic fracturing           and modeling

expertise and reason
    for selection


   Other relevant

   information

   Nominated      by             Chairman
 Declination         date        July 25        2016 Feels       not   related   to   petroleum     engineering

 received   and reason




 Name of reviewer                    Azra Tutuncu        Professor Petroleum            Engineering Colorado           School of Mines

     rank or title

     department

        university

  Brief statement of                 Specializes    in   rock mechanics applications           in   petroleum     engineering considerable          industry

expertise    and reason              experience working          for Shell   before     moving to CSM
    for selection


   Other relevant

   information
   Nominated      by                 Chairman

  Declination        date        July       16 2016 Lack of knowledge                 of candidate

 received   and reason



 Name of reviewer                    Mark Zoback         Professor Geophysics             Stanford    University

     rank or title

     department

        university

  Brief statement of                 Widely recognized          geomechanics          expert with experience      in   petroleum   and other geo

expertise and reason                 applications
    for selection


   Other relevant                National       Academy         of Engineering

   in


   Nominated      by                 Candidate

  Declination        date        July       12 2016 On       trek in    Pamir Mountains Tajikistan              and    lack of familiarity   with

 received   and reason           candidate




Provide additional                          any reviewer not at a peer institution
                            detail    for


   Provide    explanation        for any      reviewer    not   at   arms length
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                                                                 NO RESPONSE

 Those not responding      to the      request   to provide      a review   letter   should   be listed alphabetically with affiliation    etc




 Name of reviewer               Rod Clifton Professor Professor Emeritus Engineering Brown University
    rank or title

     department

     university

  Brief statement of            Professor Cliftons primary research             is   on the mechanical response of materials      at very


expertise and reason            high loading     rates Applications         include    high speed     machining armor penetration        shear

    for selection               band formation martensitic             phase transformations elastohydrodynamic            lubrication    and

                            dynamic        fracture

   Other relevant               Pioneer   in   hydraulic    fracture   modeling      in the   1980s   National   Academy   of Engineering

   information

   Nominated      by            Candidate




Provide additional                     any reviewer not at a peer institution
                       detail    for


   Provide   explanation    for any      reviewer   not    at   arms length
                        Case 1:19-cv-00877-RP Document 69-9 Filed 02/23/22 Page 99 of 159



                        DEPARTMENT                   OF PETROLEUM                    AND GEOSYSTEMS ENGINEERING

                        THE UNIVERSITY                               OF TEXAS AT AUSTIN


                         CPE 2502             Austin      Texas       78712         512 4713161                     7ilefax        512 4719605



                                                                                                                                                                               July     9 2016
Dr Brad Boyce
Distinguished Member of the Technical                                 Staff

Sandia National              Laboratories

blboycesandiagov


Dear Dr Boyce


The Department                of Petroleum                 Geosystems               Engineering          at    The University of Texas                            at    Austin    is    considering           Assistant

Professor         John Foster for tenure                and     for advancement               in   rank       to    the position of Associate                          Professor        We would appreciate
your candid             assessment        of    his   scholarly             contributions          to    assist      our decision                 making         process         Excellent       teaching         is    an

important criterion              for   promotion but our evaluation                       of teaching              is   being carried              out separately              and we are asking you only
for information              about      his    scholarly            distinction        Copies           of   Dr      Fosters             curriculum             vitae    and    several     recent           papers    are

enclosed         for your     review


UT    Austin normally considers                       a   faculty        member for           promotion              to    associate              professor          upon     completion      of    five       years    in


probationary            status    Dr Foster had completed                           three years as an               assistant           professor          at   UT     San    Antonio prior to joining                 UT
Austin      in    September       2014 completing                    five   years as an       assistant            professor            this   spring           Therefore       this    review     is   taking    place

at   the normal time for tenure evaluation                             Any comparisons                  with
                                                                                                               peers
                                                                                                                           should be based                  on the years of service              in probationary


status     as an assistant professor rather than the total years of post doctoral                                                       service



For Your Letter                    First please            briefly       describe your expertise                        and    position             Then we would appreciate                       your opinions

regarding         Dr Fosters           major engineering                andor        scientific         contributions                   In   preparing          your assessment           please consider              the

                                  as well as including any other                                   you deem salient
                                                                                       factors
following         questions



       1         Do you know Dr Foster and if so for how long and under what circumstances
       2         What are the original innovative andor important contributions                                                    that      he has    made in his field of research Have                              his


                 publications      influenced         the thinking            of or the methods used by you or others                                       in your      field

       3         How would you assess Dr Fosters development                                       compared with others in his cohort                                   at   research intensive

                 universities

       4         What    is your       perspective        on Dr Fosters promise for further professional                                            growth       and     leadership



The more specific              you can be in your comments the more helpful your evaluation                                                         will    be


Under the laws of the                  State    of   Texas          Dr Foster has the right to request to see any materials in his personnel                                                       file       including

your   letter          Members of our faculty                  and     internal      review    committees                who       see your letter              as part of the promotion process                      will

hold the comments                you make in confidence                      however


Deadline               For your evaluation                to   receive       full   consideration             we would              like to        receive       a signed      letter   from you by July 25
2016        It    is   not   necessary for you                 to    send    us a hard        copy       of your          letter             an    electronic          or scanned        version        is   sufficient

                         institutional letterhead               and                            are included                   In   addition please enclose                                of a short version            of
provided your                                                           your signature                                                                                         a copy


your curriculum vitae or résumé preferably no longer than two pages                                                                If   you have questions                   please call    me at the number
given on the letterhead



Thank you for your time and assistance with this important matter                                                         As faculty members we realize that the amount                                         of time

required         to   do a thoughtful          review     is   considerable



                                                                                                   Sincerely




                                                                                                        n E Olson PhD PE
                                                                                                        hairman          and Frank             W    Jessen Professor

                                                                                                   The Lois and Richard                           D Folger Leadership Chair
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                                                    List of Materials        Sent to Reviewers



                                                                 John T Foster




1   H Ouchi JR York A Katiyar JT Foster and MM                                     Sharma      A fully coupled      porous
                                                                                                                                   flow   and    geome
    chanics      model     for fluid   driven     cracks    a peridynamics         approach      Computational       Mechanics             553561
    576 March 2015 doi 10                         1007s0046601511238

2 A    Katiyar      JT      Foster       H    Ouchi     and      MM Sharma            A peridynamic        formulation        of    pressure driven

    convective     fluid    transport        in
                                                  porous media          Journal    of Computational         Physics     261209229                March

    2014 doi        10      1016j          jcp      201312039

3 JT        OGrady         and     JT        Foster           Peridynamic         plates   and    flat     shells   A    non ordinary             state

    based        model           International       Journal       of    Solids    and     Structures       51252645724579                        2014

    doi     10    1016j          ijsolstr2014                 09    003


4 JT      Foster         SA      Silling      and   W      Chen         An   energy    based     failure    criterion   for    use        with   peridy

    namic states            International         Journal   of   Multiscale       Computational      Engineering        96675688                  2011

    doi     10    1615IntJMultCompEng                         2011002407


5 JT      Foster     SA       Silling    and      WW Chen          Viscoplasticity     using   peridynamics         International Journal           for


    Numerical Methods             in   Engineering      811012421258                  2010 doi10           1002nme            2725




                                                                         1
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                                                                                                                                          Sandia       National                Laboratories

                                                                                                                                                     ted for   the U S       De alment of Energy by
                                                                                                                                                           Sandia        Corporation


                                                                                                                                                   Albuquerque     New       Mexico        871850889

  date              July 22 2016


      to            Prof Jon E Olson and tenurepromotion evaluation committee


  from              Brad L Boyce Distinguished                                  Member          of the Technical                   Staff Sandia          National             Laboratories




subject             Recommendation                      of Prof John             T Foster for Tenure and Promotion to Associate Prof


                    I   am writing this letter                   to    recommend          Prof John              T Foster for tenure and promotion to the Associate
Professor                rank       in   the    Department              of Petroleum                  Geosystems               Engineering at The                  University                 of Texas      at

Austin

                    First       regarding         my own              background         and qualifications                    I   have a PhD         in   Materials Science from the

University                 of California                at      Berkeley           I    hold        the       position        of     Distinguished             Staff         at       Sandia       National

Laboratories in Albuquerque                                     NM       a special appointment                    restricted         to   <10 of the RD scientistsengineers
at   Sandia                I    am primarily known                       for
                                                                                my      contributions            at      the intersection          of experimental mechanics                              and

material                science          in   this   realm        I   have      published >85                 articles     with      an    H index of 28                 I    am also known                for


leading             the Sandia Fracture                         Challenge            a voluntary              consortium involving                  30+     institutions                   throughout the
world including Prof                            K Ravi Chandar at UT Austin
                    I    have       known        John           for    more than          9 years              throughout           his     employment            at     UT Austin UT San
Antonio Sandia National Laboratories and during his graduate                                                                  studies       at   Purdue University                         During Johns

early          career          at   Purdue and Sandia                    I   observed         his    research efforts on several                      closely related                      projects    at the

lab        I   am familiar with Johns work in penetrator                                            mechanics             intentionally           unpublished                for national          security

concerns                  his graduate           work on dynamic fracture                            and some of his more recent work on the implementation

and development                          of peridynamic                computational            methods              I   have been          consistently         impressed                  with the level

of quality of Johns                     work and his mastery of diverse subject matter
                    While           we never directly collaborated my closest interaction                                                  with    John came as                   I   led    a project on

independent                    experimental validation of computational                                        methods        to predict ductile            tearing               In spite        of Johns

brief          tenure          at    Sandia          he had           already    established              himself as           the internal expert                     on      the         application      of

peridynamics to problems                                in      fracture        While Dr             Stewart          Silling      invented        peridynamic               theory          at   Sandia     it



was      clear           that       Stewart     deferred          to    John with regard to                    how best to apply                 peridynamics to fracture                         of ductile

metals                  As an experimentalist                     I   found     discussions          with John to be a great learning opportunity his mastery

of peridynamic theory                           allowed him to convey                         the   technique            at   any level from the simplest conceptual                                     level

to   the detailed                   mathematical               derivations           Moreover             I    found       Johns          dual   expertise       with both                 computational

and experimental methods                                  to    be a rare and powerful                     combination                He is simultaneously                        quite      practical     yet

steeped in rigorous theory                                   When       John     left   Sandia several years                       ago he left       a vacuum                of expertise          that   has

been difficult                  to replicate

                    John       has                    demonstrated               research                            not      only    at    a national         lab       but          in    the   academic
                                         clearly                                                    prowess
environments                    of UT San Antonio                       and UT Austin                It   has been a pleasure to watch                         Johns impact broaden                         in

recent         years            For example               in recent          years John has extended his expertise                                in Peridynamics into the                         realm of

multiscale                materials           simulations                relevant        to    a national            initiative       in    Integrative         Computational                     Materials

Engineering                    ICME             Quantitatively                John has obtained                  10 grants at an impressive hit rate of                                      40 taught
7 different                course         topics        advised          18     graduate        students             published            22 journal       articles           edited          a book      and

written             a book           chapter          These are accomplishments                               that    seem commensurate                    with      the          tenure       promotion
What           is       particularly          telling      is   that    at least     two of Johns major research                              projects      come         as       a sub investigator

on a much                  larger effort             in    those cases           top     professors             sought out Johns                  capability       as        a clear         rising star


                                                                         Exceptional      Service         in   the National        Interest
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                                                                                                                                               July 22 2016




They    risked engaging            a new professor at a midtier university because                         they were convinced               that       John would

make a substantial            technical        contribution

          At Sandia a promotion                   evaluation        is   of course used to reflect on an employees                  performance              but also

to   contemplate            the   opportunities       for   expanded          impact    in    the   new    position         While     this    is        intrinsically

speculative      it    is   valuable      to   evaluate     the    employees potential              In this   regard    I   believe    that     Johns         career

trajectory     has tremendous             headroom            It   is   exciting   to learn   about Johns recent interactions                with        GE Global
Research        Connections          to   industry in areas              of relevance   such as hydraulic fracturing are anticipated                          to lead

to patentable         economic      impact         In this anticipated         growth trajectory          John has strong entrepreneurial                    acumen
that   has been relatively untapped heretofore

          In
               summary I unequivocally recommend                              Prof John       Foster   for tenure     and promotion                 I    am excited
for Johns      continued          growth       in this next    phase of his career
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                                                               Monday September 12 2016 at 23538 PM Central Daylight Time


Subject     Fwd EXTERNAL                promotion     letter   request

 Date       Friday July 22         2016     at   30923 PM      Central Daylight    Time

 From       Olson Jon

To          Stickney    Stephanie


EYI


Jon   E Olson    Chairman     and Professor

Petroleum        Geosystems Engineering

The   University   of Texas   at   Austin

Sent from my iPhone



Begin forwarded      message




         From Boyce       Brad         L <blboycesandiaRov>
         Date July 22 2016         at    115128 AM CDT
        To Olson Jon          <jolsonPaustinutexasedu>

         Subject    RE EXTERNAL             promotion letter      request




         Jon



         Please find the requested               promotion     letter for John   Foster   and short CV attached



         Cheers

         Brad




         Brad   L Boyce       PhD
         Distinguished      Member          of the Technical     Staff


         Sandia National Laboratories

         PO Box 5800 MS0889
         Albuquerque          NM 871850889
         ph 5058457525
         fax 5058447910

         cell   5053663332
         email blbovcefsandiagov




         From Olson Jon fmailtololson0austinutexasedul
         SentSaturday July 09 2016 445 PM

         To Boyce      Brad L

         Subject      RE EXTERNAL                promotion   letter   request



         Thanks so     much        I
                                       appreciate    your help        Jon



         Jon    E Olson PhD PE


                                                                                                                    Page 1 of 3
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Chairman and Professor

Petroleum and Geosystems                  Engineering

The University of Texas        at       Austin

5124717375



From Boyce        Brad L rrnailtoblboycesandiagov

Sent     Caturday   July 119       701941 PM
To Olson Jon
Subject     Re EXTERNAL                 promotion       letter    request



Happy to oblige


Brad


                0IP                                          NO000


Brad   L Boyce PhD
Distinguished     Member           of the Technical           Staff


Sandia   National    Laboratories

PO Box 5800 MS0889
Albuquerque         NM 871850889
ph 5058457525
fax 5058447910

cell   5053663332
email blbovcePsandiagov
                evIVISII0100

On Jul 9 2016       at   633   PM Olson Jon lolsonPaustinutexasedu>                                wrote



         Dear Dr Boyce             I    have attached         a letter requesting you to write a           letter   evaluating

         one of our assistant             professors John Foster who is going up for promotion                          I   have

         also attached       his       CV and a link to 5 recent            significant   papers by Dr Foster



         The academic        promotion process depends                       heavily   on the   role   of outside    impartial

         evaluators      I

                             hope we        can count         on you    to help




         Thanks so much            for your      time and consideration                Please   respond   to this email as

         soon as is convenient             as to whether           you can participate          The deadline we are

         requesting for the             letter   is   July   25


          Jon



         Link   to Foster    papers        too large to attach          to    email
         httoswwwdrooboxcomsh8xn9givuk4vuc67AAAf7vUOKoutKeGvXGPiehD                                                          a
         d1=0




         Hook       em
         Jon    E Olson PhD PE
         Chairman and Frank               W Jessen Professor
         Lois   K and Richard D Folger Leadership                       Chair




                                                                                                                                   Page 2 of 3
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    Petroleum and Geosystenns        Engineering

    The University of Texas   at   Austin

    Austin TX 78712
    5124717375
    wwwpgeutexasedu



    <FosterCV20 t6 p

    <FosterBoycepdf>




                                                                     Page 3 of 3
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Brad L Boyce                         Ph D                                                                             Sandia National         Laboratories

                                                                                                                                            PO Box 5800
                                                                                                                                            Mailstop 0889

                                                                                                                         Albuquerque            NM 87185
                                                                                                                                            5058457525
                                                                                                                               blboycesandiagov
EDUCATION
  University of California             at Berkeley

       PhD in Materials Science                 and Engineering 2001                           summa cum laude                GPA 393400
                          Minors      Statistics         and Mechanical            Engineering

              Thesis      Understanding               Impact Induced Fatigue            Failure

              Advisor      Prof Robert         0 Ritchie
              Committee          Profs     R Gronsky CKH Dharan RO Ritchie
       MS      in   Materials Science          and Engineering              1998

              Thesis High Cycle            Fatigue       Thresholds         in a   Turbine    Engine   Titanium       Alloy

              Advisor      Prof Robert         0 Ritchie
              Committee          Profs     AW Thompson JW Morris CKH Dharan RO                                          Ritchie

 Michigan Technological                  University
       BS     in    Metallurgical Engineering 1996                                             summa cum laude                GPA 399400

RESEARCH EXPERIENCE
Distinguished         Member         of the Technical          Staff Sandia National Laboratories                      2014 present
              Special     appointment restricted              to   <10 of the Sandia technical                stall

Principal      Member          of the Technical           Staff Sandia            National Laboratories        2005      2014
Senior    Member         of the Technical              Staff Sandia National Laboratories                    2001     2005
  Five major research thrusts

              Materials selection          and evaluation          for structural       applications

              Mechanisms         of deformation            fracture fatigue           and creep at the micro and nano scale
              Performance        of microsystems coatings                    and small structures

              Material properties          of soft biological tissues

              Product    development            manufacturability assessment                   component     testing     failure   analysis

  Awarded           grants from DOD            DARPA           various        agencies within      DOE
  Internal     consultant       on numerous engineering                    programs     from satellite systems to nuclear weapons

  Inventor      or co inventor        on   1
                                               patent application            and    6 technical   advances

 >60 Invited          lectures     partial     liston pages 1013 including                    department    seminars     at   New Mexico Tech
  Univ Univ            of New      Mexico        Johns Hopkins Univ Univ                     of California    at   Berkeley Univ of California
  at   Santa   Barbara Rice Univ Univof Alabama                              at    Tuscaloosa     Oregon     State  Univ Univ of North
  Texas North Carolina State Univ Stevens Institute of Technology  ETH Zurich Ecole polytechnique
  federale de Lausanne Helmholtz Zentrum Geestacht Karlsruhe Institute of Technology and Medtronic

  and    at   professional      society    meetings such             as   MRS TMS ASM meetings Gordon Research                               Conference

  Materials mechanics              lab owner           $4M    in   instruments 3 technicians            2 staff 2 students         70 projectsyr

Visiting Scholar           EMPA Swiss Federal Materials Institute                             Thun Switzerland July October                   2014

                         room temperature creep and
       Primary research focus                                                           stress relaxation     in   nanocrystalline          nickel

Independent Consultant biomedical industry 2013
       Failure analysis        and prevention            in single    crystal      silicon   MEMS accelerometers

PUBLICA HON RECORD
  Published         >85 peer reviewed            archival    articles       since 1999       on a wide range of topics in journals ranging
  from Journal ofApplied Physics to Ada Materialia                                  to Journal    of Biomechanics    Over half of these
  articles were published since 2007


  Those articles have been cited >2300 times Citation H index of 28 based on Google Scholar

  ResearchID          ORCID 0000000159941743
  Published         20 peer reviewed           internal    reports        for Sandia National      Laboratories

  Most cited         article   in International          Journal     of Fracture for 2014
  Three review          articles    topics strength of silicon micro and nano systems fatigue of nanocrystalline
  metals slip         in body    centered cubic           transition metals


  Authorship awards              2012     ASM Marcus A Grossman Award                              2015 Calm Prize Finalist

                                                                                                                                    1   I
                                                                                                                                            Brad     L Boyce
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TEACHING EXPERIENCE
  Teaching      Assistant      for senior level Undergraduate           course        at   the University of California       at   Berkeley
  Course     title    Mechanical        Behavior     of Materials       Fall    1997 Developed         and graded homeworkexams
  and taught         24 recitationslectures per week
  Taught     short    course   on Mechanical            Properties of   MEMS           at   Society for Experimental Mechanics
  annual   meeting May 2009

  Taught     short    course   on MEMSBased Techniques                    for   Nanomechanical         Characterization            at   TMS
  Annual     Meeting January 2009
  Research      mentor advisor or thesis committee                member        for   6    BS students     1   MS student 2 PhD
  students 4 postdocs




HONORS               AWARDS 2001 present
  Finalist Cahn Prize           2015

  DOE NNSA Defense Programs Award of Excellence ARMS Product Realization Team 2015
  Sandia   Employee Recognition                  Award for Predicting           Performance       Margins team team lead 2015
  Sandia   Inventor Award               2014

  Gordon Conference             Discussion        Leader 2014       topic      thin   film and small scale mechanical              behavior

  Sandia Distinguished Mentorship                   Award       2013
  Selected for participation            in the   Emerging Leaders Alliance Program 2013
  Gordon Research Conference Invited                    Presentation    area thin film and small scale mechanics 2012
  2012 Marcus          A Grossman Young Author Award                    society       level award    for   ASM
  Research highlighted in Sandia                 Lab News May 2016 Lab Accomplishments monthly magazine
  March 2011 and              Science        Matters brochure March 2011

  Nominated          and   selected for National        Academy    of Engineers Frontiers of Engineering                  Symposium
  2010
  Sandias LDRD Award of Excellence                        2010 award included               $50000 research grant
  TMS materials professional                 society    Young    Leader    Award 2008
  Metallurgical Transactions                Excellent    Review 2001 2010
  John and Fannie           K Hertz Foundation Fellowship 19 2001

SANDIA LEADERSHIP ACTIVITIES
  Area Lead Born Qualified                   Additive Manufacturing         Grand Challenge           LDRD $4Myr 2015 present
  Technical      Lead      Engineering        Materials Reliability Research               Challenge 2015 present

  Lead PI Predicting           Performance        Margins program        $23Myr 20102015
  Lead PI Nanomechanics                 and Nanometallurgy                    $1Myr 2008 present
                                                                  of Boundaries

  Lead PI Sandia Fracture Challenge involving                      30 institutions 2009 present

  Strategy     advisor      for two    Sandia Topical      Areas Materials Sciences              and Engineering    Sciences            2014

  Board of Directors           Integrative       Materials Design      Consortium 2014             present

  Chair Sandia National           Laboratories        Library   Board 2011             present



EXTERNAL LEADERSHIP AND PROFESSIONAL SOCIETY ACTIVITIES
  Scientific    Advisory       Board for the International         Conference          on Fracture 2013 present
      TMS Mechanical Behavior committee 20102012 Vice Chair 20082009
  Chair

  Member TMS Programming committee 2012 present
  Member TMS Structural Materials Division Council and Awards committee 2010 present
  Member TMS Nanomechanical Behavior committee 2005 present
  Member MRS Intersociety Relations Committee 20092010
  Member ASTM Task Group on Fracture and Fatigue of MEMS Structures 20012002
  Key Reader          Metallurgical Transactions            20052012

  Chapter President           ASM International          Albuquerque      Chapter 2004             2005

  Reviewer      for    numerous technical journals including Acta Materialia Scripta Materialia Biomaterials

  Proposal peer reviewer              for   DOE BES Early Career SB1R and NSF panel reviews




                                                                                                                      2   I
                                                                                                                              Brad      L Boyce
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                                                                                                                                                             BC



July 24 2016



Dr Jon E Olson
Chairman and Frank                      W    Jessen Professor

The Lois and Richard                     D Folger Leadership Chair
Department of Petroleum                        and Geosystems Engineering
The University of Texas at Austin

Austin Texas 78712


Dear Dr Olson


Iam writing in response to your request for a letter to assess scholarly contributions of
Dr John Foster who is being considered for tenure and for advancement in rank to the
position          of     Associate           Professor         in     the      Department         of Petroleum               and       Geosystems
Engineering              at   The University of Texas at Austin


I     was       Reservoir         Engineering            Fellow        retired        from    ConocoPhillips            with          32+    years of

industry          experience            in   developing             and       applying       numerical      modeling technologies                       to

evaluate          quantify             and   resolve      major        field     problems         My expertise              is    in   the   areas      of

geomechanics                  coupled geomechanics and reservoir simulation                                  development of computer
models and numerical                     simulators and numerical                      modeling


I   dont know Dr John Foster However                                      I   have been following            his   technical           publications

over    the       past        4 years because            of his       innovative         research work            in   using       peridynamics
Thus        I    am familiar with his research                        on applying peridynamics                   for solving             challenging

and important problems associated                              with solidfracture              mechanics and           fluid      flow


Based           on Dr Fosters research publications                               I    consider      Dr Foster to be one of the                       top

experts          in    computational              mechanics            using      peridynamics             His     work          in    the     area     of

constitutive            modeling         in solid       mechanics             Viscoplasticity using peridynamics                             and   An
Energy           Based        Failure Criterion           For Use             With Peridynamic            States have             been excellent
contributions               in   this    subject        matter The new methods                       developed         in    these       two    papers

permit us to predict                   deformation and failure behaviors                       of a rate dependent                plastic    material

even        when cracks               and other    singularities              appear    in   the field under loading                   In the   paper
Peridynarnic                  plates     and     flat    shells       A non ordinary               state based         model Dr                 Foster

developed             the     first
                                       peridynamic material model                       to    directly    resist   bending             deformation
The model enables                     accurate     modeling of plates with arbitrary Poissons ratios and shows
its   potential        to     broaden the        class    of problems using peridynamics The contribution of this

work        is
                 very     significant        for predicting            fracture        propagation        in plates     and       flat    shells   in   a

general          manner


Dr Foster also has been                      involved          in   projects of coupling             geomechanics and porous flow

using       a peridynamics approach                       The        research results           were published              in    two papers          A
peridynamic formulation of pressure driven convective                                             fluid    transport         in                 media
        A
                                                                                                                                  porous
and              fully      coupled       porous        flow        and geomechanics              model     for    fluid         driven      cracks      a

peridynamics                  approach           In     this    pioneering            work      he    formulated            and        developed        a
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peridynamic            model     that       for   the        first     time     simulates      poroelasticity           and   fluid driven

fracture     propagation             This     new model                can      simulate     multiple          non planar       competing
fractures    in   unconventional             reservoirs           more realistically          and    will   allow us to better design

multi stage hydraulic fracturing operations This outstanding                                         accomplishment           provides      us

an   alternative        that    will    be    practical              and    competitive       compared         to   existing    numerical

methods      FDM FEM and BEM                                  for     modeling hydraulic fracturing operations                        in    the

future



In the     area   of computational                mechanics            with     applications        to   geomechanics         and   fracture


mechanics          I   believe       Dr Foster          is    one of the          best     scholarsresearchers           compared         with

others                 cohort        research intensive                    universities     such as Stanford University               Texas

AM
           in his               at


          University        Colorado         School of Mines University of Oklahoma and University of

Calgary


Based      on his track records his research                           interests      in   mechanics and multiscale modeling

with      applications          to     geomechanics                   fracture        mechanics          and    fluid    flow       and     his


administrative           and committee             service           activities       Dr    Foster will        be very    promising         for


further growth          and leadership


Based on Dr Fosters                  significant        contributions            to   innovation     and advancement            in the     area

of using peridynamics and his expertise                               in mechanics          with applications        to field   problems
he   is   well    deserving of promotion                     in   rank to the position of Associate                  Professor      in    your
esteemed         department




Best regards




Lee Chin PhD PE

Reservoir        Engineering         Fellow Retired

ConocoPhillips            Company
600    N Dairy Ashford
Houston          TX 77079
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                                                                      Monday September            12 2016 at 22754 PM Central Daylight Time



Subject        RE promotion           letter       request

Date           Sunday     July   24 2016               at 80345    AM Central Daylight Time
From           lychin


To             Olson Jon

CC             Stickney    Stephanie


Dear Dr Olson



As per your request attached                      please    find   the promotion      letter   for evaluating    Dr Foster and a short version   of

my CV


Please   let   me know      if
                                 you need any additional information


Best regards



Lee



Lee   Chin PhD PE
Email chinlvcomcastnet




From Olson Jon mailtojolson©austinutexasedu
Sent     Friday July      15 2016 413 PM
To lychin
Cc Stickney        Stephanie

Subject        Re promotion          letter      request



Lee    Thanks so much            I   look        forward to receiving     your      letter




Jon


Jon E Olson Chairman and Professor

Petroleum          Geosystems             Engineering

The University of Texas              at   Austin

Sent   from my iPhone



On Jul 15 2016          at 342        PM         lychin   <chinlvcomcastnet> wrote


         Dear Dr Olson



         As per your request                it    is
                                                       my pleasure   to write   a   promotion     letter   evaluating   Dr Foster



         Best    Regards


         Lee



         Lee     Chin PhD PE

         Fellow Retired

         ConocoPhillips

         Email chinly0comcastnet



                                                                                                                                                 Page 1 of 2
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From Olson Jon fmailtololsoneaustinutexasedu
Sent     Friday July     15 2016 112 PM
To chinlyecomcastnet
Cc Stickney       Stephanie      Olson Jon
Subject       promotion     letter   request

Importance         High



Dear Dr Chin        I    have attached     a   letter    requesting you        to write a         letter   evaluating    one of our

assistant professors         John Foster who            is   going   up for promotion             I   have also attached     his   CV and
a   link to   5 recent    significant   papers    by     Dr Foster



The academic       promotion process depends                   heavily   on the      role   of outside        impartial evaluators      I




hope we can count           on you to help



Thanks so much for your time and consideration                           Please      respond          to this email as   soon as is
convenient      as to whether        you can participate             The deadline       we are requesting for the letter is
July 31 but if     you need more time let me know and                     I   will   see if   I
                                                                                                  can accommodate you              We
would     really like    your input


Jon



Link to Foster papers         too large to attach            to email

httoswwwdroDboxcomish8xn9gjvuk4vuc67AAAf7vUOKoutKeGvXGPieho                                                         ad1=0




Hook gem
Jon    E Olson PhD PE
Chairman and Frank           W Jessen Professor
Lois   K and Richard D Folger Leadership                     Chair

Petroleum and Geosystems                Engineering

The University of Texas at Austin

Austin TX 78712
5124717375
wwwDgeutexasedu




                                                                                                                                            Page 2 of 2
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Full   Name     Lee Chin



Title Reservoir         Engineering        Fellow Retired
Affiliation     Upstream Technology              ConocoPhillips       Company


Education


The Pennsylvania         State      University University   Park      PA PhD      in   Chemical    Engineering 1979
National   Taiwan University Taipei Taiwan               MS      in   Chemical   Engineering 1973
National   Taiwan University Taipei Taiwan               BS      in   Chemical   Engineering 1971


Professional         Experience


   Engineering        Consulting       Mar 2013 present
   ConocoPhillips         Sept 1980 Feb 2013
   Mobil Solar Energy             Corporation    Feb 1980 Sept          1980


Areas of Expertise


   Geomechanics           Simulation

   Coupled Geomechanics                and Reservoir     Simulation

   Subsidence         and Reservoir Compaction           Studies

   Largescale          Full field    Numerical    Simulation

    Finite   Element Modeling
   Numerical         Simulator and Computer Model Development



License        Associations


    Professional       Engineer Oklahoma          PE   License   13016 1982 present
   Associate     Editor     for   SPEJ 19992013
    Member      of   SPE AlChE and ACS

Awards

   2009      SPE MIDCONTINENT                NA REGIONAL TECHNICAL AWARD                          Reservoir   Description

         Dynamics
   2008 ConocoPhillips              Canadian    SPIRIT Award
    2007 Mike        Fetkovich      Reservoir    Engineering   Technical    Excellence     Award


Publications


    14   refereed journal publications

    28 refereed conference             proceedings
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                                                                                                                                                                               BC

     UNIVERSITY                         OF MINNESOTA

     Twin   Cities   Campus                                                   Department of Civil Environmental                   500   Pillsbury   Drive SE

                                                                              and lea Engineering                                 Minneapolis       UN 55455
                                                                              College   of Science    and   Engineering           Office   6126255522
                                                                                                                                  Fax 6126267750
                                                                                                                                  wwwcegeumnedu


July        20 2016


Professor Jon                  E Olson
Chairman and Frank                       W Jessen Professor
Department of Petroleum and Geosystems                                        Engineering
The University of Texas at Austin

University               of Southern        California




Re Evaluation of the                      PT Case of Dr John T Foster
Dear Prof Olson



Upon review of the promotion                                and tenure     file    of Dr John Foster                  I   am happy to provide
unreserved                support for his promotion                  to   the rank of Associate                 Professor



The         detailed          reasons that led me reach this recommendation are provided in my assessment of the

publications            were sent to me and in my answers to the specific questions you asked me to
                              that

address          Some of my comments would need to be filtered from the facts that Dr Fosters area of
expertise            only partially overlaps with mine                        The space          in   which Dr Foster operates                      is   in


computational and experimental mechanics                                      while mine is at the crossroads of applied                                  mechanics
and petroleum geomechanics


1 Doyou know Dr Foster and                                 so for how long and under what circumstances


I    met Dr Foster only once                          in
                                                           April   2015 on the occasion of a seminar I was giving at the Institute
for
           Computational               Engineering and Sciences                   We chatted          for     about       12 h and Dr           Foster took this

opportunity                   to   share some of his research with                 me

2 What are the original innovative                          andor important contributions                   that he has made in         hisfield     of research    Have
      his publications             influenced   the   thinking of or the methods used bjjiou or others in yourfield



As mentioned in the preamble of this letter                                    Dr Foster and I operate                     in different
                                                                                                                                              spaces          and

therefore            I    do not have       a detailed        personal     knowledge             of his contributions               others than those

apparent             in   the papers that were sent to                 me for evaluation However                           I   have read these papers

carefully except Foster3                        on    plates and flat shells and found them to be very well written and easily

understandable                       They are mostly published in high impact journals in particular JCP


It    is    clear        from the reading of these contributions                          that   Dr Foster has significantly contributed                            to   the

extension             of the original peridynamics paradigm                              While at Sandia     Dr Foster with coauthors
Silling and               Chen extended peridynamics to account                            for the      propagation of cracks                  in an      elastic   solid


Foster         4         and for viscoplasticity Foster                   5   In more recent works done at                         UTSA he developed with
colleagues               at   UT      a peridynamic          formulation        of transport phenomena                         driven   by diffusion           processes

Foster2 and a peridynamic approach                                   to simulate fluid driven                  cracks      Foster       1 In my view Foster2
           very significant paper as the nonlocal fluid transport naturally built in the formulation is key to
is    a


explain        effects such as scale dependent dispersion The modeling of hydraulic fractures described in

Foster 1 builds on several years of Dr Fosters contributions                                                 to peridynamics




Driven                     to Discoversm
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After reading             these       papers     I
                                                     very     much    appreciate    the rigor of the approach as well as the

systematic       effort         of proving that the peridynamic formulation                           indeed degenerates gracefully to the

appropriate classical local continuum model



Extending the formulation                        of peridynamics to model various mechanical                         processes has been the
focus of Dr Fosters research for several years While there are other numerical contenders

peridynamics is an elegant and powerful approach                                   to solve      of broad range of problems and                  is   most

likely here to stay               I   expect     therefore that the         contributions         of Dr Foster will have a lasting
influence       in       the field




3 How wouldyou                  assess   Dr Fosterfr development         compared with others in his cohort at research intensive            universities




Dr Foster compares                     very well with his peers in all the usual metrics He has graduated 1PhD and 5
MSc      students while at               UTSA    and he is now advising an impressive number of graduate students at

UT 9 with            1    co advised 8 out of 9 are PhD students 3 of them having                                    already   passed their

qualifying      exams He has also supervised                           3 postdocs      at UTSA and at              UT His      research     is


extremely well funded                     Furthermore            as   documented       in his      CV Dr Foster has been very active in
seeking funding from various                          organizations        Since graduating in 2009                Dr Foster has published 22
papers     in
          high impact          journals ie on average about 3year but 4year since 2014 Most
                                         refereed

of the papers published in journals since 2014 have been coauthored by his students or postdocs
In     summary whether looking at students grants or papers Dr Foster is performing extremely well
There    is no question that he has hit the ground running since joining the UT system Thus I have

no doubt that his promotion                           case would be reviewed           favorably      at any other      research intensive

university and in particular                         at the   UMN

4      What iryourperspective              on   Dr Fosterfrpromise forfurther growth               and sigqicant    contributions   to   hisfield




Based on past performance and contributions                                  I   believe    that   Dr Fosters standing among his peers
        continue
will                      to
                               grow and that he will continue                 to assert himself as          an expert in computational

mechanics        and multiscale modeling with                           applications       to   various   fields   of mechanics


Dr Foster        has developed                                 program at Austin I foresee a bright future for him
                                                a vibrant research

with     continued             excellent    contributions to computational mechanics   He has my undeserved support
for his                                the position of Associate              Professor at the University of Texas at Austin
           promotion              to




Emmanuel Detournay
Bennett      Chair Professor
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                                                            Monday September 12 2016 at 22704 PM   Central Daylight   lime




Subject     FW Reference letter for John Foster
Date        Tuesday        July    26 2016    at   23658 PM Central Daylight Time

From        Olson Jon

To          Stickney       Stephanie


FYI



Jon   E Olson
Chairman and Professor Petroleum and Geosystems Engineering

5124717375




Original Message
From Emmanuel Detournay mailtoemmanueldetournayPgmailcom
Sent Tuesday July 26 2016 121 PM

To Olson Jon
Subject Reference         letter   for John   Foster




Hi   Jon


Here is with     a bit          my reference letter for John Foster
                         of delay

Dont    forget   to let   me about the seminar at the UMN


Cheers



Emmanuel




                                                                                                                      Page   1 of 1
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                                                                                                              MyU A
                                                                                                 One                  For Students             and
       UNIVERSITY    OP MINNESOTA                                                                      Stop                          Faculty         Staff



          Driven    to Discover




Department   of

CIVIL ENVIRONMENTAL                                  AND       GEO ENGINEERING

     Emmanuel Detournay
     Professor

     Member of the National Academy                   of Engineering



     Contact Information


              Office     CivE 168

              Phone 6126253043
              Fax 6126267750
              Email detou001tcumnedu


     Research Interests


     Research      interests revolve    around the modeling of some geomechanical processes such as

     hydraulic fracturing         drilling    rock cutting   and indentation       and on the mechanics           of fluid
     infiltrated   geomaterials       Recent    efforts   on the modeling of hydraulic         fractures      have focused           on
     1   the analysis of the singular behavior near the tip of an advancing                    fluid driven      fracture        2      the

     study of poroelastic effects            caused by leak off of the fracturing      fluid   in the     permeable rock and

     3   the analysis of the initiation         of hydraulic   fractures   at a   borehole to improve the interpretation

     of the in situ stress from a hydraulic           fracturing    stress test




     Current research      on the    cutting    and indentation of rocks centers on analyzing the different modes

                                              processes The research
     of energy dissipation        in these                                 aims at determining the conditions under

     which the mode of rock failure induced               by the movement of a cutter or an indenter is plastic
     crushing of the rock brittle                tensile fracture    propagation      or   mixed

     Selected Publications



     Depouhon       A Denoel V Detournay E 2015 Numerical                          simulation of percussive drilling

    International Journal for Numerical and Analytical Methods                       in Geomechanics           39 889912


     Depouhon       A and Detournay E 2014                Instability   regimes and selfexcited           vibrations       in deep


     drilling systems Journal of Sound and Vibration 333                    20192039


     Buner    AP Sarout J Kear J Piane CD Detournay E Josh M Dewhurst DN 2014
     Experimental      chemoporoelastic          characterization    of shale using millimeterscale specimens

    Journal ofPetroleum            Science    and Engineering       118   4051
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Depouhon      A Detournay E Denoel V 2014 Event driven                      integration   of linear structural

dynamics models under unilateral           elastic   constraints   Computer Methods       in Applied Mechanics

and Engineering 276 312340


Huynen A and Detournay E 2014                 A remark on the poroelastic center of dilation Journal °
Elasticity 116 189206




Depouhon      A Detournay E Denoel V 2014 Accuracy                        of onestep    integration   schemes    for


dampedforced      linear structural   dynamics        International Journal for Numerical Methods in

Engineering    99 333353


Marck   J Detournay E Kuesters A Wingate J 2014 Analysis of                            spiraled   borehole data

using a novel directional      drilling   model SPEIADC Drilling Conference               Proceedings     2 662
679


Detournay     E and Peirce A2014 On the moving boundary conditions for a hydraulic fracture
International Journal of Engineering          Science     84 147155


Marck J and Detournay          E 2014 Perturbation to borehole trajectory across an interface 48th
US Rock Mechanics        Geomechanics Symposium 2014 349354



Zhou Yaneng and Detournay E 2014 Analysis of the contact forces on a blunt PDC bit                              48th

US Rock Mechanics Geomechanics Symposium 2014 306314


Education


        Ingenieur Civil     1976 Mining Engineering University of Liege Belgium
        MS1979 Geoengineering                University of Minnesota

        PhD 1983 Geoengineering University of Minnesota

Experience


Senior Research    Scientist    Schlumberger Cambridge Research Cambridge                   UK 198992
Research Scientist     1989


MTS Visiting Associate Professor in geoengineering                 Dept   of Civil and Mineral Engineering

Univ   of Minnesota     Fall Quarter      1990


Research   Scientist   DowellSchlumberger             Tulsa Oklahoma 198588            Senior Research

Engineer    1985
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                                                      UNIVERSITY OF ILLINOIS
                                                      AT URBANACHAMPAIGN
                                         Department of Civil and Environmental                            Engineering




                             C Armando Duarte
                             Professor    and       CEE Excellence          Faculty   Scholar

                             2122 Newmark            Civil    Engineering      Laboratory         MC 250
                             205 North Mathews Avenue

                             Urbana IL 618012352
                             email caduarteAillinoisedu

                             httpgfemceeillinoisedu




                                                                                                                           August 9 2016
Dr Jon E Olson
Chairman and Professor
Petroleum and Geosy stems Engineering

The University of Texas                       at Austin




Re Letter of Evaluation                       of Professor John             T Foster

Dear Professor Olson


I   write    in
                    response         to       your request            for   an assessment          of Assistant         Professor          John    Fosters

credentials          as part of his tenure              and promotion evaluation                   at   The University          of Texas      at   Austin
       I    hold         a   PhD    in   Engineering            Mechanics        from The          University       of Texas       at   Austin       I   am a
Professor           at    the    Department            of     Civil    and Environmental                 Engineering         and a      faculty      of the

Computational                   Science       and     Engineering            Program        at    the    University        of   Illinois     at    Urbana

                             possess over 20 years of professional
Champaign                I                                                                   experience        in    the   field   of computational

mechanics           and computational                 methods like the Generalized or Extended Finite Element Method
and meshfree methods                      I   also have five years of industrial experience                             To date I have published
over 75 journal papers                    and book chapters and co edited two books                                 on computational               methods

My journal publications                        in   computational           mechanics        and methods have been                  cited     more than
4850 times by other researchers                              in the   field Three      of my journal papers have been                       listed
                                                                                                                                                     among
the   most          downloaded            papers        published           by Computer            Methods         in   Applied Mechanics              and
Engineering              and Computational               Mechanics            two of the most prestigious journals in the                          fields of


computational                methods and computational                      mechanics
       I    first    met        Dr Foster at the USACM Workshop                                  for    Meshfree Methods            for    Large Scale

Computational                 Science     and Engineering held                  in    Tampa FL 2014 He was one of the plenary
speakers       at that          workshop and gave an excellent                       talk   on the simulation of fracture                  in plates      and

shells using             peridynamics It was                 clear    from his presentation              that he    was doing leading research

on peridynamics                    and extending              the     method     to   novel       and exciting          applications          His        work

appeared        in a         2014 paper published                in    the International Journal of Solids                      and Structures            one
of the top journals in solid mechanics                                This paper already has been cited 12 times according to

Google Scholar attesting the                         interest    of the mechanics            community         on Johns research
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        Since       that          workshop              we      have        met     at    several           major conferences                     on     computational

mechanics          in       the        US and Europe                    I    have        attended           several       of        his    presentations               at       these

conferences             I   recall                 well his excellent               plenary           lecture at         Eighth           International           Workshop
                                        very
Meshfree          Methods              for Partial           Differential           Equations              held    in     Bonn Germany last                            fall         He
presented         his       work on multi physics models for hydraulic                                            fracture          simulation and also recent

fundamental             theoretical              advancement           of the peridynamic                    theory        of porous media fracture His
peridynamic             model was                to   my knowledge                 the    first      to    simulate poroelasticity                  and       fluid driven

fracture     propagation                    Applications         of his method include the simulation of hydraulic                                                fracturing

of oil and gas reservoirs His work appeared                                         in Computational                    Mechanics               a leading journal on

computational               methods

        Dr        Foster           does       research          in    the        area     of computational                     mechanics              and        multi scale

modeling          with            applications          to    geomechanics                     impact        mechanics               fracture         mechanics                     and

transport         processes                 He    has    contributed              significantly             to     the    development                 of peridynamic

models       for    solid          mechanics            fluid        flow    in    porous           media and multi physic                        problems such                      as

hydraulic        fracture           simulations These are research                                 areas with important                   societal environmental

and economical implications The exploration                                             of oil and          natural      gas in shale reservoirs relies on
extensive use of hydraulic                         fracturing          This technology                   has had a significant                  economic impact                      in

the   US in the past decade                             Yet there           are    many open               questions regarding                   the environmental

impact       of     hydraulic                 fracturing           which          can         potentially          be     addressed              by      computational
simulations             Dr Foster                has    been         invited       to    presented           his    research              at   several       international

conferences           such as the                US National Congress on Computational                                              Mechanics           and the             ASME
International Mechanical                           Engineering              Congress and Exposition He                                    has secured            substantial

external         funding           for his        research           program            His        level    of funding              is    above       the     average               for

assistant        professors
        I   believe that a good way to assess the research                                               potential       of a faculty member                     at    the start

of their career              is   to   look at their ability                 to   branch           out in different            fields while             building on the

strength         acquired           during        hisher        graduate           studies          andor postdoc                    Dr Foster has                 definitely

demonstrated a remarkable ability                                to   do just that by continuing                         his previous           work        in the         area of

computational                methods peridynamics                           and     solid          mechanics        and        at    the same time branching

out to applications                 involving           fluid   flow and multi physic                       phenomena
        Dr Foster is very comparable in stature                                         and development                  to    the top young computational

mechanics          faculty          at leading universities                  in    the United States                   More specifically                I   rank him at a

similar level           to        two recently           promoted             associated             professors          with        research         areas       related            to

those       of   Dr         Foster          Dr Haim Waisman                         Associate              Professor           in    the       Department              of       Civil


Engineering             and         Engineering              Mechanics              at    Columbia               University                He    was        promoted                 to

associate        professor             in   2013 and         his     Google Scholar h index was                            13 in          2015 Dr Caglar Oskay
Associate         Professor in the                    Department of Civil                     and Environmental                     Engineering             at   Vanderbilt

University          His           Google          Scholar       h index           was         11    in    2015 Dr              Fosters          scholarship                is    also

comparable            with          recently          promoted          associate             professors          at     the    College          of Engineering                      at

UIUC
    Dr Fosters                      work         has    been published                   in    high impact             peer reviewed journals                            such        as

Computer Methods in Applied Mechanics and Engineering International Journal of Solids and
Structures and Computational                             Mechanics                Note that he or one of his students                              is   the      first      author

of most of the papers he has published                                      attesting his           independence               in   conducting           research            in his

field   of expertise               Dr Foster has a good                      citation         record with over 265 citations                            and      his     h index
is   9 according to Google Scholar                                 This     is    quite       remarkable since his academic                             career        is    still    at
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its   early       stages      I    have no doubt       that     his    level    of excellence     as   a researcher and professional

will   continue           in the    years ahead The            quality      and impact of Dr Fosters research            is   also attested

by     invitations            to    deliver   talks       at   several       prestigious       universities   in   the   US       such   as

Northwestern                 University       the    University         of     Illinois   at   Urbana Champaign          the    California

Institute         of Technology            among others
         I   was pleased            to   review     and   offer    an evaluation          of Prof John Fosters accomplishments

My recommendation                        with enthusiasm          is   to   promote him to Associate Professor with indefinite
tenure       at   the University          of Texas    at   Austin If           can provide      any additional     information that      may
be useful          in   Dr   Fosters assessment please contact                       me

Sincerely Yours




  e
C Armando Duarte
Professor

Faculty           Civil    and Environmental              Engineering

                  Computational            Science    and Engineering
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                                                                Monday September 12 2016                at 22446        PM Central Daylight   Time



Subject         Re promotion     letter   request UT Austin

Date          Tuesday       August   9 2016 at 24339 PM Central Daylight Time
From          Armando       Duarte


To            Olson Jon

CC              Stickney    Stephanie


Dear Jon



Please   find    attached   my letter of evaluation      of    Dr Foster and a short biography

Best regards

Armando


On 72816 1157 AM Olson Jon wrote


         Hi   Armando         We will    be able to work with the 12th          Thank you Jon



         Jon     E Olson
         Chairman and Professor Petroleum and Geosystems                        Engineering

         5124717375


         From Armando Duarte rmailtocaduarte20gmailconf
         Sent Thursday July 28 2016 936 AM
         To Olson Jon
         Cc Stickney Stephanie
         Subject Re promotion             letter     request   UT Austin


         Dear Jon
         I   will   be glad to write a letter evaluating              Dr Foster   I   will   be   in   Korea    until   August 5th and

         wont be able to
         write      an indepth       letter   by August 8th Would          August 12th        still    work    for   you
         Best regards

         Armando


         On 72816 537 AM Olson Jon wrote

                    Armando                                         just sent you The deadline
                                     Sorry there was a typo in my email
                                                                  I                                                              I


                    am hoping for is August 8 not July 15 The attachment    pdf has the correct
                    date Thanks    I hope you can help Jon


                    Jon    E Olson PhD PE
                    Chairman and Professor

                    Petroleum and Geosystems Engineering

                    The University of Texas             at   Austin

                    5124717375



                    From Olson Jon
                    Sent Wednesday            July   27 2016 336 PM
                    To caduarteillinoisedu
                    Cc Stickney Stephanie Olson Jon
                    Subject promotion          letter   request    UT Austin




                                                                                                                                              Page 1 of 3
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          Dear Dr Duarte                    I   have attached           a letter requesting you to write a letter

          evaluating            one of our assistant professors John Foster who                             is   going up for

          promotion              I   have also attached            his    CV and a link to 5 recent significant
          papers      by Dr Foster


          The academic promotion process depends                                  heavily   on the role of outside

          impartial evaluators                   I   hope    we can count on you to help


          Thanks          so    much      for
                                                your time and consideration  Please respond to this email

          as    soon as is convenient               as to whether you can participate The deadline we

          are requesting for the                  letter    is   July    15


          Jon


          Link to Foster papers too large to attach                             to   email
          httpswwwdropboxcomsh8xn9gjvuk4vue67AAAf7vU0KputKeGvXGPje




          Hook ern
          Jon     E Olson PhD PE
          Chairman and Frank                     W    Jessen Professor

          Lois     K and Richard D Folger Leadership Chair
          Petroleum and Geosystems Engineering

          The University of Texas                     at    Austin

          Austin TX 78712
          5124717375

          wwwpgeutexasedu




 C Armando Duarte PhD
 Professor and            CEE Excellence          Faculty Scholar

 Dept   Civil     and Environmental Engin

 2122 Newmark              Laboratory           MC 250
 University of Illinois              at Urbana       Champaign
 205 North Mathews                   Av
 Urbana        Illinois    61801 USA

 httogfemceeillinoisedu

 httoswwwvoutubecomichannelUC6wIfOnwRTYDOTb                                               rfDTbTA


 Recent    papers


          P Gupta         and   CA Duarte Coupled Formulation and Algorithms                     for the Simulation of Non     Planar

          Three Dimensional               Hydraulic Fractures       Using the Generalized       Finite   Element   Method International

          Journal for Numerical and Analytical Methods                        in Geomechanics     2015     accepted   for publication




                                                                                                                                          Page 2 of 3
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                   RM Lins MDC                 Ferreira    SPB Proenca and CA Duarte An a posteriori                             error estimator for linear


                   elastic    fracture     mechanics     using the stable      generalizedextended           finite    element    method Computational

                   Mechanics         2015     accepted   for publication


                   J Kim and CA Duarte A New Generalized                          Finite     Element     Method       for Two Scale Simulations of


                   Propaeating        Cohesive    Fractures    in   3D International Journal for Numerical Methods in Engineering
                   2015      accepted      for publication


                   JA Flews and CA Duarte Generalized Finite Element Approaches forAnalysis                                           of Localized       Thermo

                   Structural       Effects International      Journal for Numerical Methods                  in Engineering        2015 accepted        for


                   publication

                   V Gupta CA Duarte I Babuska and U Banerjee Stable GFEM SGFEM Improvedconditioning
                   and accuracy of         GFEMXFEM           for threedimensional              fracture   mechanics      Computer Methods          in   Applied

                   Mechanics        and Engineering         2893553862015


         All    truths    are easy to understand              once they are discovered the point is to discover                             the

         Galileo




C Armando Duarte PhD
Professor      and CEE Excellence Faculty Scholar

Dept   Civil   and Environmental Engin

2122 Newmark Laboratory MC 250

University of      Illinois    at   Urbana Champaign

205 North Mathews Av

Urbana      Illinois    61801 USA

httogfemceeillinoisedu
httpswwwvoutubecomichannelUC6w1fOnwRTYDOTb                                                     rfDTbTA



Recent    papers


         P Gupta and CA Duarte Coupled                    Formulation and          Aleorithms       for the Simulation of Non          Planar Three Dimensional

         Hydraulic      Fractures     Using    the Generalized       Finite    Element       Method      International    Journal for Numerical and             Analytical


         Methods       in Geomechanics         2015      accepted    for publication


         RM Lins MDC                 Ferreira    SPB Proenca and CA Duarte An a posteriori error estimator for linear elastic fracture
         mechanics      using    the stable    generalizedextended            finite   element    method Computational Mechanics 2015 accepted                        for


         publication

         J Kim and CA Duarte A New                     Generalized     Finite Element Method               for Two Scale Simulations of Propaeating


         Cohesive      Fractures     in   3D   International    Journal for Numerical Methods                  in Engineering        2015   accepted      for


         publication

         JA Flews and CA Duarte Generalized                         Finite Element          Approaches     for Analysis of Localized        Thermo       Structural


         Effects International            Journal for Numerical Methods                in   Engineering     2015 accepted         for publication


         V Gupta CA Duarte I Babuska and U Banerjee Stable GFEM SGFEM Improved                                                      conditioning    and    accuracy   of

         GFEMXFEM             for threedimensional          fracture    mechanics           Computer Methods           in Applied Mechanics        and Engineering

         2893553862015


All truths are easy to understand once they are discovered                                      the point     is   to discover      them Galileo Galilei




                                                                                                                                                                      Page 3 of 3
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                                                             C ARMANDO                    DUARTE

Professor

CEE Excellence             Faculty Scholar

Department          of Civil      and Environmental                     Engineering                         Phone +12172442830
University     of     Illinois    at   Urbana Champaign
205   N Mathews Avenue MC 250                                                                               email caduarteillinoisedu
Urbana       Illinois    618012352                                                                          httpgfernceeillinoisedu


Education

      BS Mechanical Engineering Federal University                                              of   Pernambuco                Brazil     1988

      MS Mechanical Environmental                                  Federal         University        of    Santa Catarina Brazil 1991
      PhD Engineering Mechanics                              The        University        of   Texas       at   Austin      1996

Professional            Experience

      2015present Professor Dept of Civil and                                        Environmental               Engineering University                     of

         Illinois at Urbana Champaign

      20102015            Associate          Professor Dept                   of Civil      and Environmental                    Engineering
         University          of   Illinois    at   Urbana Champaign

      2005present                Faculty      Computational                   Science and Engineering University                            of   Illinois        at

         Urbana Champaign

      20042010            Assistant          Professor Dept                   of Civil    and Environmental                  Engineering
         University          of   Illinois    at   Urbana Champaign
      20032004            Assistant          Professor Dept                   of   Mechanical         Engineering University                     of

         Alberta         Canada
      2002     Visiting      Professor Dept                   of Structural          Engineering School                     of   Engineering
         University          of   Sao Paulo             Brazil

      19962001            Research           Engineer            Altair       Engineering Inc Austin TX

Research        Interests

      Computational              methods       solid         and   fracture         mechanics              multi scale           and   multi physics

      problems advanced                  scientific          and    parallel        computing

Honors
      2015 inaugural Raymond and Sidney                                         Epstein Structural               Engineering           Faculty    Award
         Dept         of Civil     and Environmental                     Eng University               of   Illinois    at   Urbana Champaign

      2015 Advisor           of   Piyush      Gupta            winner         of   the Best Student              Poster Competition               at   the

         13th    USNCCM
      2012present CEE Excellence                                 Faculty Scholar                Dept       of Civil     and Environmental

         Engineering University                         of   Illinois    at   Urbana Champaign
      2011     JT Oden Faculty Fellowship Institute for Computational                                                    Engineering        and

         Sciences            The       University        of    Texas       at      Austin

      2007     Advisor       of   Jeronymo              Pereira winner               of   the Best Student              Poster         Competition          at

         the    9th     USNCCM
      2006present                 Faculty     Fellow National                   Center         for Supercomputing                 Applications

         NCSAUlUC
      2001 Young Researcher                        Award        for     Exemplary           Research            in   Computational         Mechanics
         from the         first   MIT Conference                        on Computational               Fluid         and Solid Mechanics

Representative             Publications             Duartes journal papers have                             been       cited     more than 2714

4886     times and his h index                     is   19    26 according                 to   Scopus Google Scholar


1     JA Plews and CA Duarte A two scale generalized                                                  finite     element approach             for

      modeling        localized        thermoplasticity                 International           Journal for Numerical                   Methods        in


      Engineering accepted                   for   publication             2016 doi101002nme5241

2     P Gupta and CA Duarte Coupled                                     Formulation            and Algorithms for the Simulation                            of

      Non Planar Three Dimensional                             Hydraulic           Fractures         Using the Generalized                 Finite
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     Element Method International                      Journal for Numerical                    and Analytical              Methods    in


     Geomechanics              401014021437                 2016 doi 101002nag2485
3    JA Plews and CA Duarte Bridging Multiple Structural Scales with a Generalized
     Finite   Element Method Intern Journal for Numerical                                       Methods            in   Engineering         1023
     4180201 2015 doi101002nme4703
4    P Gupta and CA Duarte Simulation                             of   Non Planar Three Dimensional                                Hydraulic
     Fracture    Propagation                International   Journal for Numerical                      and Analytical              Methods     in

     Geomechanics              3813971430 2014
5    V Gupta CA Duarte I Babuska and U Banerjee A Stable and Optimally Convergent
     Generalized FEM SGFEM for Linear Elastic Fracture Mechanics Computer Methods
     in   Applied   Mechanics              and Engineering         2662339 2013
     doi101016jcma201307010                              This paper appeared                     in   the   list    of   top twentyfive        most
     downloaded          papers        of   Computer Methods             in       Applied Mechanics                     and Engineering

6    V Gupta D J Kim and CA Duarte Extensions of the Two Scale Generalized                                                                    Finite

     Element Method             to Nonlinear           Fracture Problems                 International             Journal for Multiscale

     Computational             Engineering        116581596                  2013

7    D J Kim CA Duarte and SP Proenca A Generalized                                                    Finite       Element Method with
     Global Local         Enrichment           Functions    for   Confined              Plasticity         Problems Computational

     Mechanics           505563578               2012 doi101007s0046601206897                                             This paper

     appeared       in   the   list   of    top five most downloaded                    papers        of   Computational            Mechanics

8    P Gupta JP Pereira D J Kim CA Duarte and T Eason Analysis of Three
     Dimensional          Fracture Mechanics              Problems A Non Intrusive Approach                                       Using a
     Generalized         Finite       Element Method Engineering                        Fracture           Mechanics          904164 2012
     This paper       was featured            twice    on the ScienceDirect                    Top 25 Hottest Articles

9    D J Kim CA Duarte and NA Sobh Parallel Simulations of Threedimensional
     Cracks Using the Generalized                      Finite   Element Method Computational                                 Mechanics

     473265282                 2010 This paper appeared                      in   the   list   of   top five most downloaded

     papers
10   P OHara CA Duarte T Eason and D J Kim Generalized                                                             Finite   Element Analysis
     of   Three Dimensional                 Heat Transfer Problems                 Exhibiting          Sharp Thermal               Gradients

     Computer Methods                 in   Applied     Mechanics        and Engineering                     198212618571871
     2009     This paper         was featured on the             ScienceDirect                 Top     25 Hottest Articles



Synergistic      Activities           selected
     Conference          co organization             ECCOMAS           Thematic            Conference               on Meshless        Methods
          Lisbon Portugal July                1114 2005
     Member      of   the Technical            Advisory     Board       of   the    9th        US National Congress on
          Computational           Mechanics           USNCCM            San Francisco               CA July 2226 2007
     Workshop         co organization            Meshless Methods Generalized                                Finite       Element Methods
          and Related Approaches                  II   University       of   Maryland March 2009

     Chair of the        United States Association                for   Computational                  Mechanics            USACM
          Committee on Meshfree                  Methods 20072009
     Member      of   the Scientific          Committee of ECCOMAS                         Thematic Conference                      on the    XFEM
          GFEM and         Fictitious        Domain Methods Recent Developments                                          and Applications

          Lyon France 2013
     Member      of   the Scientific          Committee of the 2016 ASCE Engineering                                        Mechanics        Institute

          Conference           EMI 2016
     Member      of   the Scientific          Committee of the 2016                     USACM Conference                     on Isogeometric
          Analysis and Meshfree                 Methods La Jolla California 2016
     Chair of the Technical                 Thrust Area on Novel              Computational                 Methods          in   Engineering       and

          Sciences        United States Association                for Computational                       Mechanics         USACM            2015
          2017
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                                                                                                                                                                                               BC

PEN N STATE
                                                                John   and Willie       Leone    Family Department              of                                 +1 814   8652225

                                                                Energy     and Mineral       Engineering                                                           +1 814   8653248    Fax

                                                                College of Earth        and Mineral      Sciences

                                                                The   Pennsylvania       State   University

                                                                110 Hosier    Building                                                                             elsworthpsuedu
                                                                University   Park       PA 168025000            USA                                                w wwemspsueduiels worth




       July 212016




       Jon Olson

       Chair Petroleum and Geosystems                                  Engineering

                               of Texas Austin
       University




       Dear Jon



       It    is    a pleasure to            provide       an evaluation              of John       Foster        for tenure            and promotion           I    neither      know    the

       candidate           nor recall being exposed to his work                             in the       past        so   this is truly      a blind evaluation




       For context              I    am a professor at Penn State where                              I    have       worked for            30 years in the area of reservoir
       geomechanics                  with an emphasis on understanding the evolution of transport properties of fractured rocks

       See httpwwwemspsueduelsworth



            will       address the questions
                                                          you pose
       I




       Originality Innovation                        and Contribution                    John Foster            is   working          in   the generic    area of computational

       mechanics               with an emphasis on peridynamics and fracture                                               and now including              applications           involving

       fluids          and geological         media His work                 in this      area is at a high               level with       publications       in    reputable journals

       that        I
                       recognize       Int J Solids and Structures                         Eng Frac Mechs J Comp Phys                                  A Int J Num Meth in
       Engg                    and covering a broad array of topics                              peripheral to his home                      tenure department                but     with a

       realignment to the general                      area of reservoirs                 A brief review of the papers shows then to be substantive
       mainly modeling                     exercises      completed           at    a    high     level         but       with       relatively    fewer connections             to   actual

       observations                 that   might drive          such analyses The                 latter    is       not a necessarily            problem just         an observation

       My sense is that these                        are significant          contributions                adding          to    the    capabilities     to   complete rapid and

       thoughtful              analysis of the constraints                   on hydraulic             fracturing as              one example The candidate                       has made

       innovative              contributions           the      originality        being in the application of peridynamics                              and meshfree methods

       to a broad suite of problems




       Candidates               Standing            The candidate            has received            a number              of awards            a significant       number       given his

       early career             standing            An AFOSR young                  investigator award stands                          out
                                                                                                                                             among them together with                    his

       dear engagement                     in arranging         symposia and in the delivery of invited                                 talks   some interpreted             as job talks

            but regardless             impressive for someone                  at his       current stage             in   his career        He is at or beyond the threshold
       of his                  at    other research one institutions
                       peers



       Candidates                   Promise This           is    probably          the                                      of his         dossier       working        at   a
                                                                                          strongest portion                                                                      relatively


       sophisticated                and advanced           level      in   the general           area of computational                     mechanics and although some of

       his topical choices                 are no     doubt dictated               by his prior prePGE engagement                                  and   interests at        Sandia     and

       otherwise               his    potential      to   complete           high quality and                   profession leading                research     is    high     His     strong

       mechanics               background makes                 this   a straightforward                 transition             no doubt his ability to ask the important



       An Equal Opportunity            University
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Page 2                                                                                                                                July 212016




questions
                 in   his   new discipline will evolve with his continuing engagement                             within his revised research


trajectory



In                                            has already made significant contributions
     summary the candidate                                                                              to the   literature   in his original     area

of study    computational                  mechanics       in general    with an emphasis on peridynamics and meshfree methods

and   is
           redefining         his research          direction     in   closer   alignment   with his current position and             interests     His

success     in   this is     apparent            in his   awards   AFOSR funding which              is   significant    and in publication           in


important        journals              in his field   He    is
                                                                 certainly      deserving of   tenure    and   promotion       in a   research one

institution           which        I
                                       support    without   reservation




Please contact         me     if
                                       you have any further questions




Yours sincerely




ledek                 stAl4vItt




Derek Elsworth

Professor
        Case 1:19-cv-00877-RP Document 69-9 Filed 02/23/22 Page 128 of 159




                                                         Monday September 12 2016 at 23016 PM Central Daylight Time


Subject       Fwd promotion       letter   request

Date          Friday July 22 2016 at 30949           PM Central Daylight     Time

From          Olson Jon

To            Stickney     Stephanie


FYI



Jon   E Olson Chairman and        Professor

Petroleum          Geosystems Engineering

The   University    of Texas at Austin

Sent from my iPhone



Begin   forwarded     message




         From Derek        Elsworth   <elsworthPosuedu>

         Date July 21 2016       at   32606 PM CDT
        To Olson Jon <jolsonfaaustinutexasedu>
         Subject     Re promotion letter request



         Hi   Jon


         Hopefully    this will suffice   He seems like an   interesting   guy


         All the    best



         Derek




                                                                                                              Page 1 of 1
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                                                               DEREK ELS WORTH
                       Professor Energy and Mineral Engineering Geosciences                                      Civil      Engineering
                               The Pennsylvania              State   University         University        Park PA 16802
                                          Phone 8148652225                   email elsworthpsuedu


Education and Training

     Portsmouth Polytechnic                           UK Engineering Geology BSc 1979
                                             Portsmouth

     Imperial College           London        UK Engineering Rock Mechanics MSc DIC 1980
     University        of California         Berkeley Engineering                 PhD 1984

Research     and Professional Experience
1997   Pres             Professor Energy and GeoEnvironmental Engineering Pennsylvania                                                 State      University
2000   2003             Associate       Dean      for Research          College of Earth             Mineral Sciences Penn                      State       Univ
1991   1997             Associate       Professor Mineral Engineering                      Pennsylvania          State      University
1985   1991             Assistant      Professor Mineral Engineering Pennsylvania                              State      University
1990 1993               Adjunct      Professor Earth Sciences                and    WCGR University of Waterloo
1984 1984               Visiting     Assistant      Professor Civil Engineering University of Toronto

1984                    Research       Associate        Lawrence Berkeley Laboratory

1980 1982               Engineer       DR Piteau and Assocs and Komex Consultants                                       Calgary Canada


Relevant     Publications            Total    peer reviewed          210      1   authored and 2 edited books
1      Guglielmi        Y   Elsworth         D Cappa F Henry P Gout C Dick P Durand J 2015                                                 In   situ   observations

       on    the   coupling      between       hydraulic       diffusivity    and displacements             during       fault   reactivation          in   shales       J
       Geophys Res Solid Earth Vol 120 htqcLxdoLorg1010022015JB012158

2      Faoro       I    Elsworth       D Candela T 2015                    Evolution of        the   transport      properties        of   fractures        subject      to


       thermally           and         mechanically         activated        mineral          alteration         and         redistribution                 Geofluids

       httpdxdoiorg101111gfl12157

3      Guglielmi         Y Cappa F Avouac J P Henry P Elsworth D 2015                                                    Seismicity triggered               by fluid

       injection induced         ascismic      slip Science       Vol 348 pp 12241226 httpdxdoLors101126scienceaab0476

4      Gan     Q       Elsworth        D 2014 Analysis of                 fluid   injection   induced       fault      reactivation        and seismic            slip   in


       geothermal           reservoirs             J         Geophys          Res          Vol           119           No        4          pp          33403353
       httpdxdoiorg1010022013JB010679

5      Faoro       I    Vinciguerra        S Marone C Elsworth D Schubnel A 2013 Linking permeability                                                        to    crack

       density     evolution      in   thermally       stressed   rocks    under    cyclic     loading      Geophs        Res     Lett     Vol 40 pp 2590
       2595 httpdxdoLorg101002gd50436

6      Manga        M    Beresnev        I Brodsky           EE Elkhoury JE Elsworth D Ingebritsen SE Mays DC Wang
       CY 2012 Changes                   in   permeability        caused     by    transient    stresses       field     observations           experiments           and
       mechanisms         Rev Geophys Vol 50 No 2 RG2004 httpdxdoLorg1010292011RG000382

7      Murdoch          LC Germanovich LN Wang H Onstott TC Elsworth D Stetler L Boutt D 2012
       Hydrogeology         in the     vicinity   of Homestake          mine South Dakota            USA J Hydrol Vol 20 Vol 1 pp 2743
       httpdxdoiorg101007s1004001107737

8      Taron       J and Elsworth            D 2010 Coupled mechanical and chemical processes                                    in   engineered        geothermal

       reservoirs        with        dynamic        permeability           Int      J     R       Mechs          Vol        47        pp        1339               1348

       doi101016jijrmms201008021

9      Min K       B     Rutqvist       J and Elsworth D 2009 Chemically and mechanically mediated influences on the
       transport       and mechanical                   of rock
                                              characteristics   fractures Int J R Mechs  Vol 46 No 1 pp 8089
       htqdxdoLorg101016jijrmms200804002

10     Faoro       I Niemeijer         A     Marone      C and Elsworth D 2009 The                       influence      of shear and deviatoric              stress      on
       the    evolution         of     fractures       in    novaculite       and       diorite      J     Geophys           Res       Vol        114        B01201
       httpdxdoiorg1010292007JB005372
         Case 1:19-cv-00877-RP Document 69-9 Filed 02/23/22 Page 130 of 159




Synergistic Activities


Recent   Keynotes      2016       Darcy    Conference        Darcy    Center   TU   Eindhoven    Int Conf on    Geomechs
      Geoenergy and Georesources             2nd Int Conf on Rock           Dynamics 2015 Int Conference on Energy
      Environment      and    Commercial Civilization China Shale                Gas 2015   CAE Science   and Technology

      Forum 7th Int Conf on Mining Sci and Tech                      2014   Asian Rock   Mechanics   Symposium
Recent Invited Presentations2016 NSF Workshop on Geotechnical Fundamentals in the Face of New
      World Challenges2015 NAE Symp on Earth Resources Engineering CAE Science and
      Technology Forum 7th Int Conf on Mining Sci and Tech 2014 Workshop on Unconventional
      THMC Processes Chinese Academy of Sciences Wuhan Northeastern University China Harvard
      SEAS ETH Zurich AGU 2013 SPEAAPG Regional Meeting Chinese Academy of Sciences
      Beijing Wuhan Tsinghua University CUMT Beijing and Xuzhou JASON EGS Study
      ARMA Unconventional            Geomechanics Workshop              AGU

Recently Convened Meetings Convener              ARMAAAPGSedHeat Workshop on Successful Engineering
      of Sedimentary       Geothermal      Systems June 2016 Co Convener Penrose Conference on Predicting
      and Detecting Natural and Induced Flow Paths for Geothermal                    Fluids in Deep Sedimentary       Basins
      October 2013


Recent   advisory    activities    President   ARMA Foundation 2014 Department of Energy Future of EGS
      Committee      2012pres          ARMA          Chair   of Fellows     2011      Department   of Health    and   Human
      Services      Mine   Health    and    Safety    Research       Committee    20112013       Department    of Homeland

      Security      Geophysics      Advisory    Committee        2010       Chair   DUSEL    Research   Association     Exec
      Committee      2010 ARMA             Fellow     2009       Chair    DUSEL     Experiment   Development     Committee

      interfacing   science   experiments with the       SURF facility 20082010

Scientific   Collaborators        previous 48 months

M Bai GMI E Brodsky UCSC Z Chen UQ L Connell CSIRO P Connolly Chevron C
Fairhurst    UM
             I Faoro Durham P Flemings                         UT
                                            R Foroozan Golder L Germanovich Georgia
Tech G Gorman Imperial College Y Guglielmi LBNL S Ingebritsen USGS G Izadi Baker
Hughes K Kishida Kyoto 0 Kolditz UFZ DS Lee DongA L Li          A Linde CIW J Liu            UQ
UWA   Y Lu CUMTXuzhou        Manga         M             UCB
                                          P Malin Auckland C Marone PSU J Mathews
PSU G Mattioli UArkansas T McGuire BP L Murdoch Clemson A Niemeijer Utrecht TC
Onstott Princeton Z Pan CSIRO S Pisupati PSU D Pone ConocoPhillips M Randolph UWA

JC Roegiers UO J Rutqvist LBNL D Saffer PSU A Schubnel Paris E Shalev Duke E
Sonnenthal LBNL J Taron USGS N Tsuchiya Tohoku U Turaga ADI D vanEssendelft

NETL S Vinciguerra INGV B Voight PSU S Wang Chevron H Yasuhara Ehime U Japan
Graduate Students          MS20 PhD17 and Postdocs 11 Since 2011 following
Roozbeh Foroozan        PhD 2011 Golder Shugang Wang PhD 2012 Chevron Tom McGuire PhD
2012     BP   Ghazal Izadi     PhD 2012 Baker Hughes  PhD 20XX Hemant Kumar
                                                                        Baisehng Zheng

PhD 2013 Chevron Divya             MS 2012 Zhongwei
                                            Chandra        PhD UWA 2012 U                Chen
Queensland Rohan Belvalkar MS 2011 Quan PhD 2015
                                       Gan          Taha Husain PhD 2015 Xiang
Li   PhD 2016 Yi Fang PhD 20XX Thibault                          Candela Postdoc         20112014    Chaoyi    Wang PhD
20XX Kyunjae Im MS 2015 PhD 20XX Sheng Zhi MS 2015 PhD 20XX Brandon Schwartz
MS 20XX Farnood Son Bidari MS 20XX Ziyan Li MS 20XX
Graduate Advisors             John   W     Bray Imperial College and Richard           E Goodman UC Berkeley
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                                                                                                                                                                                                                          BC




                                                                           MEWBOURNOCHOOL
                                                                           Petroleum                   Geological                  Engineering
                                                                                            puav4hud


To Prof Jon E Olson PhD PE
Chairman and Professor

Petroleum and Geosystems Engineering

The    University            of Texas        at    Austin



                                                                                                                                                                                       August           14 2016


RE Dr John T Fosters Research Evaluation

I   am writing          this letter      in   response to your request to assess                                                   Dr John        T Fosters research as part of your
tenure          and    promotion process                          Currently            I   am the McCasland                                 Chair Professor                      in   the    Department              of

Petroleum and Geological                          Engineering The University of Oklahoma Prior to this I was the holder of the

George           and    Joan        Voneiff            Development                    Professorship                           in   Unconventional                 Resources                 at   Texas         AM
University            where     I    developed the largest reservoir rock mechanics group                                                                in   the       United          States          with more

than       20 graduate students                   and two postdocs                                                                 by research          funds from federal agencies                                 and

                                                                 AM
                                                                                                all    supported

industry Before joining                      Texas                          University                 I       was a tenured Associate                            Professor            in    the      Department
of Geology              and    Geological               Engineering                  at    the        University                    of North        Dakota              I    have       authored            over     55

journal         articles      and      100    conference                    papers          I     have           been              awarded        the    Geothermal                   Resources             Council

Special          Achievement             Award                   for
                                                                           my       contributions                        to    the       modeling         of coupled                   chemical thermal

mechanical              processes        and           rock fluid               interactions                   in    geothermal               reservoirs            I       was        on    the      organizing

committee              for    the     50th        US              Rock          Mechanics                  Symposium                      Currently           I    am            involved          in      reservoir

geomechanics and                     hydraulic          fracture            modeling                  studies             of petroleum             and enhanced                       geothermal            systems
and    I   am directing             the largest         rock mechanics laboratory and research group in the                                                                  US        at   OU

I   do not know              Dr Foster on a personal basis but                                             I    am familiar with                   his    work          and his reputation                     in   the

computational                aspects    of hydraulic                   fracturing                Based              on his record            at    both    UTS              and   UTA Dr Foster has
made excellent               progress in establishing                           a   computational                        fracturing         research          program that has yielded                          high

quality journal               publications              I        am familiar with                      his          work           on developments                 in        peridynamics                to    model

fracture         propagation           in
                                             porous               media He has made                                      significant         contributions                  in    extending             this   novel

approach          to fracture         modeling               and       I   am aware              that a             number of investigators                        have           used his open source

codes           He has authoredcoauthored                                  at   least      10 journal publications                            on the topic and related issues during
his probationary                     which                  is    an   excellent           record               In       addition          he has been the coeditor                              of a book           on
                               years

peridynamics             and has 14 conference publications                                           that provide                   good visibility


Dr Foster has mentored                        both graduate students                                   and          a     postdoc and              has     been             able to         support        them by

external         funding        He has        3        PhD students                   near graduation                              and has      supervised              5    Masters level                 students

This       is   very     good considering                        he has         changed               institutions                  in   2014           Dr     Foster             continues           to    develop

proposals to            attract      funds to support his expanding research group



He has          a solid record          of professional                         service         which               is    culminating             in    chairing            the       US Conference on
Computation              Mechanics           in    2019 Dr Foster has                              established                     himself as a major player in peridynamics                                        for


hydraulic             fracturing        He        is    clearly            well       recognized                     for       his       contributions            to        numerical            methods            and

computational                mechanics and                   is   on track for further professional                                         growth        and leadership                         Dr     Foster has
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been recognized by SPE for his innovative                  teaching    and has been awarded the          FOSR Young       Investigator

prize


In   summary my review of Dr Fosters record                      in   the   areas   of research    and service     shows him    to   be a

committed     faculty       member with       significant      contributions        to   the   development    and   dissemination      of

knowledge through           research   and creative      activities   within the    framework      of a vigorous    research   program
Therefore    it   is   my view    that   he would   certainly     be granted tenure and promotion at a research intensive

university



If you   have any additional       questions or need        any clarifications please          contact   me

Sincerely




idirat€

Ahmad Ghassemi



McCasland    Chair Professor

Mewbourne     School      of Petroleum      Geological     Engineering

The University of Oklahoma

Sarkeys Energy         Center Office 1314
100 East Boyd Street

Norman OK
Tel 4053254347

email ahmadghassemiouedu
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                                                                           Monday September 12 2016                       at 22056       PM Central Daylight Time


Subject      Re promotion             letter    request

Date         Tuesday     August         16 2016         at   113347 AM Central Daylight Time

From         Ghassemi Ahmad

To           Olson Jon

CC           Stickney        Stephanie


Hello Jon




Sorry for the delay Was delayed at the Denver airport yesterday                                               If
                                                                                                                   you need my CV let          me know


AG



From Olson Jon <jolsonaustinutexasedu>
Sent Tuesday        August      9 2016 412 PM
To Ghassemi Ahmad
Cc Stickney        Stephanie

Subject    RE promotion           letter       request



Hi   Ahmad     lam checking             in to    see if      you can       still   send a promotion          letter   for John Foster        Let   me know
Thanks     Hope you have had a good summer                                 Jon



Jon   E Olson PhD        PE

Chairman and Professor

Petroleum and Geosystems                  Engineering

The University of Texas           at Austin


5124717375


From Olson Jon
Sent     Friday June     17 2016 129 PM
To ahmadghassemiouedu
Cc Stickney Stephanie Olson Jon
Subject      promotion       letter    request



Hi   Ahmad     I   have attached          a    letter   requesting you to write                a letter evaluating             one of our assistant     professors

John Foster who         is   going     up for promotion                I   have also attached          his   CV and a link to 5 recent             significant


papers    by Dr Foster



As you know the academic                 promotion process depends                          heavily   on the       role   of outside     impartial evaluators        I




hope we can count on you to help


Thanks so much for your time and consideration                                     Please   respond    to this email as            soon as is convenient     as to

whether you can participate                    The deadline        we        are requesting for the           letter      is   July 15



Jon



link to Foster papers          too large to attach to email
httoswwwdroriboxcomsh8xn9eivuk4vuc67AAAf7vUOKoutKeGvXGPiehl                                                                     ad1=0




                                                                                                                                                                 Page    1 of   2
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Hook     em
Jon    E Olson PhD     PE

Chairman and Frank          W Jessen Professor
Lois   K and Richard   D Folger Leadership         Chair

Petroleum and Geosystems             Engineering

The University of Texas       at   Austin

Austin TX 78712

5124717375
wwwmeutexasedu




                                                                             Page 2 of 2
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Ahmad Ghassemi


McCasland Chair Professor
Email       ahmadghassemiouedu
Office      SEC 1314
Phone       4053254347


Research    Interests        Geomechanics applied to petroleum and geothermal                  reservoir


development         Modeling       of hydraulic    fracturing   and faulting Reactive        fluid    flow in

fractures and constitutive           modeling      for   chemically active rocks



Education

BSc Geological Engineering University of Oklahoma
MS            Geology South Dakota
         Engineering                       Mines           School of              1988

MS Geomechanics             Minnesota 1990
                               University     of

PhD Geological Engineering University of Oklahoma 1996

Biography
Ahmad Ghassemi is the McCasland                    Chair Professor of Petroleum Engineering                 at the


University of Oklahoma where he teaches Introduction                     to   Rock Mechanics and Advanced

Rock   Mechanics       I      II   He is the Director      of The   Halliburton Rock       Mechanics

Laboratory     located       in Sarkeys   Energy Center room         C103 He       is   involved   in the


following projects

  Hydraulic      fracture     propagation     modeling stimulated volume
  Experimental        determination       of reservoir rock properties
  Geothermal Energy Research

  Coupled geomechanicsfluid                flow modeling including            naturally   fractured         heavy    oil

          reservoirs


  Porothermoelasticity

  Wellbore       stability    analysis shale instability



Awards and Honors
  Geothermal Resources              Council    Special Achievement       Award      for outstanding

          contributions       to   the modeling     of coupled chemical thermal mechanical                  processes
          and rock fluid       interactions    in geothermal reservoirs

  Texas    AM        University       College of Engineering William Keeler Faculty Fellow 2008

          09
  American Rock Mechanics Association                      MS Thesis of the Year Awarded               to   former

          student    Andrew Nygren 2006
  University of North           Dakota    College    of Engineering       Mines Olson Professor 2003
          2004

  University of North           Dakota    Graduate School       Summer Professorship Award 1998
          2000


Professional      Activities

  Editor in Chief Geothermics20102014
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  Panel Leader for the Geomechanics and Geochemistry                 working      group in the Carbon
       Sequestration Geothermal Energy Systems Geosciences                   Workshop      US
       Department of Energy June         1516 2010 Washington               DC
  EPA Hydraulic      Fracturing Technical     Workshop Team Leader Impacts of HF on
       Natural Transport     Systems Washington           DC March 272011
  Discussion Leader for the TheoryModeling            Theme DOE workshop on induced
           seismicity Stanford   University    Identify   the critical   issues   for understanding   and

       mitigation of induced      seismicity



Selected    Publications

  Tarasovs      A and Ghassemi A 2014 Selfsimilarity and scaling of thermal shock
       fractures Physical Review       E 901 01240316
  Sesetty     V and Ghassemi A 2013 Numerical simulation of sequential and
           simultaneous hydraulic   fracturing   In Effective and Sustainable Hydraulic

       Fracturing Edited by       Andrew   P Bunger John McLennan and Rob Jeffrey ISBN
       9789535111375             Hard cover     1000 pages Publisher InTech             Pp 680691
  Ghassemi      A   and Rawal    A 2013 Rock       failure   and microseismicity around hydraulic

       fractures    J Pet Sci and Engrg DOI information 101016jpetro1201306005
  Verde     A   Ghassemi   A 2013     Efficient solution      of largescale       displacement

       discontinuity    problems using the fast multi pole         method Proc 47th US Rock
       MechanicsGeomechanics           Symposium San Francisco              USA
  Huang J Ghassemi A 2013 Simulating geomechanical evolution of fractured shale
       reservoir    using a poroviscoelastic     constitutive    model Proc 47th US Rock
       MechanicsGeomechanics           Symposium San Francisco              USA
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                                                                                                                                                                                                                                        BC


                                                    tnsPntqf                                                                                       Peter       P Valko Professor R Whiting Chair
                                 ROLEUM ENGINEERINA                                                                                                                                      office       709 Richardson Building
                                 AS ANI UNIVERSITY                                                                                                                                        phone         USA 979 8622757
                                                                                                                                                                                                 email pvalkotamuedu




Jon       E Olson PhD PE
Chairman           and        Frank    W      Jessen        Professor

The       Lois   and        Richard    D Folger Leadership Chair
Petroleum              and     Geosystems Engineering
The University of Texas                       at   Austin




Re Review                   for Dr     J Foster

                                                                                                                                                                                                       Date 7282016



Dear Jon




It   is
          my pleasure           to    provide        feedback          regarding       the promotion material for Dr                                   Foster     In   the following              I
                                                                                                                                                                                                      briefly   describe           my
expertise          and       position         then    I   address the         specific        questions            raised      in       Your    letter




0                 about myself My research                            interests    include design and                      evaluation             of hydraulic         fracture          treatments          performance

of   stimulated wells and                     numerical             Laplace   transform inversion                     I    am professor                and    holder    of   the Robert Whiting                 Chair       in



Petroleum              Engineering            at   Texas     AM University

1                 nature and duration                      of our relationship                I   do       not   know Dr John Foster personally                          but    I   have        seen    some of his

publications                before




2                 research           and publications                 originality        significance               quantity and                impact As a PhD student                     in   Aeronautics


Astronautics                 he focused on the applications                       and     further            development                 of a    relatively     new and innovative                    computational

mechanics              method         peridynamics Joining The University                                        of Texas      first      at    San Antonio        and       then    at   Austin        he   widened             his


interest to            material science              in    general and         lately     he           has   been considering                   geomechanics            petroleum engineering

applications




There are          many approaches                    to    computational          mechanics                     and when           a   newer approach            is   developed            every       new application

needs a          lot    of adaptation              work     The pioneers          of     the       new approach                have       to    show deeper            understanding              of basic concepts

while      translating               them to the new language                            It       is   a   pleasure       to   read the various               suggestions           in   Dr Fosters papers for

instance          regarding          how fracture              propagation        or     Darcys              law are handled               in
                                                                                                                                                 peridynamics The publications                          show deep

understanding                 of solid     and      fluid    mechanics         as well            as    abundant          creativity




The amount                  of his peer reviewed                publications        is
                                                                                         quite             impressive but               what      is   even   more important                he    managed         to       place

them in highly respected journals with outstanding                                                 impact        factor    such          as     the Journal      of Computational Physics                       and


Engineering                 Fracture    Mechanics              to    mention    only      two This fact makes Dr Foster an exceptionally                                                 successful       young

researcher              no matter        if    we consider a traditional                      discipline          with long             history or      we select       the base          for    comparison           in
                                                                                                                                                                                                                           any

other reasonable                 way


According              to   SCOPUS         see Fig 1 his publication                          output keeps            on       increasing          with 2014 being and                    outstanding           year




                 Department of Petroleum Engineering                                              507 Richardson                Building               corner of Spence                  and Ross        Streets

                                                                3116     TAMU          College Station                     Texas          778433116 USA
                                                     979 8452241                   FAX             979 8451307                           httpwwwpetamuedu
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                                             Documents                  by year




                                                              r
                                                              I
                                                                  2008


                                                              I
                                                                  1   documents        In   Scopus



                                                              IClick     point   to   view    oorument   int




                                                      20PS                                               2010                                        2013


                                                                                                                                Yea




                                                                                                                       rostel   John   T




                                      Fig 1   Dr Fosters publications per year according                                                to Scopus           on 7272016




To assess the impact           I    used Google Scholar                and found 5 publications                            above 15           citations      Table   1 This   is   a   reasonable      good

result considering       the       authors age but the numbers are somewhat                                               smaller than          I
                                                                                                                                                    anticipated




                                                 Table       1 Citation counts                       in Google            Scholar           on 7272016
                                                                                         Publication                                                                                   Cited    by

             Viscoplasticity       using   peridynamics           2010                                                                                                                    73

             JT Foster   SA Silling        WW Chen
             International journal for         numerical methods                  in     engineering            81    10 12421258
             A meshfree unification reproducing                       kernel     peridynamics                  2014                                                                       26

             MA Bessa JT Foster T Belytschko                      WK    Liu


             Computational Mechanics             53   6 12511264
             A peridynamic formulation              of pressure          driven        convective          fluid transport             in   porous   media 2014                            19

             A Katiyar JT Foster H Ouchi MM Sharma
             Journal   of Computational Physics               261 209229
             An energy    based       failure criterion for           use with peridynamic states2011                                                                                      19

             JT Foster   SA Silling        W Chen
             International Journal          for Multiscale        Computational Engineering                           9   6
             Shock   testing       accelerometers     with a          Hopkinson              pressure      bar 2012                                                                        15

             JT Foster   DJ    Frew MJ Forrestal             EE   Nishida         W Chen
             International Journal          of Impact   Engineering              46 5661




Of course a researchers overall impact cannot be measured                                                  only by         numbers of citations Also impact factor weighted

statistics   would work toward Dr Fosters advantage                                           Nevertheless                the data          may suggest that focusing on method

development          provides       less instant      gratification                   A talented young                    researcher like             Dr Foster needs to respond                 to various

                                                                                                                                                                                                     Page   23


                       Department           of Petroleum Engineering                             3116 TAMU                 College Station Texas 778433116                         USA

                                              979 8452241                        FAX 979 8626579                           httpwwwpetamuedu
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practical     challenges         to    secure   enough influence           in   a   wider circle         of   experts   I
                                                                                                                            am glad    to   see that he grabs            all    opportunities

handbook editing                conference       talks     technical      presentations             to   make    a   larger   impact



3            comparison with others                    in his cohort     at   research intensive               universities       Based     on the   amount        and     quality of   the


publications        I   have    no doubt    that       Dr Foster would          be       promoted        to   the ranks     of   associate    professor       at   any research

intensive     university




4            further professional               growth      and leadership           I   have    already touched            upon    this    subject       Dr Foster has great

potential     and       it   seems to me he       is   making      the   right strategic         decisions       at this    point   of his career




Based   on the material supplied                 to    me   I
                                                                fully   support      granting       the rank     of   associate professor            to   Dr Foster         I   am convinced

that he     will   continue       to   grow and        flourish as a     valuable         faculty    member




Sincerely




Peter   P Valko




                                                                                                                                                                                      Page    33


                             Department     of Petroleum           Engineering            3116   TAMU          College Station Texas            778433116            USA

                                                979 8452241               FAX 979 8626579                       httpwwwpetamuedu
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                                                                               Monday September 12 2016 at 22534 PM   Central Daylight   Time



    Subject           FW promotion letter request
    Date              Thursday July 28 2016              at    15619 PM Central Daylight Time

    From              Olson Jon

    To                Stickney      Stephanie


FYI



Jon      E Olson
Chairman and Professor Petroleum and Geosystems                                         Engineering

5124717375



From Valko               Peter P       mailtopvalkotamuedu
Sent Thursday                July     28 2016 140 PM
To Olson Jon
Subject RE promotion                       letter    request



Jon
I   am sending           the     promotion          letter   as a pdf file

Please          let   me know        if
                                          you also need a paper version
Best     Regards

Peter




Peter      P Valko         professor

Department of Petroleum Engineering Texas                                       AM    University

office      709 Richardson                Building corner of Spence                  and Ross Streets
mail 3116              TAMU College Station                  TX 778433116           USA
phone           USA 9798622757
web httowwwoetamueduvalkooublichtml
email pvalkoPtamuedu




From Olson Jon mailtojolsonaustinutexasedu
Sent Friday July 15 2016 729                           PM
To Valko              Peter P <pvalkofttamuedu>

Subject           Re promotion             letter    request



Hi    Peter           Thanks so much            I
                                                    hope     all   is   well   in College   Station   Jon



Jon      E Olson Chairman and Professor
Petroleum                Geosystems          Engineering

The University of Texas                    at Austin


Sent     from my iPhone



On Jul 15 2016                 at   638     PM Valko Peter P <pvalkolatamuedu>                        wrote


           Jon
            I
                 am willing to do the evaluation                        within the stated     deadline

            Regards
            Peter




                                                                                                                                         Page 1 of 2
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Peter    P Valko        professor

Department of Petroleum Engineering Texas                      AM     University

office   709 Richardson            Building   corner of Spence and Ross Streets
mail 3116          TAMU     College Station        TX 778433116    USA
phone     USA 9798622757
web httpwwwoetamueduvalkooublic                                html
email ovalkoOtamuedu




From Olson Jon mailtoiolsonPaustinutexasedu
Sent Friday July 15 2016 115                  PM
To Valko       Peter P <pvalkoPtamuedu>

Cc Stickney            Stephanie   <sticknevPaustinutexasedq>                Olson John <jolson0austinutexasedu>

Subject       promotion         letter   request

Importance High


Hi   Peter     I   have attached         a letter requesting you to write              a letter       evaluating   one of our assistant

professors John Foster who is going up for promotion                              I   have also attached           his CV   and    a link   to

5    recent   significant       papers by Dr Foster



As you know the academic                  promotion process depends                   heavily        on the role of outside impartial

evaluators         I
                       hope we can count        on you to help



Thanks so much            for   your time and consideration         Please            respond          to this email as   soon as     is



convenient         as to whether         you can participate     The deadline we are requesting for the                           letter   is



July 31 but if         you need more time let me know and              I   will       see   if   I   can   accommodate      you We
would    really like      your input



Jon


Link to Foster          papers   too large to attach     to   email
httoswwwdrooboxcomsh8xn9gjvuk4vuc67AAAf7vUOKoutKeGvXGPjehoad1=0




 Hook     em
Jon    E Olson PhD PE
Chairman and Frank               W Jessen Professor
Lois   K and Richard D Folger Leadership                 Chair

Petroleum and Geosystems                   Engineering

The University of Texas at Austin

Austin TX 78712

5124717375
wwwogeutexasedu




                                                                                                                                                 Page 2 of 2
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                      no
                   Harold   rAopornment   of

                   PETROLEUM ENGINEERING
                   TEXAS    AM UNIVERSITY



Peter Valke


Professor



Robert   L Whiting Chair             in    Petroleum Engineering


Office   RICH 709
Phone 9798622757
Fax 9798621272
Email pvalkotamu edu


Research   Website
Curriculum Vitae

Google Scholar Profile


Research        Interests



         Performance of stimulated wells

         Design and analysis of hydraulic           fracturing   treatments

         Numerical      inversion of the Laplace transform



Education


         PhD equivalent Candidate of Sciences Institute                of Catalysis    Novosibirsk      USSR
         1981

         MS equivalent Doctor technicus              Applied Mathematics Veszprem University                  Hungary
           1975

         BS equivalent Dipl chemical engineer Veszprem University Hungary                              1973



Selected Publications



Spivey   JP Valko PP and William D McCain Jr Applications of the Coefficient of
Isothermal     Compressibility to Various         Reservoir Situations   With    New Correlations for Each
Situation SPE Reservoir Evaluation                 Engineering accepted       for publication   2007


Ilk   D Valko PP and Blasingame TA                    Deconvolution    of Variable Rate Reservoir

Performance Data Using           B Splines SPE Reservoir Evaluation              Engineering vol       9 2006 pp
582595


Ibragimov       A Khalmanova D Valko PP Walton JR On                          a mathematical model of the

productivity    index of a well from reservoir engineering            SIAM J Appl Math Vol 65 Iss 6
2005 pp 19521980
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Yi   X Valko PP        Russell J Effect of Rock   Strength Criterion on the Predicted Onset of Sand

Production    Int   J Geomechanics Vol 5 Iss 1 2005 pp 6673


Valko PP Solution of the GraetzBrinkman problem with the Laplace transform Galerkin
method Int J Heat Mass Transfer Vol 48 Iss 9 2005 pp 18741882


Valko   PP and Abate J Numerical inversion of 2D Laplace transforms applied to fractional
diffusion equations    Applied Numerical   Mathematics    Vol 53 Iss     1 2005 pp 7388

Jourine   S Valko PP and Kronenberg AK Modelling poroelastic hollow cylinder
experiments with realistic boundary conditions     International   Journal for Numerical   and

Analytical Methods     in   Geomechanics Vol 28 Iss 12 2004 pp 11891205



Valko PP and Abate J Comparison          of Sequence   Accelerators for the Gayer Method of

Numerical    Laplace Transform    Inversion Computers and Mathematics       with Application     Vol 48
Iss340       2004 pp 629636



Abate J and Valko       PP Multi precision Laplace transform inversion International       Journal for

Numerical    Methods   in Engineering   Vol 60 Iss 57 2004 pp 979993


Valko PP and Abate J Numerical Laplace inversion in rheological characterization             Journal of

Non Newtonian Fluid Mechanics Vol 116 Iss 23 2004 pp 395406
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                                                                                          Monday July 25 2016 at 105427 AM Central Daylight Time


    Subject           RE   promotion           letter   request

    Date              Monday June 20 2016 at 12757 PM Central Daylight Time

    From              Dean       Rick   H

    To                Olson Jon

    CC                Stickney       Stephanie




I   am sorry that            I   will   not be able to participate                 in   evaluating   John Foster for promotion



I   have spent very                little    time reading papers dealing with the subject                       of peridynamics                so     I   do not think   I
                                                                                                                                                                             can

provide         an adequate                 evaluation       of Johns    qualifications        without considerable                effort on        my part


I

    appreciate             being asked to participate              in   the promotion process             but    I    do not think         I   will       be able to commit to

the time that would                     be required to provide             a       proper evaluation



Rick       Dean




From Olson Jon mailtojolsonaustinutexasedu
Sent Friday June 17 2016 125 PM

To Dean Rick H <RickHDeanconocophillipscom>
Cc Stickney Stephanie <stickneyaustinutexasedu>                                               Olson Jon <jolsonaustinutexasedu>
Subject          EXTERNAL promotion letter                        request



Hi       Rick     I   have attached             a   letter   requesting    you to write a letter evaluating                   one of our assistant professors

John        Foster who             is   going up      for    promotion         I   have also attached     his   CV and         a link to 5       recent        significant

papers by Dr Foster



The academic                 promotion process depends heavily on the role of outside impartial evaluators                                                       I

                                                                                                                                                                     hope we can

count on you to help



Thanks          so     much for your time and consideration                              Please   respond to    this     email as         soon as is convenient               as to

whether          you can           participate          The    deadline we are requesting for the                    letter   is   July   15


Jon


Link       to Foster        papers too large to attach to email

httpswwwdrobboxcomishi8xn9givuk4vuc67AAAf7vUOKoutKeGvXGPiehp                                                                        ad1=0




    Hook        ern
Jon E Olson                 PhD PE
Chairman and                 Frank       W    Jessen     Professor

    Lois K and Richard                  D Folger Leadership             Chair

    Petroleum          and Geosystems Engineering

The University               of Texas         at Austin

Austin TX 78712

5124717375

wwwpgeutexasedu



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                                                                                   Thursday August 11 2016 at 121455                        PM Central     Daylight       Time



    Subject     FW promotion letter request
    Date       Wednesday                     August       10     2016 at 92111        AM Central Daylight Time
    From       Olson Jon

    To          Brooks            Allison            B Stickney     Stephanie


This declination                 is
                                      missing for Foster



Jon E Olson            PhD             PE

Chairman        and Professor

Petroleum            and Geosystems Engineering

The University                 of Texas         at Austin

5124717375



From Holditch Stephen A mailtoholditchtamuedu
Sent Tuesday July 05 2016 1030 AM
To Olson Jon
Cc        Holditch    Stephen               A
Subject RE promotion                             letter   request



J




I   am not sure            I   am the right person to write a letter for Foster                         I   know nothing about            his specialty    and   I   am
not impressed                  with his publications               for most of his career      as   I   do not see how they fit             well   in Petroleum


Engineering            I

                               guess it         is   ignorance    on my part



Maybe someone                     like      Akhil     DattaGupta would             do a better job in writing the letter



Sorry

Steve



From Olson Jon fmailtololsonaustinutexasedu
Sent Friday June 17 2016 128 PM
To Holditch            Stephen A

Cc Stickney Stephanie Olson John

Subject        promotion letter request



Hi Steve         I   have attached                    a letter   requesting       you to write a letter evaluating        one        of our assistant     professors
John Foster who                   is   going up for promotion                 I   have also attached         his CV and a     link   to 5   recent    significant

papers by Dr Foster



As youknow the academic promotion process depends heavily on the role of outside                                                             impartial    evaluators         I




hope we can count on you to help


Thanks so much for your time and consideration                                         Please respond to this email as soon as is convenient                         as to

whether you can participate                               The deadline we are requesting                for the letter   is
                                                                                                                              July   15


    Jon



Link to Foster                 papers too large to attach to email

httpswwwdropboxcomish8xn9givuk4vuc67AAAf7vUOKputKeGvXGPjehp                                                                    ad1=0



                                                                                                                                                                          Page 1 of 2
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Hook      em
Jon    E Olson PhD PE
Chairman     and Frank     W Jessen    Professor

Lois   K and Richard     D Folger Leadership       Chair

Petroleum     and Geosystems        Engineering
The    University   of Texas   at Austin

Austin TX 78712

5124717375

wwwpge       utexas ed u




                                                                                   Page 2 of 2
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                                                                      Monday August 29 2016 at 105506 AM Central Daylight Time


Subject      FW Foster promotion letter request
Date         Sunday August 28 2016 at 74534 PM                         Central       Daylight        Time

From         Olson Jon

To           Stickney       Stephanie


Another      no for Foster



Jon E Olson

Chairman and Professor Petroleum                   and Geosystems Engineering

5124717375



From Ortiz Michael            mailtoortizaerocaltechedu
Sent Sunday August 28 2016 1147 AM
To Olson Jon
Subject RE       Foster promotion         letter   request



Dear Jon Sorry for the delay and thank you for the reminder                                 I
                                                                                                have taken the opportunity to take another

look at John     T Fosters record         in   detail   It   seems to me that Johns main contributions are in the                        field   of

peridynamics          Not being an expert on that subject                    I   do not feel that      I
                                                                                                           can give   an authoritative assessment of

the level    and originality of Johns contributions                   This       recusal   should not be construed           in   any way as an

expression     lack    of support for Johns promotion                  Hoping to be of more help                 in   the future best regards

Michael



Professor     Michael Ortiz

Frank   and Ora Lee Marble Professor

of Aeronautics        and Mechanical       Engineering
Mail    Code 10550
California    Institute of Technology           Pasadena CA 91125
Phone        626 3954530
Email ortizPcaltechedu
httpwwwortizcaltechedutortizhomeshtml




From Olson Jon             mailtojolsonaaustinutexasedu
Sent Sunday August 21 2016 1003 AM
To Ortiz Michael
Subject FW Foster promotion letter request
Importance High


Michael       Here    is   the Foster information again          if
                                                                      you dont have             it   handy     Anything   you can do would        be

helpful      Sorry    again   I   didnt follow up sooner         Thanks            Jon


Jon    E Olson
Chairman and Professor Petroleum                   and Geosystems Engineering
5124717375



From Olson Jon
Sent Tuesday July 12 2016 304 PM
To ortizOaerocaltechedu



                                                                                                                                                       Page 1 of 2
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Cc Olson Jon iolson0austinutexasedu Stickney Stephanie
Subject FW promotion letter request


Dear Dr Ortiz         I       am writing to check            to   see if you received my promotion letter request for John Foster date

June   17     The letter deadline             was July 15           I
                                                                        can wait longer         if   necessary        but   I    would   like   to   know    as   soon as

possible    if   you agree          to   do the writing so that            I   can    look for alternates        if
                                                                                                                      necessary          Thanks


Jon




Jon    E Olson PhD             PE

Chairman and Professor

Petroleum        and Geosystems              Engineering
The    University    of Texas            at Austin

5124717375



From Olson Jon
Sent     Friday    June 17 2016              135 PM
To rortizaerocaltechedut
Cc Stickney Stephanie Olson Jon aolsonaustinutexasedu
Subject promotion                letter    request




Dear Dr Ortiz             I
                              have attached          a   letter   requesting         you to write a letter evaluating                   one of our assistant

professors John Foster who                     is   going up for promotion                 I   have also attached               his CV and a     link   to   5 recent

significant      papers by Dr Foster



As you know the academic                     promotion process depends heavily on the role of outside impartial evaluators                                                    I




hope we can count on you to help


Thanks     so much for your time and consideration                               Please        respond to this email as soon as is convenient                         as to

whether you can participate                     The deadline            we are requesting             for the   letter      is   July   15


 Jon



                    papers too large to attach to email
Link   to Foster

httpswwwdropboxcomish8xn9gjvuk4vuc67AAAf7vUOKDutKeGvXGPieho                                                                       adl=0




Hook ern
Jon    E Olson PhD             PE

Chairman and Frank               W Jessen           Professor

Lois   K and Richard D Folger Leadership Chair
Petroleum        and Geosystems               Engineering
The University       of Texas            at Austin

Austin TX 78712

5124717375

wwwpgeutexasedu




                                                                                                                                                                        Page 2 of 2
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                                                                              Monday July 25 2016 at 105341 AM Central Daylight                                  Time



Subject       Re promotion letter                   request

Date          Monday            June   20 2016 at 90658 AM Central                    Daylight       Time


From          John Rudnicki

To            Olson Jon

CC            Stickney          Stephanie


Dear Professor Olson


I   am sorry but            I    am going to decline   your request I have looked over Dr Fosters cv
There        is
                  very little         overlap between what he does and I do and I am largely unfamilar
with the kind of work he does                                 I   do not think        I   could provide an effective                     evaluation



John        WR
On Fri Jun 17 2016              at   132    PM Olson Jon <jolsonPaustinutexasedu>                       wrote


    Dear Dr Rudnicki             I   have   attached    a   letter   requesting you       to write   a letter   evaluating      one of our assistant

    professors      John Foster who is going up for promotion                    I    have also attached             his   CV and a link to 5 recent

    significant    papers       by   Dr Foster




    As    you know the academic              promotion process depends               heavily   on the    role   of outside        impartial evaluators      I
                                                                                                                                                                hope
    we can count on you to help




    Thanks so much for your time and consideration                          Please respond       to   this   email as       soon as is convenient   as to

    whether you can         participate         The deadline we are requesting for the                 letter   is
                                                                                                                     July 15




    Jon




    Link to Foster papers            too    large   to attach     to email



    httpswwwdropboxcomsh8xn9givuk4vue67AAAf7vUOKputKeGvXGPiehp                                                         ad10




    Hook ern

    Jon    E Olson PhD PE

    Chairman and Frank               W Jessen Professor
    Lois   K and    Richard      D Folger Leadership              Chair



    Petroleum      and Geosystems             Engineering




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  The University of Texas at Austin



  Austin TX 78712


  5124717375


  wwwogeutexasedu




John   W Rudnicki
Department of Civil and Environmental Engineering
  and Department of Mechanical                  Engineering

Northwestern            University   Evanston    IL   USA
johnrudnicki0emailcom

iwrudnanorthwesternedu
8474913411              Voice
8474914011              FAX


Out now
Fundamentals of Continuum Mechanics

wwwwileycombuy9781118479919


Available      from Amazon



httowwwcivilnorthwesternedupeooleprofilesrudnickihtml



Seeking   is   itself    a barrier to wisdom      Paochih JI




                                                                                      Page 2 of 2
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                                                                                        Wednesday     July   27 2016 at 114141             AM Central Daylight Time

Subject          Fwd promotion letter                         request

Date             Wednesday                  July   27 2016 at 101919 AM Central Daylight Time

From             Olson Jon

To               Stickney         Stephanie

FYI




Jon    E Olson Chairman and Professor
Petroleum             Geosystems              Engineering

The University of Texas                 at    Austin

Sent    from my iPhone



Begin   forwarded message




          From Soliman Mohamed                                11   <msolimanPCentralUHEDU>
          Date July 25 2016                   at   82617           AM CDT
         To Jolson Paustinutexasedu                                    <jolsonftaustinutexasedu>

         Subject            FW promotion              letter           request




         Jon

          I    have        already          moved to UH my contact                         info   are given     below


          I
               find   it
                           really      difficult     to       pass a judgement               on the CV that you sent           me Looking at his
          research he                  is    obviously             a    smart person with excellent             publications         however most of
         them do not even                          belong to Petroleum                    Engineering   field      I   see classes taught          in


          petroleum               department              in   grey and courses               in   mechanical          engineering    in   black    what
         does this               mean

                                 looks like he belongs more to a mechanical                                   or civil
          Frankly           it
                                                                                                                         engineering        department
          rather           than Petroleum                 Department


         To go         further         with this          I   will      need      to   see class evaluations           however   I
                                                                                                                                     would rather not
         get involved                  in   this    process


          Regards


          M Y Soliman PhD PE NAl
          Department Chair
         William             C Miller Chair
          Petroleum Engineering                                    Department
          University of Houston

         Office            7137438640
         Cell              2817606754

          COURSES TAUGHT
              PGE 334            Reservoir         Geomechanics                   UT S2015

              PGE 383 Advanced                      Geomechanics                  UT F2014    F2015
              PGE 323M            Reservoir Engineering                     III
                                                                                   UT F2015
              Introduction        to   HiohPerformance                    Computing       UTSA F2012 F2013 S2014


                                                                                                                                                              Page 1 of 2
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ME 6043      Continuum Mechanics                   UTSA F2012 F2014
ME 4603      Finite     Element Analysis            UTSA F2011
ME 400500            Numerical       Methods       UNM F2010


     From Olson Jon <iolsonPaustinutexasedu>
     Date July 15 2016 at 11557 PM CDT
     To mohamedsolimanPttuedu <mohamedsolimanPttuedu>
     Cc Stickney              Stephanie <stickneyPaustinutexasedu>                                  Olson Jon
     <iolsonPaustinutexasedu>

     Subject promotion                 letter      request


     Hi   Mohamed            1 hear you are moving to Houston Good luck                                    I   know you are

     certainly         busy   this   summer         but       I   have attached       a   letter   requesting    you to write        a


     letter evaluating           one of our assistant professors John Foster                            who      is
                                                                                                                      going up for

     promotion           I   have also attached                   his   CV and a link to 5 recent        significant      papers by
     Dr Foster


     As you know             the academic           promotion process depends heavily on the role of

     outside impartial evaluators                         I

                                                              hope we can count on you to help



     Thanks so much for your time and consideration                                       Please    respond to this email as

     soon as is convenient               as to      whether you can participate                     The deadline        we are
     requesting         for the      letter   is   July31           but   if
                                                                               you need more time let          me know and       I   will


     see    if   I   can accommodate               you We would                 really like   your input



      Jon



     Link    to Foster papers           too        large to attach to             email
     httpswwwdrooboxcomish8xn9givuk4vuc67AAAf7vUOKoutKeGvXGPjeho                                                                 a
     d1=0




     Jon    E Olson PhD PE
     Chairman and             Frank    W      Jessen          Professor

     Lois    K and Richard D Folger Leadership Chair
     Petroleum          and Geosystems Engineering

     The    University         of Texas at Austin

     Austin TX 78712

     5124717375

     wwwogeutexasedu




                                                                                                                                            Page 2 of 2
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From                        $ticknev       Steohaniq

To                          Drooks     Allison   B

Subject                     Fwd   promotion       letter
                                                             request

Date                        Tuesday        September 13 2016            90021 PM



FYI


Sent from my iPad



Begin forwarded message




          From Olson Jon <jolsonaustin                                            utexas edit>

          Date September 13 2016                                  at   85703      PM CDT
          To Stickney Stephanie                               <stickneyaustin                utexas       edu>

          Subject           IFVV promotion                        letter   request




          FYI



          Jon    E Olson
          Chairman and Professor Petroleum                                 and Geosystems Engineering

          5124717375



          From Azra Tutuncu                   mailtoatutuncueminesedu
          Sent Saturday              July     16 2016 1141 AM
          To Olson Jon
          Subject Re promotion                           letter    request




          Hi John


          I
              am a little    tied    up for the next few weeks and do not know the candidate                                          at all   It   will


              take time for       me to write a recommendation                          for this caliper          Therefore      it   might be

              beneficial    to   ask someone else who knows him andor familiar with                                        his publications


              Have a good weekend

          Cheers

          Azra




          Sent from my iPhone



          On Jul 15 2016 at 1213 PM Olson Jon <jolson0austinutexasedu>                                                         wrote


                    Hi   Azra          I   have attached               a letter   requesting    you to write a letter

                     evaluating one of our assistant professors John Foster who                                           is   going up

                     for promotion                   I   have also attached           his   CV and    a   link   to 5   recent

                     significant           papers by Dr Foster



                    As you        know        the academic promotion process depends                                heavily    on the
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     role of    outside impartial evaluators                          I

                                                                          hope we can count on you to

     help



    Thanks      so    much     for your       time and consideration                    Please         respond to   this


     email as     soon as      is   convenient            as to      whether you can          participate         The

     deadline         we are   requesting           for the         letter   is
                                                                                  July 31   but   if
                                                                                                       you need     more

     time let    me know and             I   will   see    if   I   can accommodate          you         We would
     really    like   your input



    Good      seeing you       in   Houston           Hope          to run into      you again         soon



    Jon



     Link to   Foster papers          too       large to attach              to email


    httpswwwd             ropboxcomish8xn9gjvu                            k4vuc67AAAf7vU0KputKeGvXGPjehp                   a
    d1=0




    ifavic


    Jon     E Olson PhD PE
    Chairman and Frank               W       Jessen       Professor


     Lois   K and      Richard      D Folger Leadership Chair
     Petroleum         and Geosystems Engineering

    The     University     of Texas          at Austin


    Austin TX 78712

    5124717375

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    <Foster       CV 2016pdf>
    <Foster       Tutuncupdf>
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                                                                                              Monday July 25 2016 at 105515 AM Central Daylight Time


    Subject      Re promotion letter request

    Date         Tuesday July 12 2016 at 54557                               PM         Central Daylight            Time

    From         Mark D Zoback

    To           Olson Jon

    CC           Stickney          Stephanie


Hi   Jon


Im Checking            last   minute emails on my iPhone before starting a 10 day trek                                           in the   Pamir mountains



I   dont remember the email about John Foster Perhaps                                           I   was planning to decline but             failed     to send    an email If so   I




apologize        I   dont know John or his work                       I   would not be a good person to evaluate                          his qualifications        for promotion




Regards
Mark



sent     from my iPhone



Mark D Zoback

Professor of Geophysics

Stanford University

zobackPstanfordedu

Mobile      650 468 3871


On Jul 13 2016              at 401    AM Olson Jon <jolsonPaustinutexasedu>                                         wrote




           Hi Mark            I
                                  hope   all   is   well   in   California              I   am sure the summer                  is   busy but   I
                                                                                                                                                    am writing to check
           to   see    if
                            you    received         my promotion letter request for John Foster date June 17                                                The   letter


           deadline was July 15                     I
                                                        can wait longer            if
                                                                                            necessary     but   I   would        like   to know      as    soon as possible

           if
                you agree to do the writing so that                            I
                                                                                   can look for alternates                 if
                                                                                                                                 necessary          Thanks


            Jon




           Jon       E Olson PhD PE
           Chairman and Professor

           Petroleum              and Geosystems Engineering

           The       University      of Texas           at Austin

           5124717375



           From Olson Jon
           Sent        Friday      June 17 2016                131 PM
           To 17obackstanfordedui
           Cc Stickney Stephanie Olson Jon iolsonaustinutexasedu
           Subject promotion                   letter     request



           Hi    Mark         I   have attached            a   letter     requesting           you to write a letter evaluating                      one of our assistant
           professors John Foster who                           is
                                                                     going    up for          promotion         I   have also attached               his   CV and a link to
           5    recent significant             papers by Dr Foster




                                                                                                                                                                               Page 1 of 2
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As you      know     the academic   promotion process depends heavily on the role of outside impartial

evaluators       I

                     hope we can count on you to help


Thanks      so much for your time and consideration      Please   respond to this email as soon as is

convenient      as to   whether you can participate   The deadline   we are requesting   for the   letter   is



July   15


Jon



Link to     Foster   papers too large to attach to email

httoswwwdropboxcomish8xn9gjvuk4vuc67AAAf7vUOKoutKeGvXGPjehp                              ad1=0




Hook ern
Jon E Olson          PhD PE
Chairman       and Frank   W Jessen    Professor

Lois   K and Richard D Folger Leadership Chair
Petroleum      and Geosystems Engineering

The    University of Texas at Austin

Austin TX 78712

5124717375
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<FosterCV2016pdf>


<FosterZobackpdf>




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                 INSTITUTE          FOR COMPUTATIONAL                           ENGINEERING AND SCIENCES
                 THE UNIVERSITY            OF TEXAS AT AUSTIN


                 201   S 24th Street POB 4102 CO200                    Austin Texas      787121229           5124713312               FAX 5124718694

                 wwwicesutexasedu




Recommendation                      for    Dr    John Foster to be promoted                                 to an Associate Professor



                                                                                                                             September         13 2016




Prof Jon Olson

Chair Petroleum and Geosystems Engineering



Dear Jon

It   is   my pleasure         to   write these few words in support of promoting                                 Dr Foster to an Associate
Professor          Ever since John                       UT
                                                has moved from Sandia Labs                       to           he has been very visible at

ICES and ASEEM Dept He a core faculty at ICES and holds a courtesy appointment
                                                   is


inthe ASEEM Dept He gave a couple of ICES seminars and had a presentation within the

ICES Forum a series of informal non technical seminars organized by Prof Ivo Babu§ka


Two       years ago John            pulled      me into a team writing an AFOSR proposal on fractional                                             deriva

tives      methodologies            with    applications           to fluid structure          interaction         problems            The team in
cluded       several     prominent          mathematicians                 working on non local              theories         Max Gunzburger
Long Chen and leading                      authorities           on FSI problems Yuri Bazilevs                               John did a fantastic

job pulling         the team together and orchestrating                           a very consistent              and exciting         proposal        We
lost      marginally          the       competition       but       the    PI    John was         offered         to   submit     a consolation

prize      proposal and ultimately got me involved                                 in    the research on peridynamics                         and non
local      mechanics          As I go deeper            into      the subject      I    find   the subject
                                                                                                           very exciting
                                                                                                                         both from

the       math and      applications         perspectives


John       has   been    also      very    involved       in      our professional        organization                 the    US Association          for

Computational                Mechanics          Last year           he lead one of five groups                   competing for the                 organi
zation      of   USACM Congress in 2019 and he won the competition Through the leadership
of    Prof       J Tinsley °den UT has had a long tradition of activities in USACM The 2005
congress took place in Austin                      and       I   am very happy          to see    it    return to Austin              in    2019   again


Dr         Foster      has joined          UT    after    several          successful     years        at   Sandia       and     he    is    way more
experienced            and    established       that     a       typical   Assistant      Professor         in   this    stage of his career            I


am convinced            that       he   deserves    a tenure          and should         be promoted to an Associate                          Professor
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position


Please do not hesitate to contact         me by Email or phone   my cell 5129642032        if   you need

any extra information


Best Regards




Dr   Leszek Demkowicz




W A Tex            Moncrief   Jr Chair in Computational    Engineering and Sciences   II


Institute   for   Computational    Engineering and Sciences   ICES Assistant Director
Aerospace     Engineering and Engineering Mechanics        Professor

Dept   of   Mathematics       Professor

Editor in Chief Computers          and Mathematics   with Applications

President     US   Association for Computational     Mechanics

Email       leszekOicesutexasedu
